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                SUPPLEMENTARY EXPERT REPORT

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                            October 31, 2022




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Background and Credentials
Following the submission of my Expert Report on September 2, 2022 in the matter of Kenyon Norbert,
Troy Mcallister, Marshall Harris, Armando Carlos, Montrail Brackens, Michael Brown, and Jose Poot, on
behalf of themselves individually and others similarly situated, as a class and Subclass, Plaintiffs, v. San
Francisco County Sheriff’s Department, City and County of San Francisco, San Francisco Sheriff Vicki
Hennessy; Chief Deputy Sheriff Paul Miyamoto; Captain Jason Jackson, Captain McConnell and John &
Jane DOEs, Nos. 1 - 50. Defendants, Case No. 19-cv-02724-SK, United States District Court, Northern
District of California, San Francisco Division, San Francisco, California, I have received the following
additional materials:

Gathered Data
   1. Updated Coded Psychological data collected from inmates (spreadsheet)
   2. Updated Coded data on SFCJ inmates (8-31-2022) (spreadsheet)
   3. Updated Coded data on SFCJ inmates (Revised 9-2-2022) (spreadsheet)
   4. Updated Qualitative Data By Measure: Data collected for each metric (folder)
   5. Updated Data Collection Tools: Interview Questions & Surveys (folder)
   6. Updated Coded psychological data file on inmates (spreadsheet)
   7. Updated Description of Research Methods and Statement of Research Methodology

Reports
   1. Rule 26 Expert Report dated September 2, 2022 and prepared by Michael Rogers, M.D.
   2. Rule 26(a)(2) Correctional Expert Report dated September 2, 2022 and prepared by David M.
       Mathis, MD, FAAFP, CCHP-P
   3. Rebuttal expert report prepared by Julian Martinez and provided to Plaintiffs on October 7, 2022
   4. Rebuttal expert report prepared by Michael Rogers, M.D. and provided to Plaintiffs on October 7,
       2022
   5. Rebuttal expert report prepared by Lawrence Mayer, M.D. and provided to Plaintiffs on October
       7, 2022.

Depositions
   1. Rough Draft Transcript of October 21, 2022 Deposition of David M. Mathis, MD, FAAFP,
       CCHP-P

Medical Records
Updated medical records for Inmates Brackens, Poot and McAlister (from 11/2019 through to October,
2019 for both SF Gen'l Hospital, and Jail health)

Correspondence
23.    Various correspondence and communication with attorneys and Julianna Di Miceli


As noted in my September 2, 2022 Expert Report in the above-referenced matter, I reserved the right to
add to, change or modify my opinions should additional information become available. Based on the
additional materials that I have received, I am submitting this Supplementary Expert Report. My
qualifications are listed on my updated curriculum vitae, dated October 30, 2022, attached hereto as
Appendix A and made a part hereof. I reserve the right to add to, change or modify my opinions should
additional information become available.




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Scientific Background:
As stated in my September 2, 2022 Expert Report in the above-referenced matter: “In order to provide a
background for my opinions, I have reviewed below the biological effects of sleep and circadian phase on
alertness, cognitive performance, and safety, including relevant studies performed by myself and others,
extensive portions of which have been excerpted from my own publications [Czeisler, 2006; Czeisler,
2009; Duffy et al., 2015].” That background review was provided for the benefit of the Court. Much of
the previously published material presented in that review has direct relevance to the present matter.
Summary of Supplementary Pertinent Findings
1. According to the October 21, 2022 deposition testimony of David M. Mathis, M.D., the San
   Francisco Sheriff's Office operates San Francisco County Jail #3 (formerly known as San Francisco
   County Jail #5, which is located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066
   [37°37'22.1"N 122°27'34.6"W]), and that inmates in San Francisco County Jail #3 are allowed to be
   outside of their jail cells only 1.5 hours per day, at a time controlled by the San Francisco Sheriff's
   Office.

        Page 121
         23 Q Is it correct that your understanding is
          24 that the San Bruno jail is operated by the
          25 San Francisco Sheriff's Office?

       Page 122
          1     A That's my understanding.Y ***
          2     Q Okay. Does the San Francisco County
          3 Sheriff's Office control the amount of time per day
          4 that inmates at the San Bruno jail are kept in their
          5 cells?
          6     A Generally.
          7     Q Does the San Francisco County Sheriff's
          8 Office control the time of day when inmates are
          9 allowed their one and a half hours outside their
         10 cells?
         11      A Yes.
    [Rough Draft Copy of the October 21, 2022 deposition of Dr. David M. Mathis, page 121-122;
    emphasis added]

2. According to the October 21, 2022 deposition testimony of David M. Mathis, M.D., Captain Stephen
   Tilton, the Interim Superintendent of San Francisco County Jail #3 (formerly known as San Francisco
   County Jail #5, which is located in San Mateo County at 1 Moreland Drive in San Bruno CA 94066
   [37°37'22.1"N 122°27'34.6"W]), told Dr. Mathis that inmates are prohibited from going outside in the
   outdoor recreation yard at San Francisco County Jail #3, which Dr. Mathis calls the San Bruno Jail)
   during the 1.5 hours per day that they are allowed outside of their cells because of security concerns.
   This has precluded all of the inmates in San Francisco County Jail #3 from being exposed to outdoor
   sunlight for the duration of their incarceration at San Francisco County Jail #3.



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       21       Q Okay. On Page 2, there are the -- there's
       22    the statement about the outdoor yard. And you state
       23    that the outdoor -- this is a quote.
       24   "The outdoor yard at CJ5 San Bruno is no
       25    longer secured due to a different inmate population

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       1   with more person-on-person crimes than previously.
       2   It is not secure from above for drones," end quote.
       3          Did I read that correctly?
       4       A Yes.
       5       Q And, again, the source of this statement
       6   was Captain Tilton, correct?
       7       A Yes.
       8       Q Do you know from your knowledge, training,
       9   background, and experience whether outdoor exercise
      10    yards are provided at other jails or prisons in the
      11    state of California that house individuals convicted
      12    of violent crimes?
      13        A No.
      14        Q You don't know one way or the other?
      15        A Correct.
      16        Q Do you know whether, in the state of
      17    California, other jails or prisons which house gang
      18    members have outdoor exercise yards available for
      19    those inmates or prisoners?
      20        A Yes.
      21        Q And what is your knowledge?
      22           Are such are yards available?
      23        A Yards are available in prison, in the CDCR
      24    prisons, but it may -- "yard" is different, depending
      25    upon which yard privileges are different, depending

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       1 upon whether someone is a gang member.
       2        Classification and officers determine
       3 whether certain inmates can be there at the same
       4 time. And there's always a risk because of the --
       5 the person-on-person violence.
       6     Q Did Captain Tilton tell you whether or not
       7 the closure of the outdoor exercise yard at the
       8 San Bruno jail had anything to do with the inability
       9 of the sheriff's office to provide sufficient staff
      10 to supervise inmates at the outdoor exercise yard?
      11        MS. MURPHY: Object to the --
      12         THE WITNESS: No. Sorry.
      13        MS. MURPHY: Sorry. A belated objection to



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              14   form. Just ambiguous to the extent of which facility
              15   at San Bruno we're talking about, the one that
              16   currently exists or the decommissioned prior
              17   facility.
              18       Q (By Mr. Brody) And, sir, I was asking about
              19   the present facility.
              20       A And I was responding about the present
              21   facility. And he didn't say anything about staffing
              22   having any effect on the closure of that outside
              23   yard.
              24       Q Ms. Murphy brings up a good point. We've
              25   been talking about the out -- a number questions

        Page 130
               1 about the outdoor exercise yard.OPY ***
               2        When I've asked those questions, my
               3 assumption in those questions was that we were
               4 talking about the current facility at San Bruno.
               5        Was that your understanding?
               6     A That --
               7     Q In other words, when Captain Tilton told
               8 you that, in the past, there had been an outdoor
               9 exercise yard in use at the San Bruno jail, was he
              10 talking to you about CJ5, the facility you visited?
              11     A First of all, let me state that I keep
              12 getting confused about CJ3, CJ5, CJ4, whatever. And
              13 that's why in my report I put the San Bruno jail.
              14        The San Bruno jail is the jail that I
              15 visited with Captain Tilton and Ms. Berdux, that had
              16 an outside yard that was closed because of the -- the
              17 different inmate population, person-to-person crimes,
              18 and drones and that sort of thing, which we've
              19 discussed and I wrote in this note.
              20     Q Okay. So your understanding, then, is that
              21 when Captain Tilton talked to you about there having
              22 been a -- an outdoor exercise yard previously in use,
              23 he was talking about in use at the facility that you
              24 visited rather than some other facility that had been
              25 in San Bruno, correct?

       Page 131
             1     A Yes.*** ROUGH DRAFT COPY ***
             2     Q Okay. Thank you.
    [Rough Draft Copy of the October 21, 2022 deposition of Dr. David M. Mathis, page 127-131]
3. According to the rebuttal expert report prepared by Michael Rogers, M.D., “Of the plaintiffs, only a
   couple reported concern over insomnia to CCSF jail medical staff, and in most of these cases, specific
   physical, health, or sleep hygiene/comfort issues were identified.”




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4. According to a revised methodological description provided to me by Julianna Di Miceli, a doctoral
   student in the Department of Clinical Psychology at The Wright Institute in Berkeley, CA, a group of
   18 doctoral students from the Wright Institute, Berkeley, California were recruited and paid to
   interview inmates of the San Francisco County Jail via videoconference (Zoom) during the month of
   August, 2022. All of the interviewers participated in a common training program, and the results of
   the interviews were reviewed by the lead doctoral candidate organizing the effort, Julianna Di Miceli.
   Most of the data are derived from structured questionnaires, as follows. The interviews were based on
   a battery of open-ended questions and questionnaires designed to assess sleep, circadian rhythms and
   mental health that were assembled by Dr. Jess Ghannam, Clinical Professor of Psychiatry and Global
   Health Sciences in the School of Medicine at the University of California San Francisco, and me. The
   doctoral students from the Wright Institute interviewed 27 inmates from San Francisco County Jail. A
   total of 31 inmates were invited to participate in interviews. Interviews took place over two meetings
   in most cases, a few required a third meeting. Requests to the jail were made for double periods and
   could therefore be scheduled for 1 hour and 15 minutes. The first interview was consistently 1 hour
   and 15 minutes, while the second interview took between 30 minutes to the full 1 hour and 15
   minutes, depending on the inmate. Four inmates declined to participate following the introduction at
   the start of the first interview; 27 inmates completed the first interview but declined to participate in
   further interviews in order to complete the test battery; and 24 inmates completed one to two
   additional interviews until all of the questionnaires were completed. The interview material consisted
   of nine open-ended questions, four separate questionnaires (Pittsburgh Sleep Quality Index, PTSD
   Checklist for Diagnostic and Statistical Manual of Mental Disorders (DSM), 5th ed. [American
   Psychiatric Association, 2013] (PCL-5), Beck Anxiety Inventory (BAI), and Beck's Depression
   Inventory (BDI)), and a fifth, compiled questionnaire with two sections: one section designed to
   assess Sleep and Circadian Rhythms [Item 19 of the Morningness-Eveningness Questionnaire (1
   item), Jail Sleep Assessment (JSA-40), Restorative Sleep Questionnaire (REST-Q-9), Karolinska
   Sleepiness Scale (KSS-1), Prison Environment Sleep Questionnaire (PESQ-16), Sleep Hygiene Index
   (SHI-13), Sleep Condition Indicator (SCI-8), Sleep Disorders Screen (SDS-5), Berlin Questionnaire
   (10 items), Dysfunctional Beliefs and Attitudes About Sleep (DBAS-16), Epworth Sleepiness Scale
   (ESS-8)]; and the other designed to assess Mental Health [Patient Health Questionnaire (PHQ-9),
   Generalized Anxiety Disorder (GAD-7), Kessler Psychological Distress Scale (K10), Brief
   Psychiatric Rating Scale (BRPS-24)]. Following an interview training, graduate students interviewed
   the inmates individually via Zoom, which required between two and three scheduled interviews.

5. According to a revised methodological description provided to me by Julianna Di Miceli, a doctoral
   student in the Department of Clinical Psychology at The Wright Institute in Berkeley, CA, the names
   of inmates who were invited to participate in the interviews were compiled from various sources,
   including inmates who had previously been in contact with class counsel, named plaintiffs, inmates
   who were referred by other inmates, or who were self-referrals after having learned of this effort.
   Before conducting any interviews, interviewers participated in a live or recorded interview training,
   which discussed the etiquette and procedures surrounding the conduct and content of the interview,
   including open-ended questions, questionnaires, note-taking, scoring, and organization of materials.
   The interviews began with an opening introduction statement describing the purpose of the interview,
   the acquisition of verbal consent which was audio recorded when possible, and then administration of
   the survey instruments described above. Interviews took place over two meetings in most cases, a few
   required a third meeting. Requests to the jail were made for double periods and could therefore be
   scheduled for 1 hour and 15 minutes. The first interview was consistently 1 hour and 15 minutes,


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    while the second interview took between 30 minutes to the full 1 hour and 15 minutes depending on
    the inmate. The prisoners ranged from 20 to 60 years old and have been incarcerated at the San
    Francisco County Jail between 1 and 10 years. After the interviews, the interviewers scored the
    assessments, organized their notes, and submitted their materials to the coordinator, Ms. Julianna Di
    Miceli. Ms. Di Miceli then double-checked the scoring for accuracy and deidentified the data.
    Deidentifying the data included assigning a random number and letter combination to each inmate in
    a password protected and encrypted spreadsheet to which only Ms. Di Miceli had access.
    Subsequently, the number-letter identifier was recorded with the associated assessment scores,
    deidentified qualitative data, and the inmate's body-mass index score. These data were distributed to
    Dr. Jess Ghannam and to me for analysis. Ages and ethnicity/race information were recorded for the
    summary of the data but dissociated from any specific, individual data to maintain confidentiality.

6. The survey results were then anonymized, compiled, and distributed to Dr. Ghannam and to me. It
   should be noted that the purpose of the anonymization was to enable the inmates to provide candid
   responses to the interviewers without the risk of jeopardizing their ongoing and unrelated legal cases
   or the risk of retaliation by prison staff. The questionnaires were designed by Plaintiffs’ experts to
   gather information on the Conditions of Confinement in the San Francisco County jails and assess the
   consequences of the Conditions of Confinement and improve the quality of the health care of the
   inmates, and were not gathered for the purpose of conducting a human research investigation.
   Because this activity does not constitute human research, it therefore was not subject to review by an
   Institutional Review Board. I have summarized the Questionnaire Findings and the responses to the
   Supplemental Questions below.

    The data analyzed for the September 2, 2022 Expert Report that I submitted in the above-referenced
    matter were based on completed questionnaires from 11 inmates, and partially completed
    questionnaires from several others. Now that complete data are available from 24 inmates, and partial
    data from 3 more, the data have been re-analyzed. The results of that re-analysis are presented below.
Questionnaire Findings (QF), Section 1. Sleep Characteristics
7. Information about sleeping conditions collected from the 40-item Jail Sleep Assessment (JSA-
   40) questionnaire administered to inmates is tabulated and summarized in Table QF-JSA-1.
   below. Of 24 surveyed inmates, 16 (67%) typically slept on the bottom bunk and 7 (29%)
   typically slept on the top bunk.
    Table QF-JSA-1.
                                                    Last week             Last night
                                                 Total N (%)           Total N (%)
    Sleeping arrangement                                24                    24
    Bottom Bunk                                         16 (66.7)             17 (70.8)
    Top Bunk                                             7 (29.2)              6 (25)
    Floor                                                1 (4.2)               0 (0)
    Other                                                0 (0)                 1 (4.2)




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8. Information about when the hall lights were turned out and first attempt to sleep collected from
   the 40-item Jail Sleep Assessment (JSA-40) questionnaire administered to inmates is tabulated
   and summarized in Table QF-JSA-2. below. Of 24 surveyed inmates, 22 (92%) reported that
   lights out in the hall and common areas occurred between 9:00 PM and 9:59 PM. Overall, none
   of the inmates reported first attempting to fall asleep during the same hour that the lights were
   turned out in the hall and common areas during the past week; 14 (58%) inmates reported first
   attempting to fall asleep more 1 hour after this interval (i.e., 11:00 PM), with 8 (33%) first
   attempting to fall asleep more than 2 hours after this interval (i.e., 12:00 AM [+1 day]).

   Table QF-JSA-2.
                                                Last week             Last night
                                             Total N (%)           Total N (%)
Typical time of lights out in the                   24                    24
evenings
8:00 to 8:59 PM                                       1 (4.2)             0 (0)
9:00 to 9:59 PM                                      22 (91.7)           23 (95.8)
10:00 to 10:59 PM                                     1 (4.2)             1 (4.2)
Typical time of first attempt to fall                24                  24
asleep
6:00 to 6:59 PM                                       1   (4.2)           0   (0)
7:00 to 7:59 PM                                       0   (0)             0   (0)
8:00 to 8:59 PM                                       0   (0)             0   (0)
9:00 to 9:59 PM                                       0   (0)             2   (8.3)
10:00 to 10:59 PM                                     9   (37.5)          7   (29.2)
11:00 to 11:59 PM                                     6   (25)            5   (20.8)
12:00 to 12:59 AM (+1 day)                            3   (12.5)          3   (12.5)
1:00 to 1:59 AM (+1 day)                              1   (4.2)           2   (8.3)
2:00 AM (+1 day) or later                             4   (16.7)          5   (20.8)

9. Information about sleep latency collected from the 40-item Jail Sleep Assessment (JSA-40)
   questionnaire administered to inmates during August and September 2022 is tabulated and
   summarized in Table QF-JSA-3. below. Over the prior week, the overall mean sleep latency was
   1.5 hours per night (standard deviation=1.2 hours, minimum 0.2 hours, maximum 4 hours).
   Among data from 23 inmates, 11 (48%) reported less than 1 hour of typical sleep latency, while
   8 (35%) reported 2 or more hours of sleep latency as typical. Among data from 24 inmates on
   the prior night, the overall mean sleep latency was 1.0 hour (standard deviation=1.1 hours,
   minimum 0 hours, maximum 5 hours). Among data on the prior night from 24 inmates, 15
   (62%) reported less than 1 hour of sleep latency the prior night, while 3 (12.5%) reported 2 or
   more hours of sleep latency on the prior night.
Table QF-JSA-3.



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                                   Last week               Last night
                                Total N   (%)           Total N (%)
Typical sleep latency in               23                      24
hours
Fewer than 0.50                          4    (17.4)                 6   (25)
0.50 to 0.99                             7    (30.4)                 9   (37.5)
1.00 to 1.49                             3    (13.0)                 5   (20.8)
1.50 to 1.99                             1    (4.3)                  1   (4.2)
2.00 to 2.49                             3    (13.0)                 1   (4.2)
2.50 to 3.00                             2    (8.7)                  1   (4.2)
More than 3.00                           3    (13.0)                 1   (4.2)

10. Information about lights on and wake time collected from the 40-item Jail Sleep Assessment
    (JSA-40) questionnaire administered to inmates during August and September 2022 is tabulated
    and summarized in Table QF-JSA-4 below. Of 24 surveyed inmates, 20 (83%) reported that
    lights on typically occurred between 6:00 AM and 7:59 AM. Despite this, 13 (54%) reported that
    they typically woke up to start their day after this time. Only 5 pf 24 (21%) surveyed inmates
    indicated that they ultimately woke up naturally. Overall, 13 of 24 (54%) surveyed inmate
    indicated that the serving of breakfast or a prison guard ultimately woke them up.
Table QF-JSA-4.
                                                Last week                   Last night
                                             Total N   (%)               Total N (%)
Typical time of lights on in the                    24                          24
morning
Before 6:00 AM                                          2   (8.3)                  0   (0)
6:00 to 6:59 AM                                         9   (37.5)                10   (41.7)
7:00 to 7:59 AM                                        11   (45.8)                14   (58.3)
8:00 to 8:59 AM                                         1   (4.2)                  0   (0)
9:00 to 9:59 AM                                         1   (4.2)                  0   (0)
Typical time to wake up to start the                   24                         24
day
4:00 to 4:59 AM                                         0   (0)                    1   (4.2)
5:00 to 5:59 AM                                         0   (0)                    0   (0)
6:00 to 6:59 AM                                         3   (12.5)                 3   (12.5)
7:00 to 7:59 AM                                         8   (33.3)                 7   (29.2)
8:00 to 8:59 AM                                         7   (29.2)                 9   (37.5)
9:00 to 9:59 AM                                         4   (16.7)                 2   (8.3)
10:00 to 10:59 AM                                       1   (4.2)                  1   (4.2)
…



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2:00 to 2:59 PM                                       0 (0)                 1 (4.2)
3:00 to 3:59 PM                                       1 (4.2)               0 (0)
11. Information about breakfast collected from the 40-item Jail Sleep Assessment (JSA-40)
    questionnaire administered to inmates during August and September 2022 is tabulated and
    summarized in Table QF-JSA-5 below. Of 15 surveyed inmates, all reported that breakfast was
    typically served between 3:00 AM and 4:59 AM. Of 24 surveyed inmates, all reported that
    breakfast was typically served between 3:00 AM and 4:59 AM. More than 80% of inmates
    reported that they did not eat breakfast when it was served, and more than one-third of the
    inmates reported that they could only sometimes or typically not fall back asleep after breakfast
    had been served.
Table QF-JSA-5.
                                                                 Last week       Last night
                                                               Total N (%)     Total N (%)
Typical time breakfast was served                                    24              24
3:00 to 3:59 AM                                                       9 (37.5)        9 (37.5)
4:00 to 4:59 AM                                                      15 (62.5)       15 (62.5)
Typically, was breakfast eaten when served?*                         23              24
Yes                                                                   4 (17.4)        2 (8.3)
No                                                                   19 (82.6)       22 (91.7)
Typically, able to fall back asleep after breakfast was              24              24
served?
Yes                                                                  15 (62.5)           19 (79.2)
Sometimes                                                             5 (20.8)      N/A      N/A
No                                                                    4 (16.7)            5 (20.8)
* one inmate did not provide a sufficient response to the question about eating breakfast when
served last week.
12. Information about sleep duration collected from the 40-item Jail Sleep Assessment (JSA-40)
    questionnaire administered to inmates during August and September 2022 is tabulated and
    summarized in Table QF-JSA-6 below. The overall mean nocturnal sleep duration was 5.1 hours
    per night (standard deviation = 1.3 hours), with a range of 2 hours to 8.5 hours. Of 24 surveyed
    inmates, 8 (33%) reported having obtained fewer than 5 hours of sleep on a typical night, 7
    (29%) reported between 5 and fewer than 6 hours of sleep, and 8 (33%) reported between 6 and
    fewer than 7 hours of sleep. Only 1 inmate reported having obtained 7 or more hours of sleep
    on a typical night. During the prior night, average sleep duration was 5.6 hours (standard
    deviation=2.1 hours, minimum 2 hours, maximum 12 hours).
Table QF-JSA-6.
                                      Last week
                                   Total N (%)



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Typical sleep duration in                 24
hours
<5h                                        8   (33.3)
5 to 5.99                                  7   (29.2)
6 to 6.99                                  8   (33.3)
7 to 7.99                                  0   (0)
8 or more                                  1   (4.2)

13. Information about sleep fragmentation during the prior week was also collected in the 40-item
    Jail Sleep Assessment (JSA-40) questionnaire administered to inmates. Among 24 inmates
    responding during August and September of 2022, the inmates reported considerable evidence
    of sleep fragmentation during the prior week. On average, the mean number of times that the
    inmates reported awakening from sleep during the past week was 2.7 times per night (standard
    deviation 1.2 times; range 0.3 to 5 times per night). During these awakenings, the inmates
    reported that they remained awake for an average of 0.7 hours after each awakening (standard
    deviation 0.8 hours; range 0 to 3 hours).

14. Information about sleep fragmentation during the prior night was also collected in the 40-item
    Jail Sleep Assessment (JSA-40) questionnaire administered to inmates. Among 24 inmates
    responding during August and September of 2022, inmates reported considerable evidence of
    sleep fragmentation during the night prior to the survey. On average, the mean number of times
    that the inmates reported awakening from sleep during the prior night was 2.1 times the prior
    night (standard deviation=1.1 times the prior night; range 0 to 4 times the prior night). Among
    the 23 inmates who tried to fall asleep after breakfast was served, 17% were unable to do so.
    Among those who were able to fall back to sleep after breakfast, the inmates reported that it
    took an average of 30 minutes to do so (standard deviation=24 minutes, minimum 0 minutes,
    maximum 90 minutes). On average, the 24 inmates reported that they spent 1.8 hours lying
    awake in bed trying to sleep (standard deviation=1.5 hours, minimum 0.3 hours, maximum 6
    hours) on the night prior to the interview.

15. Information about daytime napping during the prior week was also collected in the 40-item Jail
    Sleep Assessment (JSA-40) questionnaire administered to inmates. Some inmates reported
    napping during the daytime in the prior week. Among 24 inmates responding during August
    and September of 2022, 71% reported napping on a typical day during the week before the
    interview. Among those who reported napping during the prior week, the inmates reported that
    they had napped during the daytime an average of 1.1 times per day (standard deviation 0.7
    times; minimum 0.1 times and a maximum of 3 times per day). Among those who napped, the
    naps reportedly averaged 1.1 hours per nap (standard deviation=0.8 hours, minimum 0.1 hours,
    maximum 3 hours), and the total nap sleep that they typically obtained per day in the prior week
    averaged 1.7 hours (standard deviation=1.7 hours, minimum 0.1 hours, maximum 6 hours).




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16. Information about unintentionally nodding off or falling asleep during the prior day was also
    collected in the 40-item Jail Sleep Assessment (JSA-40) questionnaire administered to inmates.
    Some inmates reported unintentionally nodding off or falling asleep during the daytime on the
    day prior to the interview. Among 24 inmates responding during August and September of 2022,
    during the day before the interview, two-thirds of the inmates reported that they had nodded off
    or fallen asleep unintentionally the day before the interview. Among those who did so, these
    incidents occurred an average of 2.4 times (standard deviation 1.3 times; minimum 1 times and a
    maximum of 5 times yesterday). One third of inmates reported deliberately taking naps the prior
    day. Among those who took deliberate naps, the number of deliberate naps the prior day
    averaged 1.4 times (standard deviation 0.7 times; minimum 1 and maximum 3 times). Inmates
    who napped or fell asleep unintentionally averaged 1.3 hours of reported total daytime sleep the
    prior day (standard deviation=1.3 hours, minimum 0.1 hours, maximum 5 hours).

17. Information about the sleep environment collected from the 16-item Prison Environmental
    Sleep Questionnaire (PESQ-16) administered to inmates during August and September 2022 is
    tabulated and summarized in Table QF-PESQ. below. High scores indicate more common and
    significant disruption of sleep attributed to the assessed factors. The overall mean PESQ score
    was 42.2 out of 64 (standard deviation = 13.0), with a range of 17 to 61. For comparison, the
    mean score in the initial validation study that established the instrument was 22.3 (standard
    deviation = 11.5) for inmates with insomnia symptoms and 11.6 (standard deviation = 9.1) for
    inmates without insomnia symptoms [Dewa et al., 2017]. Of 24 surveyed inmates, the most
    common factor that disturbed sleep quite a bit or extremely was the comfortability of mattresses
    (22 inmates [92%]). Other factors reported by more than half of inmates included being worried
    or anxious, mind racing, noise (doors slamming, the prison environment, other prisoners, and
    staff), physical pain, and light. Too much light in cells was reported to disturb sleep quite a bit or
    extremely by 19 (79%) of the surveyed inmates. This finding is notable, and provides that these
    questionnaire responses were indeed reliable, in that the Complaint on which this matter is
    predicated highlighted the lack of exposure to light as one of the principal issues in the
    Complaint, and despite the fact that the inmates were housed separately with little opportunity
    to gather or communicate with each other due to the policies of the San Francisco County Jail
    and due to COVID-19 restrictions, more than three quarters of the inmates complained that
    excessive light exposure during the night was a major factor that disturbed their sleep, rather
    than the absence of light. Similarly, the consistency of the results of the interviews regarding the
    discomfort of the mattresses, the timing of the breakfast meals and the impact of the 3:30 am to
    4:30 am serving of the breakfast meal on their sleep, consistent reports that the inmates were
    forbidden from shielding their exposure to light at night and would be disciplined if they were to
    do so, all provide strong evidence that these data are indeed reliable.
Table QF-PESQ.
                                          Total N    (%)
Prison Environmental Sleep Questionnaire (PESQ) Score, and
Items That Disturbed Sleep Quite a Bit or Extremely
Being worried or anxious                          16 (66.7)


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Mind racing                                            17     (70.8)
Noise from doors slamming                              15     (62.5)
Noise from prison environment                          14     (58.3)
Prisoner sounds                                        15     (62.5)
Noise from staff                                       16     (66.7)
Water noises                                           12     (50)
Noise from a TV and/or radio                           10     (41.7)
Noise from intercom or telephone                       11     (45.8)
Bed parts squeaking                                    12     (50)
Mattress was too uncomfortable                         22     (91.7)
Physical pain                                          19     (79.2)
Too hot in my cell                                     19     (79.2)
Too cold in my cell                                    10     (41.7)
Too light in my cell                                   19     (79.2)
Incident with another prisoner                          6     (25)
Total score: 0 to 16                                    0     (0)
Total score: 17 to 32                                   6     (25)
Total score: 33 to 48                                   7     (29.2)
Total score: 49 to 64                                  11     (45.8)




Questionnaire Findings (QF), Section 2. Sleep Screening Instruments
18. Information about diurnal preference collected from Item 19 of the 8-item Sleep Condition
    Indicator questionnaire administered to inmates during August and September 2022 is tabulated
    and summarized in Table QF-MEQ below [Horne and Östberg, 1976]. Of 24 surveyed inmates,
    15 (63%) identified as evening types. The most common diurnal preferences were rather evening
    type (8 [33%]) and definite evening type (7 [29%]). Only 4 (17%) inmates identified as definite
    morning types.
Table QF-MEQ.
                                            Total    (%)
                                            N
Diurnal preference                            24
Any morning type (definite or rather)           9    (37.5)
Definite morning type                           4    (16.7)
Rather morning type                             5    (20.8)
Any evening type (definite or rather)          15    (62.5)
Rather evening type                             8    (33.3)



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Definite evening type                                         7 (29.2)

19. Information about insomnia symptoms was collected from the 8-item Sleep Condition Indicator
    questionnaire administered to inmates during August and September 2022. Of 23 surveyed
    inmates, 23 (100%) screened positive for clinically significant insomnia symptoms based on the
    established threshold of a score below 16 out of 50 [Espie et al., 2014].

20. Information about excessive daytime sleepiness was collected from the Epworth Sleepiness Scale
    questionnaire administered to inmates during August and September 2022. Of 24 surveyed
    inmates, 14 (58%) screened positive for excessive (i.e., above normal) daytime sleepiness based
    on the established threshold of a score above 10 out of 24 [Johns, 1992].

21. Information about risk of obstructive sleep apnea was collected from the Berlin Questionnaire
    administered to inmates during August and September 2022. Of 24 surveyed inmates, 11 (46%)
    screened positive for high risk of obstructive sleep apnea based on the established threshold of
    two or more of three categories scored as positive [Netzer et al., 1999].

22. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
    Q) questionnaire administered to inmates during August and September 2022 is tabulated and
    summarized in Table QF-REST below. Of 24 inmates who completed the REST-Q, all but 2
    (92%) screened as having low restorative sleep scores based on a threshold of below 50 out of
    100 established by Robbins et al. [2022], with higher scores reflecting more restorative sleep.
    Overall, 10 surveyed inmates (42%) had REST-Q scores below 20. The prevalence of low
    restorative sleep in this population is 280% times that of a representative sample of United
    States adults, among whom 33% had low restorative sleep scores, 39% had somewhat restorative
    sleep scores, and 28% had high restorative sleep scores. An itemized assessment reveals that
    surveyed inmates averaged feeling that last night’s sleep left them feeling between not at all and a
    little bit in a good mood, rested, refreshed, ready to start the day, and energetic. The average
    response to how last night’s sleep left them feeling in terms of mental alertness was between a
    little bit and somewhat. They also responded that last night’s sleep left them feeling, on average,
    between somewhat and very much grouchy, and between a little bit and somewhat tired and
    sleepy.
Table QF-REST
Responses were captured on a scale from 1 (not at all) to 2 (a little bit), 3 (somewhat), 4 (very much),
and 5 (completely).
                                                                                    Mean Standard
                                                                                         deviation
REST-Q - overall score and individual items
Total score (0 to 100; higher score = more restorative sleep)                           27.8   14.6
Last night’s sleep left me feeling…
Items for which higher scores (closer to completely) reflect more restorative sleep (1 to 5)


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…in a good mood                                                                           2.0        1.0
…rested                                                                                   1.8        0.9
…refreshed                                                                                1.6        0.8
…ready to start the day                                                                   1.8        1.1
…energetic                                                                                1.6        1.0
…mentally alert                                                                           2.7        1.3
Items for which lower scores (closer to not at all) reflect more restorative sleep (1 to 5)
…tired                                                                                    3.8        1.1
…sleepy                                                                                   3.5        1.1
...grouchy                                                                                2.8        1.5


Questionnaire Findings (QF), Section 3. Mental Health Screening Instruments
23. Information about anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-
    item Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during
    August and September 2022 is tabulated and summarized in Table QF-ANX. below. Of 25
    inmates who completed the BAI, 21 (84%) screened positive for moderate to severe clinically
    meaningful anxiety symptoms; 14 (56%) were experiencing severe anxiety symptoms. Categories
    are based on the established thresholds with scores of 16 to 25 as moderate and 26 to 63 as
    severe [Beck et al., 1988]. Of 24 inmates who completed the GAD-7, 20 (83%) screened positive
    for moderate to severe clinically meaningful anxiety symptoms; 13 (54%) were experiencing
    severe anxiety symptoms. Categories are based on the established thresholds with scores of 10 to
    14 as moderate and 15 to 21 as severe [Löwe et al., 2008]. Together, these findings indicate that
    across symptom and severity screening instruments, clinically meaningful, severe anxiety
    symptoms were highly prevalent within this population.
Table QF-ANX.
                                                                                          Total   (%)
                                                                                          N
Anxiety symptoms - Beck Anxiety Inventory (BAI)                                             25
Minimal                                                                                       1   (4)
Mild                                                                                          3   (12)
Moderate                                                                                      7   (28)
Moderate to severe                                                                            0   (0)
Severe                                                                                      14    (56)
Moderate or severe                                                                          21    (84)
Anxiety symptoms - Generalized Anxiety Disorder (GAD-7)†                                    24
Minimal                                                                                       1   (4.2)
Mild                                                                                          3   (12.5)
Moderate                                                                                      7   (29.2)



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Severe                                                                  13 (54.2)
Moderate or severe                                                      20 (83.3)
†
  It should be noted that The Generalized Anxiety Disorder-7 (GAD-7) scale has been
psychometrically validated [Löwe et al., 2008], and determined to be a reliable and valid self-
report measure for anxiety in the general population in clinical and non-clinical settings. It has
been cited more than 3,000 times in the academic literature. In fact, I have published a series of
articles on research supported by the U.S. Centers for Disease Control and Prevention using a subset of
the GAD-7 (the GAD-2) to assess the prevalence of anxiety symptoms in the general population,
demonstrating the increased prevalence of adverse mental health symptoms associated with the
COVID-19 pandemic [Czeisler MÉ, Board A et al., 2021; Czeisler MÉ, Capodilupo ER et al., 2022;
Czeisler MÉ, Drane A et al., 2021; Czeisler MÉ, Howard ME et al., 2021; Czeisler MÉ, Lane RI,
Wiley JF et al., 2021; Czeisler MÉ, Lane RI, Petrosky E et al., 2020; Czeisler MÉ, Rohan EA et al.,
2021; Czeisler MÉ, Wiley JF et al., 2021; Czeisler MÉ, Wiley JF et al., 2021]. Moreover, as is
standard practice in the psychometric validation of screening instruments, Drs. Spitzer and colleagues
established a recommended score (cut point) to optimize the sensitivity and specificity of the GAD-7
[Spitzer et al., 2006]. In that original validation study, which has been cited 18,000 times in the
academic medical literature, on the basis of a study of 965 participants, a score of 10 on the GAD-7 had
89% sensitivity and 82% specificity for diagnosing generalized anxiety disorder through a standard
diagnostic clinical interview, comparable to the Structured Clinical Interview for DSM [American
Psychiatric Association, 2013] Disorders (SCID).


24. Information about depression symptoms collected from the Beck Depression Inventory (BAI)
    and 9-item Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during
    August and September 2022 is tabulated and summarized in Table QF-DEP. below. Of 25
    inmates who completed the BDI, 18 (72%) screened positive for moderate to extreme clinically
    meaningful depression symptoms; 9 (38%) were experiencing severe or extreme depression
    symptoms. Categories are based on the established thresholds with scores of 21 to 30 as
    moderate and 31 to 40 as severe, and 41 to 63 as extreme [Beck et al., 1961]. Of 24 inmates who
    completed the PHQ-9, 22 (92%) screened positive for moderate to severe clinically meaningful
    depression symptoms; 13 (54%) were experiencing severe depression symptoms. Categories are
    based on the established thresholds with scores of 10 to 14 as moderate, 15 to 19 as moderately
    severe, and 20 to 27 as severe [Löwe et al., 2004]. Together, these findings indicate that across
    symptom and severity screening instruments, clinically meaningful, severe depression symptoms
    were highly prevalent within this population.
Table QF-DEP.
                                                                             Total    (%)
                                                                             N
Depression symptoms - Beck Depression Inventory (BDI)                          25
Normal                                                                           2    (8)
Mild                                                                             2    (8)
Borderline                                                                       3    (12)
Moderate                                                                         9    (36)



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Severe                                                                       7   (28)
Extreme                                                                      2   (8)
Moderate to extreme                                                         18   (72)
Depression symptoms - Patient Health Questionnaire (PHQ-9)                  24
None                                                                         0   (0)
Mild                                                                         2   (8.3)
Moderate                                                                     5   (20.8)
Moderately severe                                                            7   (29.2)
Severe                                                                      10   (41.7)
Moderate to severe                                                          22   (91.7)


25. Information about post-traumatic stress disorder (PTSD) symptoms was collected from the
    Posttraumatic Stress Disorder Checklist (PCL-5) questionnaire administered to inmates during
    August and September 2022. Of 27 surveyed inmates, 23 (85%) screened positive for clinically
    meaningful PTSD symptoms based on the established threshold of a score of 31-33 or higher.
    Such a score suggests the patient may benefit from PTSD treatment, with the PCL-5 having
    been recently revised to reflect Diagnostic and Statistical Manual of Mental Disorders (DSM),
    5th ed. [American Psychiatric Association, 2013] changes to the PTSD criteria [Blevins et al.,
    2015].

26. .Information about psychological distress was collected from the Kessler Psychological Distress
    Scale (K10) questionnaire administered to inmates during August and September 2022. Of 24
    surveyed inmates, 17 (71%) screened positive for moderate (4 inmates [17%]) to severe (13
    inmates [54%]) psychological distress based on the threshold of respondents with scores of 25 to
    29 likely having a moderate mental disorder and a score between 30 and 50 likely having a severe
    mental disorder [Kessler et al., 2002].
Questionnaire Findings (QF), Section 4. Sleep x Mental Health Screening Instruments
27. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
    Questionnaire and PTSD symptoms collected from the PCL-5 questionnaire administered to
    inmates during August and September 2022 is tabulated and summarized in Table QF-MEQ-
    PCL below. Of 24 inmates who completed both questionnaires, 21 (88%) screened positive for
    PTSD symptoms.
Table QF-MEQ-PCL.
                                                              PTSD
                                                            symptoms
                                     Total   (%)          n   (%)
                                     N
Diurnal preference                        24               21 (87.5)
Any morning type (definite or              9 (37.5)         8 (88.9)



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  rather)
  Definite morning type                     4 (16.7)             3 (75)
  Rather morning type                       5 (20.8)             5 (100)
  Any evening type (definite or            15 (62.5)            13 (86.7)
  rather)
  Rather evening type                           8 (33.3)         7 (87.5)
  Definite evening type                         7 (29.2)         6 (85.7)

  28. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
      Questionnaire and anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-
      item Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during
      August and September 2022 is tabulated and summarized in Table QF-MEQ-ANX-1 and QF-
      MEQ-ANX-2 below. Of 24 inmates who completed both Item 19 of the MEQ and the BAI, 15
      (63%) were evening types. Overall, 13 (54%) of these inmates screened positive for severe
      anxiety symptoms, including 71% of definite evening types. By comparison, 5 of 9 (56%)
      morning types screened positive for severe anxiety symptoms.

      Table QF-MEQ-ANX-1.
                                                           Minimal  Mild             Moderate  Severe
                                        Total    (%)       n (%)   n (%)             n (%)    n (%)
                                        N
Diurnal preference                        24     (100)     1   (4.2)    3   (12.5)   7   (29.2)   13   (54.2)
Any morning type (definite or rather)       9    (37.5)    0   (0)      1   (11.1)   3   (33.3)    5   (55.6)
Definite morning type                       4    (16.7)    0   (0)      1   (25)     1   (25)      2   (50)
Rather morning type                         5    (20.8)    0   (0)      0   (0)      2   (40)      3   (60)
Any evening type (definite or rather)     15     (62.5)    1   (6.7)    2   (13.3)   4   (26.7)    8   (53.3)
Rather evening type                         8    (33.3)    0   (0)      2   (25)     3   (37.5)    3   (37.5)
Definite evening type                       7    (29.2)    1   (14.3)   0   (0)      1   (14.3)    5   (71.4)

  29. Of 24 inmates who completed both Item 19 of the MEQ and the GAD-7, 15 (63%) were
      evening types. Overall, 13 (54%) of these inmates screened positive for severe anxiety
      symptoms, including 71% of definite evening types. By comparison, 5 of the 9 (56%) morning
      types screened positive for severe anxiety symptoms. Mild and moderate anxiety symptoms were
      also more common among evening than among morning types, whereas minimal anxiety
      symptoms were more common among morning types.
  Table QF-MEQ-ANX-2.
                                                          Minimal         Mild         Moderate         Severe
                                   Total (%)             n (%)          n (%)         n    (%)         n (%)
                                   N



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    Diurnal preference                         24 (100)         1 (4.2)      3 (12.5)         7 (29.2) 13 (54.2)
    Any morning type (definite or rather)       9 (37.5)        1 (11.1)     0 (0)            3 (33.3) 5 (55.6)
    Definite morning type                       4 (16.7)        1 (25)       0 (0)            0 (0)        3 (75)
    Rather morning type                         5 (20.8)        0 (0)        0 (0)            3 (60)       2 (40)
    Any evening type (definite or rather)      15 (62.5)        0 (0)        3 (20)           4 (26.7) 8 (53.3)
    Rather evening type                         8 (33.3)        0 (0)        2 (25)           3 (37.5) 3 (37.5)
    Definite evening type                       7 (29.2)        0 (0)        1 (14.3)         1 (14.3) 5 (71.4)
           30. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
               Questionnaire and depression symptoms collected from the Beck Depression Inventory (BDI)
               and 9-item Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during
               August and September 2022 is tabulated and summarized in Table QF-MEQ-DEP-1 and QF-
               MEQ-DEP-2 below. Of 24 inmates who completed both Item 19 of the MEQ and the BDI, 15
               (63%) were evening types. Overall, 9 (38%) of these inmates screened positive for severe or
               extreme depression symptoms, including 43% of definite evening types. By comparison, 2 of the
               9 (22%) morning types screened positive for severe or extreme depression symptoms.
          Table QF-MEQ-DEP-1.
                                         Normal         Mild        Borderline   Moderate            Severe      Extreme
                        Total (%)      n   (%)         n (%)        n (%)      n    (%)            n    (%)      n (%)
                        N
Diurnal preference      24    (100)    2     (8.3)     2    (8.3)   3    (12.5)   8    (33.3)      7       (29.2) 2   (8.3)
Any morning type
(definite or rather)    9      (37.5) 1      (11.1)    0    (0)     2    (22.2)   4    (44.4)      1       (11.1) 1   (11.1)
Definite morning type   4      (16.7) 0      (0)       0    (0)     0    (0)      3    (75)        0       (0)    1   (25)
Rather morning type     5      (20.8) 1      (20)      0    (0)     2    (40)     1    (20)        1       (20)   0   (0)
Any evening type
(definite or rather)    15     (62.5) 1      (6.7)     2    (13.3) 1     (6.7)    4    (26.7)      6       (40)   1   (6.7)
Rather evening type     8      (33.3) 1      (12.5)    1    (12.5) 1     (12.5)   1    (12.5)      4       (50)   0   (0)
Definite evening type   7      (29.2) 0      (0)       1    (14.3) 0     (0)      3    (42.9)      2       (28.6) 1   (14.3)


          31. Of 24 inmates who completed both Item 19 of the MEQ and the PHQ-9, 15 (63%) were
              evening types. Overall, 10 (42%) of these inmates screened positive for severe depression
              symptoms, including 57% of definite evening types. By comparison, 2 of the 9 (22%) morning
              types screened positive for severe depression symptoms.
          Table QF-MEQ-DEP-2.
                                                                        Mild      Moderate Moderately  Severe
                                                                                            Severe
                                               Total   (%)          n    (%)      n (%)    n (%)      n (%)
                                               N
       Diurnal preference                           24 (100)        2 (8.3)       5 (20.8)      7 (29.2)      10 (41.7)



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    Any morning type (definite or rather)            9   (37.5)      0   (0)      3   (33.3)    4   (44.4)      2   (22.2)
    Definite morning type                            4   (16.7)      0   (0)      1   (25)      2   (50)        1   (25)
    Rather morning type                              5   (20.8)      0   (0)      2   (40)      2   (40)        1   (20)
    Any evening type (definite or rather)           15   (62.5)      2   (13.3)   2   (13.3)    3   (20)        8   (53.3)
    Rather evening type                              8   (33.3)      1   (12.5)   2   (25)      1   (12.5)      4   (50)
    Definite evening type                            7   (29.2)      1   (14.3)   0   (0)       2   (28.6)      4   (57.1)

        32. Information about diurnal preference collected from Item 19 of the Morningness-Eveningness
            Questionnaire and psychological distress collected from the Kessler Psychological Distress Scale
            (K10) questionnaires administered to inmates during August and September 2022 is tabulated
            and summarized in Table QF-MEQ-K10. below. Of 24 inmates who completed both Item 19 of
            the MEQ and the K10, 15 (63%) were evening types. Overall, 13 (54%) of these inmates
            screened positive for severe psychological distress, including 71% of definite evening types. By
            comparison, 3 of the 9 (33%) morning types screened positive for severe psychological distress.
        Table QF-MEQ-K10.
                                                                    Well       Mild            Moderate      Severe
                                         Total N     (%)          n (%)     n   (%)            n   (%)    n     (%)
Diurnal preference                             24    (100)         1 (4.2)    6 (25)             4 (16.7)   13 (54.2)
Any morning type (definite or rather)           9    (37.5)        0 (0)      3 (33.3)           3 (33.3)    3 (33.3)
Definite morning type                           4    (16.7)        0 (0)      1 (25)             1 (25)      2 (50)
Rather morning type                             5    (20.8)        0 (0)      2 (40)             2 (40)      1 (20)
Any evening type (definite or rather)          15    (62.5)        1 (6.7)    3 (20)             1 (6.7)    10 (66.7)
Rather evening type                             8    (33.3)        0 (0)      3 (37.5)           0 (0)       5 (62.5)
Definite evening type                           7    (29.2)        1 (14.3)   0 (0)              1 (14.3)    5 (71.4)

        33. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
            Q) and PTSD symptoms collected from the PCL-5 questionnaire administered to inmates in
            August and September 2022 is tabulated and summarized in Table QF-REST-PCL. below. The
            REST-Q scoring categories are typically low (0 to 49.99), somewhat (50 to 74.99), or high (75 to
            100). However, given that only 2 inmates screened for somewhat restorative sleep (with scores
            of 50 and 61) and 0 inmates screened for highly restorative sleep, for this analysis, inmate REST-
            Q scores were categorized as 0 to 19.99, 20 to 39.99, and 40 to 49.99, and 60 to 69.99. This
            categorization applies to this section and the following 3 sections.

            Of 24 inmates who completed both the REST-Q and the PCL-5, 10 (42%) had scored between
            0 and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 9 (90%) of
            these inmates screened positive for PTSD symptoms, as did 6 (86%) of the inmates who scored
            between 20 and 39.99 on the REST-Q.
        Table QF-REST-PCL.



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                                                                             PTSD
                                                                           symptoms
                                                    Total      (%)       n   (%)
                                                    N
             REST-Q Total Score                          24                21   (87.5)
             0 to 19.99                                  10    (41.7)       9   (90)
             20 to 39.99                                  7    (29.2)       6   (85.7)
             40 to 59.99                                  6    (25)         5   (83.3)
             60 to 69.99                                  1    (4.2)        1   (100)

  34. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
      Q) and anxiety symptoms collected from the Beck Anxiety Inventory (BAI) and 7-item
      Generalized Anxiety Disorder (GAD-7) questionnaires administered to inmates during August
      and September 2022 is tabulated and summarized in Table QF-REST-ANX-1 and QF-REST-
      ANX-2 below.

     Of 24 inmates who completed both the REST-Q and the BAI, 10 (42%) had scored between 0
     and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 6 (60%) of
     these inmates screened positive for severe anxiety symptoms, as did 4 of the 7 (57%) inmates
     who scored between 20 and 39.99 on the REST-Q.
  Table QF-REST-ANX-1.
                                                Minimal          Mild        Moderate        Severe
                   Total N           (%)      n    (%)        n   (%)        n (%)        n    (%)
REST-Q Total Score       24                      1 (4.2)        3 (12.5)      7 (29.2)     13 (54.2)
0 to 19.99               10          (41.7)      1 (10)         1 (10)        2 (20)        6 (60)
20 to 39.99               7          (29.2)      0 (0)          1 (14.3)      2 (28.6)      4 (57.1)
40 to 50                  6          (25)        0 (0)          1 (16.7)      2 (33.3)      3 (50)
60 to 69.99               1          (4.2)       0 (0)          0 (0)         1 (100)       0 (0)


  35. Of 24 inmates who completed both the REST-Q and the GAD-7, 10 (42%) had scored between
      0 and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 6 (60%) of
      these inmates screened positive for severe anxiety symptoms, as 3 of the 7 (43%) inmates who
      scored between 20 and 39.99 on the REST-Q.
  Table QF-REST-ANX-2.
                                               Minimal         Mild           Moderate        Severe
                   Total N (%)                n   (%)       n   (%)          n   (%)       n     (%)
REST-Q Total Score       24                     1 (4.2)       3 (12.5)         7 (29.2)      13 (54.2)
0 to 19.99               10 (41.7)              0 (0)         2 (20)           2 (20)         6 (60)



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       20 to 39.99                      7 (29.2)       0 (0)          1 (14.3)        3 (42.9)       3 (42.9)
       40 to 59.99                      6 (25)         1 (16.7)       0 (0)           1 (16.7)       4 (66.7)
       60 to 69.99                      1 (4.2)        0 (0)          0 (0)           1 (100)        0 (0)

         36. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
             Q) and depression symptoms collected from the Beck Depression Inventory (BDI) and 9-item
             Patient Health Questionnaire (PHQ-9) questionnaires administered to inmates during August
             and September 2022 is tabulated and summarized in Table QF-MEQ-DEP-1 and QF-MEQ-
             DEP-2 below. Of 24 inmates who completed both the REST-Q and the BDI, 10 (42%) had
             scored between 0 and 19.99 out of 100, with higher scores reflecting more restorative sleep.
             Overall, 3 (30%) of these inmates screened positive for severe to extreme depression symptoms,
             as did 5 of the 7 (71%) inmates who scored between 20 and 39.99 on the REST-Q. By
             comparison, only 1 of the 7 (14%) inmates who scored a 40 or higher on the REST-Q screened
             positive for severe or extreme depressive symptoms.
         Table QF-MEQ-DEP-1.
                                             Normal          Mild       Borderline     Moderate       Severe       Extreme
                   Total N        (%)      n    (%)       n    (%)      n   (%)       n   (%)
REST-Q Total Score        24                 2 (8.3)        2 (8.3)       3 (12.5)      8 (33.3)     7    (29.2)   2   (8.3)
0 to 19.99                10      (41.7)     0 (0)          2 (20)        1 (10)        4 (40)       2    (20)     1   (10)
20 to 39.99                7      (29.2)     1 (14.3)       0 (0)         0 (0)         1 (14.3)     4    (57.1)   1   (14.3)
40 to 59.99                6      (25)       1 (16.7)       0 (0)         1 (16.7)      3 (50)       1    (16.7)   0   (0)
60 to 69.99                1      (4.2)      0 (0)          0 (0)         1 (100)       0 (0)        0    (0)      0   (0)


         37. Of 24 inmates who completed both the REST-Q and the PHQ-9, 10 (42%) had scored between
             0 and 19.99 out of 100, with higher scores reflecting more restorative sleep. Overall, 4 (40%) of
             these inmates screened positive for severe depression symptoms, as did 3 of the 7 (43%) inmates
             who scored between 20 and 39.99 on the REST-Q.
         Table QF-MEQ-DEP-2.
                                                       Mild     Moderate        Moderately Severe          Severe
                              Total N      (%)      n   (%)    n   (%)         n   (%)                   n (%)
      REST-Q Total Score            24                2 (8.3)    5 (20.8)        7 (29.2)                10 (41.7)
      0 to 19.99                    10     (41.7)     1 (10)     2 (20)          3 (30)                   4 (40)
      20 to 39.99                    7     (29.2)     1 (14.3)   0 (0)           3 (42.9)                 3 (42.9)
      40 to 59.99                    6     (25)       0 (0)      2 (33.3)        1 (16.7)                 3 (50)
      60 to 69.99                    1     (4.2)      0 (0)      1 (100)         0 (0)                    0 (0)


         38. Information about restorative sleep collected from the Restorative Sleep Questionnaire (REST-
             Q) and psychological distress collected from the Kessler Psychological Distress Scale (K10)


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      questionnaires administered to inmates during August and September 2022 is tabulated and
      summarized in Table QF-REST-K10. below. Of 24 inmates who completed both the REST-Q
      and the K10, 10 (42%) had scored between 0 and 19.99 out of 100, with higher scores reflecting
      more restorative sleep. Overall, 5 (50%) of these inmates screened positive for severe
      psychological distress, as did 5 of the 7 (71%) inmates who scored between 20 and 39.99 on the
      REST-Q.
  Table QF-REST-K10.
                                                     Well            Mild      Moderate                Severe
                          Total N       (%)       n   (%)          n   (%)    n   (%)               n    (%)
REST-Q Total Score               24                 1 (4.2)          6 (25)     4 (16.7)             13 (54.2)
0 to 19.99                       10     (41.7)      1 (10)           3 (30)     1 (10)                5 (50)
20 to 39.99                       7     (29.2)      0 (0)            1 (14.3)   1 (14.3)              5 (71.4)
40 to 59.99                       6     (25)        0 (0)            1 (16.7)   2 (33.3)              3 (50)
60 to 69.99                       1     (4.2)       0 (0)            1 (100)    0 (0)                 0 (0)



  Conclusions
  A number of environmental and biological factors that affect sleep and circadian rhythms by inducing
  acute and chronic sleep deficiency, circadian misalignment, or recurrent circadian disruption can thereby
  contribute to increased risk of adverse physical health, mental health, safety and neurobehavioral
  performance consequences, and to the risk of sleep-related or fatigue-related impairments of health and
  performance. These environmental and biological factors include: ambient lighting conditions;
  environmental noise; ambient temperature; sleep surface; meal timing and nutritional content; genetic
  polymorphisms; underlying medical condition, particularly chronic medical conditions such as sleep
  disorders, metabolic disorders, cardiovascular disorders, immune disorders, neurologic disorders, and
  cancer; age; sex; and use of medications. Therefore, I evaluated each of these factors in the present
  matter. My findings are as follows:
      A.      Lighting conditions. Based on the October 21, 2022 deposition testimony of David M.
              Mathis, M.D., it is now definitively evident that because of the policies of the San Francisco
              Sheriff's Office, the Conditions of Confinement in San Francisco County Jail #3 (formerly
              known as San Francisco County Jail #5, which is located in San Mateo County at 1 Moreland
              Drive in San Bruno CA 94066 [37°37'22.1"N 122°27'34.6"W])—unlike many other jails and
              prisons—chronically and totally deprive inmates, including the Plaintiffs in the above-
              referenced matter, of exposure to natural sunlight, preventing the inmates’ skin from being
              exposed to sunlight, including solar ultraviolet light, for the duration of their incarceration.
              Extensive epidemiological evidence has revealed that such total deprivation of solar light
              exposure on the skin increases the risk of hypertension and cardiovascular disease,
              inflammatory bowel disease, multiple forms of cancer, metabolic syndrome, diabetes, death
              from COVID-19, and all-cause mortality; moreover, it is increasingly recognized from
              epidemiological and laboratory evidence that many of these adverse health effects of
              deprivation of solar light exposure on the skin are mediated through mechanisms that are



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        distinct from and not predicated upon the Vitamin D deficiency that is associated with lack of
        skin exposure to sunlight [Alfredsson et al., 2020; Benedito-Silva et al., 2020; Cabrera SE et
        al., 2016; Cherrie et al., 2021; Fleury et al., 2016; Gorman et al., 2020; Grant et al., 2022;
        Halliday et al., 2014; Hart et al., 2011; Hazell et al., 2022; Hoel et al., 2016; Jaime et al.,
        2017; Kapil et al., 2020; Karapiperis et al., 2021; Kaufman et al., 2021; Li et al., 2016;
        Lindqvist et al., 2014; Lindqvist et al., 2021; Liu et al., 2014; Mackay et al., 2019; Miller et
        al., 2021; Moozhipurath et al., 2021; Opländer et al., 2009; Ostkamp et al., 2021; Suschek et
        al., 2022; Vieth et al., 2022; Weller et al., 2020; Yoon et al., 2019].

        The Conditions of Confinement in the San Francisco County jails induce insomnia through
        exposure to artificial light at night, through recurrent circadian disruption caused by exposure
        to artificial light at night. Ambient artificial lighting in the cells of San Francisco County Jail
        #3 are such that inmates are exposed to bright artificial light during the daytime and,
        especially for those assigned to the top bunk, considerable exposure to artificial light at night
        (ALAN). Extensive evidence indicates that exposure to the ALAN inherent in the Conditions
        of Confinement at the San Francisco County Jail increases the risk of obesity and many
        diseases, including metabolic syndrome and diabetes, cardiovascular disease, sleep disorders
        such as obstructive sleep apnea, and multiple forms of cancer, and increases the risk of
        adverse mental health consequences as well, including symptoms of depression, anxiety and
        attention deficit hyperactivity disorder. In addition, exposure to ALAN inherent in the
        Conditions of Confinement at the San Francisco County Jail disturbs sleep itself, inducing
        excessive daytime sleepiness and impairing the neurobehavioral performance of inmates, and
        increasing their risk of medical conditions known to be caused by sleep deficiency and sleep
        fragmentation, such as hypertension, impaired immune system functioning, and metabolic
        disease, together with the risk of adverse mental health consequences, including symptoms of
        depression, anxiety and attention deficit hyperactivity disorder.

B.      Environmental noise. The Conditions of Confinement in the San Francisco County jails
        induce insomnia through intermittent and regularly recurring noise and recurrent
        disturbances, such as the serving of breakfast nightly between 3:30 and 4:30 am (at least 2
        hours before lights were turned on in the jail each morning), and through middle of the night
        health and wellness checks, and noise in the prison environment, all of which, in my opinion
        within a reasonable degree of scientific and medical probability, have caused and will cause
        insomnia that can persist long after the occurrence of the environmental disturbances among a
        high proportion of inmates of the San Francisco County Jails. This environmentally and
        behaviorally induced insomnia, in and of itself, increases the risk of new onset, recurrence of
        or exacerbation of depression and anxiety disorders [Institute of Medicine, 2006; Franzen,
        2008]. In addition, the Conditions of Confinement in the San Francisco County jails induce
        chronic sleep deficiency through exposure to artificial light at night, noise and disturbances,
        such as the serving of breakfast nightly between 3:30 and 4:30 am (at least 2 hours before
        lights were turned on in the jail each morning), middle of the night health and wellness
        checks, and noise in the prison environment. This environmentally and behaviorally induced
        chronic sleep deficiency and sleep fragmentation, in and of itself, increases the risk of new
        onset, recurrence of or exacerbation of depression and anxiety disorders [Institute of
        Medicine, 2006; Franzen, 2008]. Exposure to environmental noise that is loud enough to
        disrupt sleep occurs at all hours of the day and night in the cells of San Francisco County Jail


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        #3. Such recurrent exposure to environmental noise at night causes sleep interruption, sleep
        fragmentation, and sleep deficiency, which can adversely affect health, increasing
        inflammation and increasing the risk of obesity, invasive cancer, metabolic disease and heart
        disease, sleep disorders such as obstructive sleep apnea, inducing excessive daytime
        sleepiness and impairing the neurobehavioral performance of inmates, and increasing their
        risk of adverse mental health consequences as well, including symptoms of depression,
        anxiety, attention deficit hyperactivity disorder, and post-traumatic stress disorder, and
        impairing immune functioning.

C.      Ambient temperature. There is evidence that some inmates house in certain cells of San
        Francisco County Jail #3 may be recurrently exposed to ambient temperatures that are outside
        the thermoneutral zone can cause sleep interruption, sleep fragmentation, and sleep
        deficiency, which can adversely affects health, inducing excessive daytime sleepiness and
        impairing the neurobehavioral performance of inmates, increasing inflammation and
        increasing the risk of obesity, invasive cancer, metabolic disease and heart disease, sleep
        disorders such as obstructive sleep apnea, and increasing the risk of adverse mental health
        consequences as well, including symptoms of depression, anxiety, attention deficit
        hyperactivity disorder, and post-traumatic stress disorder, and impairing immune functioning.

D.      Sleep surface and bedding. Recurrent exposure to a sleep surface and bedding that induces
        pain and thereby interferes with the ability to sustain sleep can cause sleep interruption, sleep
        fragmentation, and sleep deficiency, which can adversely affects health, increasing
        inflammation and increasing the risk of obesity, invasive cancer, metabolic disease and heart
        disease, sleep disorders such as obstructive sleep apnea, and increasing the risk of adverse
        mental health consequences as well, including symptoms of depression, anxiety, attention
        deficit hyperactivity disorder, and post-traumatic stress disorder, and impairing immune
        functioning.

E.      Meal timing and nutritional content. It is my opinion, within a reasonable degree of scientific
        and medical certainty, that providing inmates their breakfast meal in the middle of the
        biological night at ~3:30 am to ~4:30 am each day not only causes sleep interruption, sleep
        fragmentation and sleep deficiency, especially for those who are unable to go back to sleep
        after this deliberate environmental disruption, but many of those inmates who actually eat
        breakfast at the time that it is served will experience significantly elevated blood glucose
        concentrations (hyperglycemia) compared to that which would occur eating the same meal
        that was not misaligned. That is especially true given the high sugar content reported by
        multiple inmates in the breakfast cakes that they are served each morning. Serving of
        breakfast at that time increases the risk of obesity, impaired glucose tolerance,
        cardiometabolic disease, and ultimately diabetes due to misalignment of circadian phase at
        the time of the high-glucose meal service provided to inmates in San Francisco County Jail
        #3. Such recurrent exposure to meals rich in glucose in the middle of the biological night will
        adversely affect the health of many inmates, especially those with a common genetic
        background that is associated with a gain-of-function polymorphism of the melatonin
        receptor gene, increasing the risk of obesity, metabolic disease and heart disease, and sleep
        disorders such as obstructive sleep apnea, with all of their attendant adverse health
        consequences, such as increased risk of invasive cancer, metabolic disease and heart disease,


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        and increased risk of adverse mental health consequences, including symptoms of depression,
        anxiety, attention deficit hyperactivity disorder, and post-traumatic stress disorder, and
        impairing immune functioning.
F.      Genetic polymorphisms. Inmates with certain common genetic backgrounds, for example,
        gain-of-function polymorphism of the melatonin receptor gene, or polymorphisms in the
        metabolism of caffeine, or the chronotype genetic variant in the PER2 gene that is associated
        with a longer intrinsic circadian period and a later chronotype (e.g., evening type trait) in
        humans, will be at increased risk of suffering the adverse consequences associated with the
        environmental and biological factors that adversely affect inmates in the San Francisco
        County Jail.

G.      Underlying medical condition and chronotype
        a. Sleep disorders. As noted in my September 2, 2022 Expert Report, inmates with certain
           common sleep disorders, for example, obstructive sleep apnea, or insomnia disorder, will
           be at increased risk of suffering the adverse consequences associated with the
           environmental and biological factors that adversely affect inmates in the San Francisco
           County Jail.

            As indicated above, administration of the brief, 8-item Sleep Condition Indicator
            questionnaire to inmates during August and September 2022 revealed that all 23 of the
            inmate respondents (100%) screened positive for clinically significant insomnia
            symptoms based on the established threshold of a score below 16 out of 50 on the Sleep
            Condition Indicator [Espie et al., 2014], which is a psychometrically validated clinical
            screening tool for assessing insomnia symptoms using criteria from the most widely
            accepted nomenclature used by clinicians and researchers for the classification of mental
            disorders, the Diagnostic and Statistical Manual of Mental Disorders (DSM), 5th ed.
            [American Psychiatric Association, 2013]. Taken together these data indicate that the
            prevalence of insomnia symptoms among the inmates of the San Francisco County Jails
            is much higher than recognized by the CCSF jail medical staff. Moreover, that 100% of
            the inmates interviewed screened positive for symptoms of clinically significant insomnia
            in the past month is in far higher than the prevalence of insomnia in the general
            population, which is usually about 1 in 5 adults, and is much higher than a published
            report on insomnia symptoms in another prison population.

            As noted above, information about the sleep environment collected from the 16-item
            Prison Environmental Sleep Questionnaire (PESQ-16) administered to inmates in the San
            Francisco County jails during August and September 2022 revealed that of 24 surveyed
            inmates, the most common factor that disturbed sleep quite a bit or extremely was the
            comfortability of mattresses (22 inmates [92%]). Too much light in cells was reported as
            disturbing sleep by 19 (79%) inmates. 67% reported that noise from the prison staff
            disturbed their sleep quite a bit or extremely. This scale was developed to assess the
            impact of the prison environment on sleep (i.e., to capture elements of the prison
            environment likely to disturb sleep) and thus to identify environmental factors that
            contribute to insomnia among incarcerated persons. High scores indicate more common
            and significant disruption of sleep attributed to the assessed factors. The overall mean
            PESQ score among inmates in the San Francisco County jails was 42.2 out of 64


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      (standard deviation = 13.0), with a range of 17 to 61. For comparison, the mean score in
      the initial validation study that established the instrument was 22.3 (standard deviation =
      11.5) for inmates with insomnia symptoms and 11.6 (standard deviation = 9.1) for
      inmates without insomnia symptoms [Dewa et al., 2017].

      These data reveal that the Conditions of Confinement at the San Francisco County Jail
      secondary to the sleep environment induce insomnia, which has been undiagnosed and
      untreated by the medical staff of the San Francisco County Jail despite the ready
      availability of brief, psychometrically validated screening instruments, and that this
      chronic insomnia, which is associated with excessive daytime sleepiness in many of the
      inmates, in turn greatly increase the risk of adverse mental health and physical health
      consequences. For example, I noted in my September 2, 2022 Expert Report that
      insomnia in non-depressed adults is a risk factor for depression [Nutt et al., 2008]. As
      Nutt and colleagues wrote in the text of their 2008 review article:

      “The National Institute of Mental Health Epidemiologic Catchment Area study 20 years
      ago interviewed 7954 adults on two occasions a year apart, and this study first
      highlighted the strong association between sleep disturbance and subsequent depression.
      They found that 14% of those who had insomnia at the first interview had developed new
      major depression a year later [Ford and Kamerow, 1989].

      This data has been augmented by several more recent reports of increased risk. Breslau et
      al [Breslau et al., 1996], in a survey of 1200 young adults in Michigan, found that the
      odds ratio of new depression in was 4 times increased in those subjects who had insomnia
      3 years earlier, and in a questionnaire survey of adults over 18 in the UK there was a 3-
      fold increased risk of new depression if subjects had reported one sleep problem
      occurring ‘on most nights’ a year earlier [Morphy et al., 2007].

      Doctors in a prospective study who had complained of insomnia during medical school in
      the 1950s and 1960s were twice as likely to have developed depression at follow-up in
      1990s [Chang et al., 1997].

      It is apparent that sleep problems often appear before other depression symptoms
      [Ohayon and Roth, 2003], and that subjective sleep quality worsens before onset of an
      episode in recurrent depression [Perlis et al., 1997].”

      This is consistent with the conclusion of an earlier review article published by Riemann
      and Voderholzer, who in 2003 reported that:
          • “Results: Eight relevant epidemiological studies were identified. Almost
          unambigously insomnia at baseline significantly predicted an increased depression
          risk at follow-up 1–3 years later.”
          • Insomnia was predictive for the development of depression in the succeeding years.
          [Riemann and Voderholzer, 2003]

      The conclusions reached by Riemann and colleagues in their 2003 review and by Nutt
      and colleagues in their 2008 review have subsequently been substantiated by Li and


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        colleagues in a 2016 meta-analysis of 34 published studies, in which Li and colleagues
        reported the following:
            • Thirty-four cohort studies involving 172,077 participants were included in this
            meta-analysis
            • Statistical analysis revealed a positive relationship between insomnia and
            depression, the pooled risk ratio [RR] was 2.27 (95 % CI: 1.89–2.71), which
            translates into insomnia being associated with an approximately 120% increase in the
            risk of depression.
            • The Egger’s test identified evidence of substantial publication bias (P <0.05), but
            correction for this bias using trim-and-fill method did not alter the combined risk
            estimates.

        Li and colleagues concluded as follows: “This meta-analysis indicates that insomnia is
        significantly associated with an increased risk of depression, which has implications for
        the prevention of depression in non-depressed individuals with insomnia symptoms.” [Li
        et al., 2016]. As noted in the Czeisler Report, it is thus my opinion, within a reasonable
        degree of scientific and medical certainty, that this environmentally and behaviorally
        induced insomnia, caused by the Conditions of Confinement to which the inmates of the
        San Francisco County Jails are exposed, in and of itself, increases the risk of new onset,
        recurrence of or exacerbation of depression and anxiety disorders [Institute of Medicine,
        2006; Franzen et al., 2008].

   b. Chronotype. Inmates who were evening types had a higher prevalence of screening
      positive for adverse mental health symptoms than those who were morning types. Since
      late chronotypes may have suffered from greater sleep deficiency on this lighting and
      sleep schedule, with the wake-maintenance zone interfering with their ability to fall
      asleep at 9:30 pm, and experience greater circadian misalignment associated with the
      timing of the 3:30 am to 4:30 am breakfast meals, evening chronotypes will probably
      suffer greater adverse physical health consequences of the environmental and scheduling
      conditions in the San Francisco County Jail.

   c. Metabolic disorders. Inmates with certain common metabolic disorders, for example,
      type 1 or type 2 diabetes, or obesity, will be at increased risk of suffering the adverse
      consequences associated with the environmental and biological factors that adversely
      affect inmates in the San Francisco County Jail.

   d.    Cardiovascular disorders. Inmates with certain common cardiovascular disorders, for
        example, hypertension or coronary artery disease, will be at increased risk of suffering
        the adverse consequences associated with the environmental and biological factors that
        adversely affect inmates in the San Francisco County Jail.

   e. Immune functioning. Inmates exposed to infectious agents such as COVID-19 or
      monkeypox, for example, will likely experience an impaired immune response, both o the
      infections agents or vaccines designed to protect against the conditions, due to sleep
      fragmentation, sleep deficiency and circadian disruption associated with the




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             environmental and biological factors that adversely affect the sleep and circadian rhythms
             of inmates in the San Francisco County Jail.

        f.   Gastrointestinal illness. Inmates with certain common gastrointestinal disorders, for
             example, ulcerative colitis or Crohn’s Disease, will be at increased risk of suffering the
             adverse health consequences and exacerbations of their conditions associated with the
             Conditions of Confinement of San Francisco County Jail #3, which induce total
             deprivation of skin sunlight exposure, recurrent circadian disruption, circadian
             misalignment, sleep fragmentation, sleep interruption and sleep deficiency.

        g. Psychiatric disorders. Inmates with certain common psychiatric disorders, for example,
           depression, anxiety disorder, attention deficit hyperactivity disorder, and post-traumatic
           stress disorder, will be at increased risk of suffering the adverse health consequences and
           exacerbations of their conditions associated with the environmental and biological factors
           that adversely affect inmates in the San Francisco County Jail, inducing recurrent
           circadian disruption, circadian misalignment, sleep fragmentation, sleep interruption and
           sleep deficiency.

        h. Neurologic disorders. Inmates with certain common neurologic disorders, for example,
           migraine headache, or epilepsy, will be at increased risk of suffering the adverse health
           consequences and exacerbations of their conditions associated with the environmental
           and biological factors that adversely affect inmates in the San Francisco County Jail,
           inducing recurrent circadian disruption, circadian misalignment, sleep fragmentation,
           sleep interruption and sleep deficiency.

        i.    Cancer. Inmates with certain common types of cancer, for example, prostate cancer or
             liver cancer, will be at increased risk of suffering more invasive and severe forms of such
             cancers due to the Conditions of Confinement of San Francisco County Jail #3, which
             include total deprivation of sunlight on the skin, recurrent circadian disruption, circadian
             misalignment, sleep fragmentation, sleep interruption and sleep deficiency.

H.      Age. The impact of acute and chronic sleep deficiency induced by the environmental
        conditions at the San Francisco County Jail will have a greater adverse impact on the
        neurobehavioral performance of young as compared to older inmates, whereas the impact on
        cancer risk and diabetes may be greater in older as compared to young inmates.

I.      Sex. The impact of acute and chronic sleep deficiency and recurrent circadian disruption
        induced by the environmental conditions at the San Francisco County Jail will have a greater
        increase in the risk of certain diseases in men (e.g., prostate cancer) than it will have in
        women, whereas for other diseases (e.g., breast cancer), the increased risk would be greater in
        women than in men.

J.      Use of medications. The impact of acute and chronic sleep deficiency and recurrent circadian
        disruption induced by the Conditions of Confinement in San Francisco County Jail #3 will
        have a greater increase in the risk of adverse health outcomes in inmates taking certain




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            medications, such as agents to treat diabetes or depression, than it will to inmates who are not
            taking such medications.
I contemplate utilization of charts and graphs drawn from the world scientific and medical literature
and/or created specifically with respect to the present matter to illustrate the influence of these factors on
human brain function, both in general terms and in relation to the present matter. I reserve the right to
amend or modify my conclusions as more material becomes available.
Supplementary Opinions
    1. As noted in the September 2, 2022 Czeisler Expert Report, my opinion, within a reasonable
       degree of scientific and medical certainty, is that the Conditions of Confinement in the San
       Francisco County jails induce chronic sleep deficiency in a high proportion of inmates of the San
       Francisco County Jails through exposure to artificial light at night, through recurrent circadian
       disruption caused by exposure to artificial light at night, through intermittent and regularly
       recurring noise and recurrent disturbances, such as the serving of breakfast nightly between 3:30
       and 4:30 am (at least 2 hours before full lights were turned on in the jail each morning), and
       through middle of the night health and wellness checks. These environmentally and behaviorally
       induced disturbances, in my opinion within a reasonable degree of scientific and medical
       certainty, have caused and will cause sleep disturbances and sleep deficiency, the effects of which
       can persist long after the occurrence of the environmental disturbances among a high proportion
       of inmates of the San Francisco County Jails. As noted in the September 2, 2022 Czeisler Expert
       Report, it is thus my opinion, within a reasonable degree of scientific and medical certainty, that
       this environmentally and behaviorally induced chronic sleep deficiency and sleep fragmentation
       caused by the Conditions of Confinement to which the inmates of the San Francisco County Jails
       are exposed, in and of themselves, and together with the chronic deprivation of the inmates’
       exposure to sunlight, increase the risk of new onset, recurrence of or exacerbation of depression
       and anxiety disorders [Institute of Medicine, 2006; Franzen, 2008; Alfredsson et al., 2020;
       Benedito-Silva et al., 2020; Cabrera SE et al., 2016; Cherrie et al., 2021; Fleury et al., 2016;
       Gorman et al., 2020; Grant et al., 2022; Halliday et al., 2014; Hart et al., 2011; Hazell et al.,
       2022; Hoel et al., 2016; Jaime et al., 2017; Kapil et al., 2020; Karapiperis et al., 2021; Kaufman
       et al., 2021; Li et al., 2016; Lindqvist et al., 2014; Lindqvist et al., 2021; Liu et al., 2014;
       Mackay et al., 2019; Miller et al., 2021; Moozhipurath et al., 2021; Opländer et al., 2009;
       Ostkamp et al., 2021; Suschek et al., 2022; Vieth et al., 2022; Weller et al., 2020; Yoon et al.,
       2019].

    2. In my opinion, within a reasonable degree of scientific and medical certainty, is that the
       Conditions of Confinement in the San Francisco County jails that include chronic deprivation of
       skin exposure to natural outdoor light induce as well as recurrent sleep interruption, sleep
       fragmentation, and sleep deficiency can adversely affect physical health, increasing inflammation
       and increasing the risk of obesity, invasive cancer, metabolic disease and heart disease, sleep
       disorders such as obstructive sleep apnea, and impairing immune functioning, inducing excessive
       daytime sleepiness and impairing the neurobehavioral performance of inmates, and can adversely
       affect mental health, increasing their risk of experiencing symptoms of depression, anxiety,
       attention deficit hyperactivity disorder, and post-traumatic stress disorder [Institute of Medicine,
       2006; Alfredsson et al., 2020; Benedito-Silva et al., 2020; Cabrera SE et al., 2016; Cherrie et al.,
       2021; Fleury et al., 2016; Gorman et al., 2020; Grant et al., 2022; Halliday et al., 2014; Hart et



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    al., 2011; Hazell et al., 2022; Hoel et al., 2016; Jaime et al., 2017; Kapil et al., 2020; Karapiperis
    et al., 2021; Kaufman et al., 2021; Li et al., 2016; Lindqvist et al., 2014; Lindqvist et al., 2021;
    Liu et al., 2014; Mackay et al., 2019; Miller et al., 2021; Moozhipurath et al., 2021; Opländer et
    al., 2009; Ostkamp et al., 2021; Suschek et al., 2022; Vieth et al., 2022; Weller et al., 2020;
    Yoon et al., 2019].

3. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   certainty, that the Conditions of Confinement at San Francisco County Jail #3, including the
   environmental conditions and schedules to which inmates in the San Francisco County Jail are
   exposed, induces recurrent circadian disruption, misalignment of circadian phase with respect to
   meal timing in the inmates housed in the facility, and that these in turn increase the inmates’ risk
   of metabolic disorders and diabetes.

4. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   certainty, that the chronic deprivation of the inmates’ exposure to sunlight and that sleep
   interruptions, sleep fragmentation, sleep deficiency, circadian misalignment and recurrent
   circadian disruption induced by the Conditions of Confinement at San Francisco County Jail #3,
   including the environmental conditions and schedules to which inmates in the San Francisco
   County Jail are exposed, increases or exacerbates the inmates’ risk of obesity and many diseases,
   including metabolic syndrome and diabetes, cardiovascular disease, including hypertension,
   gastrointestinal illnesses, osteoporosis, impaired immune functioning, sleep disorders such as
   obstructive sleep apnea, and multiple forms of cancer, and increases or exacerbates the inmates’
   risk of adverse mental health consequences, including depression, anxiety disorder, attention
   deficit hyperactivity disorder, and post-traumatic stress disorder, while inducing excessive
   daytime sleepiness and impairing the neurobehavioral performance of inmates.

5. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   certainty, that the chronic deprivation of the inmates’ exposure to sunlight and that the sleep
   interruptions, sleep fragmentation, sleep deficiency, recurring circadian misalignment of meal
   timing, and recurrent circadian disruption induced by the environmental conditions and schedules
   to which inmates in the San Francisco County Jail are exposed due to the Conditions of
   Confinement at San Francisco County Jail #3 significantly increases their risk of their suffering
   from a chronic physical illness such as heart disease, diabetes, osteoporosis, gastrointestinal
   illnesses, cancer, or obstructive sleep apnea, or a chronic mental health condition, such as
   depression or anxiety disorder, the disabling effects of which are likely to persist for the rest of
   their lives, long after they are released from the San Francisco County Jail.

6. Based on the findings summarized above, and my review of the materials provided to me in this
   matter, as well as my education, training, background, and experience, it is my opinion to a
   reasonable degree of medical and scientific certainty, that the Conditions of Confinement at San
   Francisco County Jail #3 are causing the inmates’ daytime functioning to be impaired, adversely
   affecting judgment, risk-taking, risk of injury, and their ability to perceive and assess objects in
   their visual fields to be impaired by: (1) sleep-related cognitive slowing; (2) sleep-related


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    impaired reaction time; (3) increased sleep-related distraction; (4) a sleep-related episodes of
    automatic behavior; (5) excessive sleep inertia; (6) sleep-related attentional failures; (7) micro-
    sleep episodes; (8) sleep-related impairment of judgment; and (9) sleep-related impairment of
    other mental faculties. These impairments due to the Conditions of Confinement at San
    Francisco County Jail #3 will severely degrade many inmates’ memory and perception and
    situational awareness, degrade their ability to participate in their legal defense, and increase their
    risk of violating institutional policies regarding maintaining appropriate conduct while in jail.

7. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical
   certainty that the Conditions of Confinement at San Francisco County Jail #3, including the
   policies of the San Francisco County Sheriff, including the failure of the leadership of the San
   Francisco County Sheriff to implement a comprehensive program to address the sleep deficiency
   and recurrent circadian disruption to which inmates in the San Francisco County Jail are
   exposed—even after the testimony of Dr. Jamie Zeitzer in this matter in 2019, which detailed the
   serious adverse health and safety consequences of this environment and these scheduling policies
   on the inmates under the care of the San Francisco County Jail—is irresponsible and
   demonstrates a cultural indifference to the adverse health consequences of these conditions,
   reflecting a willful indifference to the serious health hazards associated with these unnecessarily
   dangerous conditions, and constituting gross negligence in continuing to maintain policies and
   practices that are so injurious to the health of the inmates.

8. My opinions expressed herein are directly related to the question as to whether the Conditions of
   Confinement in CJ4 and CJ5 [San Francisco County Jail #3 (formerly known as San Francisco
   County Jail #5 or CJ5, which is located in San Mateo County at 1 Moreland Drive in San Bruno
   CA 94066 [37°37'22.1"N 122°27'34.6"W]) are, within a reasonable degree of scientific and
   medical certainty, causal factors in the Complaints Expressed by the Plaintiffs. As stated in the
   Norbert et al. San Francisco County Sheriff’s Department, City and County of San Francisco, San
   Francisco Sheriff Vicki Hennessy et al. Complaint for Declaratory and Injunctive Relief and
   Damages Class Action, the Conditions of Confinement include:


     •   “the named Plaintiffs seek to represent a Plaintiff class consisting of all inmates
         incarcerated at San Francisco County Jail 4 (“CJ4”) and San Francisco County Jail 5
         (“CJ5” ) from 2017 to the present. All inmates are denied access to sunlight. No inmate
         was provided with access to outdoor recreation.

     •   “Prisoners in County Jail 5 are now bathed, 24/7, wholly in artificial fluorescent
         lighting” [emphasis added] (Norbert et al. San Francisco County Sheriff’s Department,
         City and County of San Francisco, San Francisco Sheriff Vicki Hennessy et al.
         Complaint for Declaratory and Injunctive Relief and Damages Class Action, Paragraph
         42).

     •   “At all relevant times herein, named Plaintiffs and class members herein have been
         injured by the regular and daily social and environmental and physical deprivations
         that was and continues to be caused by defendants and each of their failure to exercise



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         the ordinary care or skill in the management of the properties and facilities
         commonly known as CJ4 and CJ5” [emphasis added] (Norbert et al. San Francisco
         County Sheriff’s Department, City and County of San Francisco, San Francisco Sheriff
         Vicki Hennessy et al. Complaint for Declaratory and Injunctive Relief and Damages
         Class Action, Paragraph 87).

     •   “At all relevant times herein, named Plaintiffs’ and class members’ injuries were
         approximately caused by Defendants and each of their failures to exercise ordinary
         care or skill in the management of the properties and facilities commonly known
         as CJ4 and CJ5” [emphasis added] (Norbert et al. San Francisco County Sheriff’s
         Department, City and County of San Francisco, San Francisco Sheriff Vicki Hennessy
         et al. Complaint for Declaratory and Injunctive Relief and Damages Class Action,
         Paragraph 88).

 As stated in the Norbert et al. San Francisco County Sheriff’s Department, City and County of
 San Francisco, San Francisco Sheriff Vicki Hennessy et al. Complaint for Declaratory and
 Injunctive Relief and Damages Class Action, the Complaints Expressed by the Plaintiffs
 include:

     •   “these injuries include, but are not limited to, headaches, severe depletion of Vitamin
         D, increased body pain, headaches, loss of mental acuity, depression, anxiety, and
         depletion of melanin in their skin” (Norbert et al. San Francisco County Sheriff’s
         Department, City and County of San Francisco, San Francisco Sheriff Vicki Hennessy
         et al. Complaint for Declaratory and Injunctive Relief and Damages Class Action,
         Paragraph 88).

     •   “Prisoners at SFCJ4 suffer from … health issues [that] include cardiovascular
         disease, hypertension, negative impacts on blood sugar including adult-onset
         diabetes and lowered insulin sensitivity, headaches, migraines, anxiety and
         depression, weight increase and obesity” (Norbert et al. San Francisco County
         Sheriff’s Department, City and County of San Francisco, San Francisco Sheriff Vicki
         Hennessy et al. Complaint for Declaratory and Injunctive Relief and Damages Class
         Action, Paragraph 52).

     •   “Whereas all the prisoners [in CJ4 and CJ5] are allegedly accused by the State of
         making bad choices, defendants are purposely creating an environment where
         plaintiffs and members of the class are deprived of the fundamental building
         blocks, such as Vitamin D, necessary for clear thinking and rational, logical
         decision making, and creating an environment to set plaintiffs and members of
         the class, to repeatedly fail (Norbert et al. San Francisco County Sheriff’s
         Department, City and County of San Francisco, San Francisco Sheriff Vicki Hennessy
         et al. Complaint for Declaratory and Injunctive Relief and Damages Class Action,
         Paragraph 53).
9. Based on my review of the materials provided to me in this matter and my education, training,
   background and experience, it is my opinion within a reasonable degree of scientific and medical



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certainty, that the Conditions of Confinement at San Francisco County Jail #3 (formerly known as
San Francisco County Jail #5 or CJ5, which is located in San Mateo County at 1 Moreland Drive
in San Bruno CA 94066 [37°37'22.1"N 122°27'34.6"W]), including the environmental conditions
and schedules that chronically deprive the inmates of exposure to sunlight and that induce sleep
interruptions, sleep fragmentation, chronic sleep deficiency and excessive daytime sleepiness
among the inmates housed in the San Francisco County Jail could be significantly improved by
the implementation of a comprehensive sleep health and wellness program for the staff and
inmates of the San Francisco County Jail. Such a program could improve productivity and
decrease the risk of costly occupational injuries in the facility, and improve the health of both the
staff and inmates housed in the facility. Care will need to be taken to meet the operational
requirements of the jail facility, while addressing the toxic environmental and scheduling factors
that are currently injuring many of the inmates. Such a program should include implementation of
the following 17 elements:

    a. An education program to train Sheriff Paul Miyamoto, the executive team members who
       manage the San Francisco County Jail, the commanding officers, the supervisors, the
       deputies, the scheduling staff, and all employees who work at the San Francisco County
       Jail, as well as all inmates of the San Francisco County Jail, on the principles of sleep and
       circadian science through a combination of interactive online and in-person educational
       sessions;

    b. Certification testing of jail staff for comprehension of the principles of sleep and
       circadian science;

    c. Development and implementation of jail scheduling policies grounded on sleep and
       circadian science, including the scheduling of inmates who work in the facility. Jail
       schedule policies should cover scheduled timing of meal service (e.g., eliminating the
       middle-of-the-night sugary breakfast meals that are currently being served), lights out and
       lights on, and times for medical testing and other data gathering to minimize the
       occurrence of events during the nighttime hours that need not interrupt sleep (e.g.,
       COVID-19 testing at 2 am, or waking up an inmate in the middle of the night to inquire
       as to whether an inmate has a court date the next morning);

    d. Development and implementation of work schedule policies for work hours of inmates
       who work staffing the jail (e.g., as cooks in the kitchen). These policies should include
       maximum number of consecutive work hours; the minimum number of off-duty hours
       between shifts; provision of sleeping quarters during the daytime for inmates scheduled
       to work all night; the maximum number of weekly work hours in any running 7‐day
       interval; the minimum number of days off in any running 7‐day interval and in any
       running 30‐day interval; the maximum number of consecutive overnight shifts; and
       training of inmate work schedulers in work schedule design principles;

    e. Development and implementation of work schedule policies for work hours of
       supervisors and deputies staff the jail on a 24/7 basis. These policies should include
       maximum number of consecutive work hours; the minimum number of off-duty hours
       between shifts; the maximum number of weekly work hours in any running 7‐day


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        interval; the minimum number of days off in any running 7‐day interval and in any
        running 30‐day interval; the maximum number of consecutive overnight shifts; and
        training of staff work schedulers in work-schedule design principles;

   f.   Monitoring of effectiveness of, compliance with and enforcement of jail scheduling
        policies;

   g. Ambient lighting conditions for inmates that will include daily exposure of inmates’ skin
      to sunlight and ambient lighting conditions within the jail cells that will facilitate
      adaptation to the jail schedule, and to the work schedule of those inmates who are
      working to staff the facility. Ambient lighting conditions within the jail cells should
      include the ability to enhance the intensity and optimize the wavelength of ambient light
      exposure to enhance alertness and facilitate circadian synchronization to the jail schedule;

   h. Ambient lighting conditions in the jail cells that will enable inmates to sleep at night,
      including reduction in light intensity and of the inmates on the top bunk and the provision
      of well-fitting eye masks during sleep to minimize retinal light exposure during sleep;

   i.   Ambient lighting conditions in the jail that will facilitate adaptation to the jail schedule,
        and to the work schedule of those inmates who are working to staff the facility. Ambient
        lighting conditions should include the ability to enhance the intensity and optimize the
        wavelength of ambient light exposure to enhance alertness and facilitate circadian
        synchronization to the jail schedule;

   j.   Development and implementation of policies to minimize noise during the inmates’
        scheduled sleep episode, and provision of soft foam ear plugs to all inmates to reduce
        environmental noise disturbance;

   k. Monitoring of the effectiveness of, compliance with and enforcement of noise reduction
      policies;

   l.   Development and implementation of policies to ensure that the inmates are able to sleep
        in a thermoneutral environment;

   m. Provision of sleep surfaces that do not impede the ability of inmates to sleep;

   n. Equipping the cells with inexpensive, non-contact sensors that will enable the staff to
      complete wellness checks (e.g., respiration) without disturbing the sleep of inmates;

   o. Regular screening of inmates for symptoms of adverse mental health conditions using
      validated instruments, followed by diagnosis and treatment of inmates as appropriate;

   p. Sleep disorders screening using validated instruments of all jail staff members and
      inmates. Sleep disorders screening policies should include mandatory objective screening
      for obstructive sleep apnea in all employees and in all inmates with a body mass index
      greater than 30 kg/m2;


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            q. Sleep disorders treatment, as necessary;

            r.   Sleep disorders treatment compliance monitoring.

        Based on my review of the materials provided to me in this matter and my education, training,
        background and experience, it is my opinion within a reasonable degree of scientific and medical
        probability that implementation of such a comprehensive program should achieve marked
        reduction of sleep interruptions, sleep fragmentation, sleep deficiency, recurring circadian
        misalignment of meal timing, and recurrent circadian disruption currently induced by the
        environmental conditions and schedules to which inmates in the San Francisco County Jail are
        exposed, and reduction in the risk of adverse mental and physical health consequences being
        caused by the current Conditions of Confinement in San Francisco County Jail #3. These policies
        should improve the health and safety of both the inmates and the staff of the San Francisco
        County Jail.
I contemplate utilization of charts and graphs drawn from the world scientific and medical literature
and/or created specifically with respect to the present matter to illustrate the influence of these factors on
human brain function, both in general terms and in relation to the present matter. I reserve the right to
amend or modify my conclusions and opinions as additional material becomes available.
Dated: November 1, 2022




Charles A. Czeisler, Ph.D., M.D.




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standardization of the Generalized Anxiety Disorder Screener (GAD-7) in the general population. Med
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associated with lower risk of childhood type 1 diabetes among boys. Sci Rep. 2021 Sep 20;11(1):18597.
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study in a UK population. Sleep. 2007 Mar;30(3):274-80. PMID: 17425223
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patients at risk for the sleep apnea syndrome. Ann Intern Med. 1999 Oct 5;131(7):485-91. doi:
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        Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM       Page A-1 of A-103




                                                   Curriculum Vitae


Date Prepared:       October 30, 2022
Name:                Charles A. Czeisler, Ph.D., M.D., F.R.C.P., F.A.P.S.
Office Address:      Division of Sleep and Circadian Disorders
                     Brigham and Women’s Hospital
                     221 Longwood Avenue, Suite 438
                     Boston, MA 02115
Work Phone:          617-732-4013
Work Email:          charles_czeisler@hms.harvard.edu
Work FAX:            617-732-4015
Place of Birth:      Chicago, Illinois

Education
1974            A.B. (magna       Biochemistry and Molecular                     Harvard College, Cambridge, MA
                cum laude)        Biology

1978            Ph.D.             Neuro- and Biobehavioral Sciences              Stanford University, Stanford, CA
                                  (William C. Dement M.D., Ph.D.)

1981            M.D.              Medical Doctor                                 Stanford University School of
                                                                                 Medicine, Stanford, CA
Postdoctoral Training
1981-1983       Senior Fellow     Health Policy                                  Center for Health Policy and
                                  (David A. Hamburg, M.D.)                       Management, John F. Kennedy
                                                                                 School of Government, Harvard
                                                                                 University, Cambridge, MA
Faculty Academic Appointments
1978         Adjunct Instructor             Biological Sciences                           Graduate School of Arts
                                                                                          and Sciences, Fordham
                                                                                          University, Bronx, NY
1979            Lecturer                    Undergraduate Studies                         Stanford University
1979-1980       Research Associate          Physiology                                    Harvard Medical School,
                                                                                          Boston, MA
1982-1983       Research Associate          Medicine                                      Harvard Medical School
1983-1987       Assistant Professor         Medicine                                      Harvard Medical School
1987-1998       Associate Professor         Medicine                                      Harvard Medical School
1994-           Affiliate Faculty           Program in Neuroscience                       Harvard Medical School
1998-           Professor of Medicine       Medicine                                      Harvard Medical School
                                                              1
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2004-           Frank Baldino, Jr.,          Medicine                                      Harvard Medical School
                Ph.D. Professor of
                Sleep Medicine
2014-           Associate of Molecular       Molecular and Cellular Biology                Faculty of Arts and
                and Cellular Biology                                                       Sciences, Harvard
                                                                                           University,
                                                                                           Cambridge, MA

2019-           Senior Faculty               Harvard College Program in                    Faculty of Arts and
                                             General Education                             Sciences, Harvard
                                                                                           University

Appointments at Hospitals/Affiliated Institutions
1976-1978       Research Associate           Neurology                                     Montefiore Hospital,
                                                                                           Albert Einstein College of
                                                                                           Medicine, Bronx, NY
1982-1992       Associate Physician          Medicine, Endocrine Division                  Brigham and Women’s
                                                                                           Hospital, Boston, MA
1992-1998       Physician                    Medicine, Endocrine Division                  Brigham and Women’s
                                                                                           Hospital, Boston, MA
1998-           Senior Physician             Medicine, Division of Sleep                   Brigham and Women’s
                                             Medicine                                      Hospital, Boston, MA
1999-2014       Affiliate Faculty            Health, Science and Technology                Harvard Medical School/
                                             Program                                       Massachusetts Institute of
                                                                                           Technology, Cambridge,
                                                                                           MA
Other Professional Positions
1981-1993       Founder and Director                                Center for Design of Industrial Schedules,
                                                                    Boston, MA
1991-1994       Consultant                                          Light Sciences, Inc., Braintree, MA
1993-1994       Consultant                                          ShiftWork Systems, Inc., Cambridge, MA
1996-           Member, Board of Trustees                           Institute for Experimental Psychiatry
                                                                    Research Foundation, Milton, MA
2000-2011       Consultant                                          Cephalon, Inc., West Chester, PA (after 2005,
                                                                    Frazer, PA)
2001-2005       Consultant                                          Lifetrac, Inc., Biddeford, ME
2002-2003,      Consultant                                          Pfizer, Inc., New York, NY
2006
2003-2006       Member Circadian Rhythm Sleep                       Takeda Pharmaceuticals North America, Inc.,
                Disorders Advisory Board, and Consultant            Lincolnshire, IL
2003-2011       Consultant                                          Respironics, Inc., Murrysville, PA
2004            Consultant                                          Unilever, Inc., London, UK
2004            Consultant and Member, Sleep-Wake                   Cephalon, Inc., Frazer, PA
                Medicine Executive Advisory Board
2004-2007       Consultant and Member, Medical and                  Hypnion, Inc., Lexington, MA
                Scientific Advisory Board
2004-2005,      Consultant/Expert Witness                           Columbia River Bar Pilots, Astoria OR
                                                      2
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2010
2004-2013     Consultant                                        Sleep Multimedia, Inc.
2004-         Consultant                                        Vanda Pharmaceuticals, Inc., Washington DC
2005          Consultant                                        Warburg-Pincus
2005          Consultant                                        Morgan Stanley
2005          Consultant                                        Avera Pharmaceuticals, Inc., San Diego, CA
2005-2008     Consultant                                        Actelion Pharmaceuticals Ltd, Allschwil,
                                                                Switzerland
2005-2010     Consultant                                        Norfolk Southern
2005-         Chair, Scientific Advisory Board                  Vanda Pharmaceuticals, Inc., Washington DC
2007          Consultant                                        Fedex Kinko’s/Ketchum Inc.
2007-2009     Consultant                                        Sepracor, Inc., Marlborough, MA
2007-2010     Consultant                                        Somnus Therapeutics, Inc., Bedminster, NJ
2007-2010     Consultant                                        Eli Lilly and Co., Indianapolis, IN
2008-2009     Consultant                                        Garda Síochána Inspectorate (Dublin, Ireland)
2008-2009     Consultant                                        Sanofi-Aventis, Inc.
2008-2010     Consultant                                        Johnson & Johnson
2008-2011     Consultant                                        Portland Trailblazers
2008-2011     Consultant                                        Koninklijke Philips Electronics, N.V.
2008-2013     Consultant and Member, Scientific                 Zeo, Inc. (formerly Axon Labs, Inc.) Newton,
              Advisory Board                                    MA
2009          Consultant/Expert Witness                         Delta Airlines/Comair
2009-2010     Consultant/Expert Witness                         Global Ground Support
2009-         Consultant                                        Boston Celtics
2010-2011     Consultant                                        Minnesota Timberwolves
2010-         Consultant/Expert Witness                         Bombardier Inc.
2011          Consultant/Expert Witness                         Celadon Trucking Services, Inc.
2011-2012     Consultant                                        Novartis/Gerson Lehman Group
2012          Consultant                                        Boston Bruins
2013          Consultant                                        Synchrony Healthcare Communications/Teva
                                                                Pharmaceutical Industries Ltd.
2013          Consultant                                        Citgo and Valero
2013-2014     Consultant/Expert Witness                         Michael Jackson’s mother and children
2013-         Consultant                                        Boston Red Sox
2013-         Consultant                                        United Parcel Service
2013-         Consultant/Expert Witness                         Purdue Pharma L.P.
2022-         Consultant                                        With Deep, Inc.
2022-         Consultant                                        Signos, Inc.
2022-         Founder                                           Nychthemeron, LLC
2022-         Consultant/Expert Witness                         Puget Sound Pilots


Major Administrative Leadership Positions
Local
1976-1981     Project Director, Laboratory of Human                Department of Neurology, Montefiore
              Chronophysiology,                                    Hospital
1983-1989     Director, Neuroendocrinology Laboratory              Brigham and Women’s Hospital
1990-2001     Director, Laboratory for Circadian and               Endocrine Division, Department of
              Sleep Disorders Medicine                             Medicine, Brigham and Women’s Hospital
                                                     3
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1994-2001       Chief, Circadian, Neuroendocrine and Sleep           Endocrine Division, Department of
                Disorders Section                                    Medicine, Brigham and Women’s Hospital
1999-2004       Co-Director, Division of Sleep Medicine              Harvard Medical School
2001-2014       Chief, Division of Sleep Medicine                    Department of Medicine, Brigham and
                                                                     Women’s Hospital
2004-           Director, Division of Sleep Medicine                 Harvard Medical School
2014-           Chief, Division of Sleep and Circadian               Departments of Medicine and Neurology,
                Disorders                                            Brigham and Women’s Hospital

National and International
1997-2008     Team Leader, Human Performance Factors,                National Space Biomedical Research
              Sleep and Chronobiology Team                           Institute (NSBRI), Houston, Texas



Committee Service
Local
1981-1988       Working Group on Health Promotion &      Division of Health Policy, Harvard
                Disease Prevention                       University
                                                         Role: Executive Officer
1983-           Adams House Senior Common Room           Harvard College
                                                         Role: Associate
1986-1989       Study Group on AIDS and Public Policy    Division of Health Policy Research and
                                                         Education, Harvard University
                1986-1989                                Role: Chairman
1989-1996       Graduate Medical Education Committee     Brigham and Women's Hospital
                                                         Member
1993-1996       Long-range Planning Committee            Endocrine Division, Brigham and Women’s
                                                         Hospital
                1993-1994                                Role: Member
                1995-1996                                Role: Chairman
1994            Computer Committee                       Endocrine Division, Brigham and Women’s
                                                         Hospital
                                                         Role: Member
1994-1996       Ad-hoc Faculty Search Committee          Endocrine Division, Department of
                                                         Medicine, Harvard Medical School
                                                         Role: Chairman
1996-           Sleep Grand Rounds Organizing Committee Division of Sleep Medicine, Brigham and
                                                         Women’s Hospital
                                                         Role: Member
1997-           Clinical Investigation Committee         Research Council, Brigham and Women'’
                                                         Hospital
                                                         Role: Member
1998-           Faculty Executive Committee              Division of Sleep Medicine, Harvard
                                                         Medical School
                                                         Role: Co-Chair
1998-           Education and Training Committee, Sleep, Brigham and Women’s Hospital
                Circadian and Respiratory Neurobiology   Role: Chairman
                Training Program
                                                      4
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1999-2000,      Ad Hoc Committee of Evaluators for                  Harvard Medical School
2002            Professorial Appointment                            Role: Member

2000-           Advisory Committee                        John A. Hartford Foundation Center for
                                                          Excellence in Geriatric Medicine, Division
                                                          on Aging, Harvard Medical School
                                                          Role: Member
2001-           Harvard Work Hours, Sleep and Safety      Division of Sleep Medicine, Harvard
                Study Group                               Medical School
                                                          Role: Organizer
2001-           Executive Committee                       Department of Medicine, Brigham and
                                                          Women’s Hospital
                                                          Role: Member
2001-           Center for Clinical Investigation         Brigham and Women’s Hospital
                                                          Role: Member
2002-           Clinical Research Liaison Committee       Brigham and Women’s Hospital
                                                          Role: Member
2002-           General Clinical Research Center Steering Brigham and Women’s Hospital
                Committee                                 Role: Member
2002-2003       Task Force on Graduate Medical Education Partners HealthCare System
                                                          Role: Member
2004            Dry Space Subcommittee, Executive         Brigham and Women’s Hospital
                Committee on Space (ECOS)                 Role: Member
2006-           Ad Hoc Search Committee for the Peter C.  Harvard Medical School
                Farrell Professor of Sleep Medicine       Role: Chair
2007-           Ad Hoc Search Committee for the Gerald E. Harvard Medical School
                McGinnis Professor of Sleep Medicine      Role: Chair
2007-           Ad Hoc Search Committee for a Professor   Harvard Medical School
                of Medicine to serve as Director of the   Role: Chair
                Sleep and Health Education Programs
2007-           Division of Sleep Medicine Fellows        Brigham and Women’s Hospital
                Selection Committee                       Role: Co-Chair
Regional
1985-1986       Symposium on Health Promotion in the                Kellogg Foundation, Boston, MA
                Workplace                                           Role: Co-chairman
2008            Discovery Panel                                     NASA Future Forums, Museum of Science,
                                                                    Boston, MA
                                                                    Role: Panelist
2008            Fatigue Management II: Technological and            Liberty Mutual, Hopkinton, MA
                Pharmacological Approaches, Future                  Role: Working Group Member
                Directions in Fatigue and Safety Research
2008            Massachusetts Special Commission on                 Boston, MA
                Drowsy Driving                                      Role: Special Consultant
2008-2009       Expert Panel on Obstetrics, Staffing and            Betsy Lehman Center for Patient Safety,
                Communication Task Group                            Boston, MA
                                                                    Role: Consultant
National and International
1981-1982       Research Agenda for Health and Behavior             National Academy of Sciences (NAS)
                                                             5
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                                                            Institute of Medicine (IOM), Washington,
                                                            DC
                                                            Role: Task Force Member
1982-1983      Clinical Psychobiology Branch                National Institute of Mental Health
                                                            (NIMH), Bethesda, MD
                                                            Role: Consultant
1983           Ad Hoc Advisory Group                        Institute of Chronobiology, New York
                                                            Hospital, Cornell Medical School, White
                                                            Plains, NY
                                                            Role: Member
1982-1984      The United States Olympic Committee          Sports Medicine Division, Colorado
                                                            Springs, CO
                                                            Role: Consultant
1984           Ad Hoc Subcommittee on Evaluation of         National Research Council, National
               Endocrine Studies in Space, Committee on     Academy of Sciences, Washington, DC
               Space Biology and Medicine                   Role: Member
1989-1990      Research Briefing Panel on Basic Sleep       Division of Health Science Policy, Institute
               Research                                     of Medicine, NAS, Washington, DC
               1989-1990                                    Role: Member
1989           Scientific Review Branch                     National Institute of Neurological and
                                                            Communicative Disorders and Stroke, NIH,
                                                            Bethesda, MD
                                                            Role: Advisory Consultant
1989           Board of Scientific Counselors               ADAMHA, National Institute of Mental
                                                            Health (NIMH), Bethesda, MD
                                                            Role: Ad hoc consultant
1989           General Clinical Research Center Site Visit Division of Research Resources, National
               Advisory Review Panel                        Institutes of Health, Bethesda, MD
                                                            Role: Member
1989-1990      Planning Committee, Consensus                National Institute on Aging and the Office
               Development Conference on Sleep              of Medical Applications of Research, NIH,
               Disorders in Older People                    Bethesda, MD
                                                            Role: Member
1989-1991      Panel on Workload Transition, Committee      National Research Council, National
               on Behavioral and Social Sciences and        Academy of Sciences, Washington DC
               Education                                    Role: Member
1989-1991      Advisory Panel, New Developments in          Office of Technology Assessment, United
               Neuroscience, “Biological Rhythms:           States Congress, Washington DC
               Implications for the Worker”                 Role: Member
1990-1991      Advisory Panel, Preflight Circadian Shifting National Aeronautics and Space
               of Shuttle Flight Crews, Space and Life      Administration (NASA), Johnson Space
               Sciences Directorate                         Center (JSC), Houston, TX
                                                            Role: Member
1990           Biological Rhythms Task Force                Mental Health Research Network, John D.
                                                            and Catherine T. MacArthur Foundation,
                                                            Chicago, IL
                                                            Role: Member
1990           Merit Award Advisory Review Panel            National Institute on Aging (NIA), National
                                                            Institutes of Health (NIH), Bethesda MD
                                                            Role: Member
                                                       6
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1991            Future Approaches to the Basic                      National Commission on Sleep Disorders
                Neurobiology of Sleep                               Research, Bethesda MD
                                                                    Role: Workshop Panelist
1991-           External Advisory Committee                         University of Virginia National Science and
                                                                    Technology Center, National Science
                                                                    Foundation
                                                                    Role: Member
1991            Committee for External Review of Sleep              Department of Psychiatry, Stanford
                Research Center and Clinic                          University, Stanford, CA
                                                                    Role: Chairman
1992            Neurolab Space Shuttle Research Planning            Division of Basic Brain and Behavioral
                Conference                                          Sciences, National Institute of Mental
                                                                    Health/Life Sciences Division, NASA,
                                                                    Houston TX
                                                                    Role: Consultant
1992            Program Project Site Visit Review Panel             Scientific Review Office, National Institute
                                                                    on Aging, NIH, Bethesda MD
                                                                    Role: Chairman
1994            Operations Center                                   Nuclear Regulatory Commission (NRC),
                                                                    Washington, DC
                                                                    Role: Consultant
1994-           Advisory Committee                                  Night Operations and Human
                                                                    Chronobiology, Life and Environmental
                                                                    Sciences Division, Air Force Office of
                                                                    Scientific Research (AFOSR)
                                                                    Role:Member
1994            Focus Group                                         Neural Basis of Psychopathology,
                                                                    Neuroscience and Behavioral Science
                                                                    Division, NIMH
                                                                    Role: Member
1994            Work Hours, Sleepiness and Accidents                National Institute for Psychosocial Factors
                Consensus Conference                                and Health, Department of Clinical
                                                                    Neuroscience, Karolinska Institute,
                                                                    Stockholm
                                                                    Role: Panel Member
1994-           External Advisory Committee                         General Clinical Research Center,
                                                                    University of Virginia, Charlottesville, VA
                                                                    Role: Member
1995            External Advisory Panel on “The Future of           NIMH
                Sleep Research at NIMH”                             Role: Member
1996            Workshop on Melatonin and Sleep                     Neurobiology of Aging Branch, NIA
                                                                    Role: Panel Member
1996-1997       Advisory Group Spaceflight and Aging                Biology of Aging Program, NIA
                                                                    Role: Member
1996            Integrative, Regulatory and Behavioral              Neuroscience Integration Project, Division
                Neurosciences Working Group                         of Research Grants, NIH
                                                                    Role: Member
1997            Systems Physiology Workshop, Committee              National Research Council, NAS
                on Space Biology and Medicine                       Role: Panelist
1998-           Human Factors Research Team, Workshop               Johnson Space Center Human Space and
                                                   7
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                to Develop Critical Path Roadmap            Life Sciences Program Office and National
                                                            Space Biomedical Research Institute,
                                                            Houston, TX
                                                            Role: Chair
2000-           Scientific Advisory Board                   Alertness Management Initiative, Air
                                                            Transport Association, Washington, DC
                                                            Role: Member
2001            Scientific Advisory Panel, Mars Exploration NASA Jet Propulsion Laboratory
                Rover Surface Operations Human Factors      Role: Member
                Workshop
2000-2002       Ad hoc reviewer                             Center for Scientific Review and National
                                                            Center for Research Resources, NIH
                                                            Role: Ad hoc reviewer
2003            External Advisory (Red Team II) Panel       International Space Station and Shuttle
                                                            Utilization Reinvention (SSUR) Team,
                                                            NASA
                                                            Role: Member
2003            Workshop on Effects of Sleep Disorders      National Center on Sleep Disorders
                and Sleep Restriction on Adherence to       Research, National Heart, Lung and Blood
                Prevention and Treatment Regimens           Institute (NHLBI), NIH
                                                            Role: Participant and Invited Speaker
2004            Workshop on Shift Work Sleep Disorder       National Sleep Foundation Workshop on
                                                            Shift Work Sleep Disorder, Washington,
                                                            DC
                                                            Role: Invited Speaker and Session Chair
2005            Human System Integration Workshop           Behavioral Health and Performance
                                                            Directorate, NASA, Houston, TX
                                                            Role: Participant
2005            Committee on Sleep Medicine and Research Institute of Medicine, National Academy of
                                                            Sciences
                                                            Role: Expert Consultant
2007            Medical Panel on Sleep Apnea and            Federal Motor Carrier Safety
                Commercial Truck Driving                    Administration (FMCSA), US Department
                                                            of Transportation (DOT)
                                                            Role: Panelist
2007            Committee on Optimizing Graduate            Institute of Medicine, National Academy of
                Medical Trainee (Resident) Hours and        Sciences
                Work Schedules to Improve Patient Safety    Role: Expert Consultant
2008            Fatigued Driving Committee                  National Highway Traffic Safety
                                                            Administration’s (NHTSA) Office of
                                                            Behavioral Safety Research, Bethesda, MD
                                                            Role: Panelist
2008-           Steering Committee                          Academic Alliance for Sleep Research
                                                            Role: Member
2008-2011       Sleep Disorders Research Advisory Board     NHLBI, NIH
                                                            Role: Member (2008-2011), Chair (2010-
                                                            2011)
2008            Consortium on Sleep Research                National Clinical and Translational Science
                                                            Awards (NIH-CTSA)
                                                            Role: HMS Representative
                                                       8
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        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-9 of A-103


2008-           External Advisory Committee                         Wisconsin Sleep Center, University of
                                                                    Wisconsin, Madison, WI
                                                                    Role: Member
2009            External Advisory Committee                         Case Western Reserve University,
                                                                    Cleveland, OH
                                                                    Role: Member
2009            Sleep Research Network                              Role: Member (2009-), Chair Elect (2013),
                                                                    Chair 2013-2014
2012-           Medical Advisory Board                              Circadian Sleep Disorders Network
                                                                    Role: Member
2014            External Review Committee                           Stanford Center for Sleep Sciences and
                                                                    Medicine, Stanford CA
2014-2015       Panel Study on Truck Safety, Hours of               National Academy of Sciences (NAS),
                Service, and Fatigue                                Washington, DC
                                                                    Role: Task Force Member
2014            Selection Committee for Editor-in-Chief             Sleep Health journal, National Sleep
                                                                    Foundation
                                                                    Role: Member
2014            Drowsy Driving Forum                                National Transportation Safety Board,
                                                                    Washington DC
                                                                    Role: Panelist
2015-           Scientific Advisory Board                           Institute of Digital Media and Child
                                                                    Development, Stony Brook NY
                                                                    Role: Member
2015-           Sleep Disorders Council                             National Sleep Foundation, Arlington VA
                                                                    Role: Lead, Circadian Rhythm Disorders
2016-           Global Council on Brain Health                      AARP in Collaboration with Age UK
                                                                    Role: Issue Matter Expert on Sleep
2016-           Scientific Advisory Committee for the               Klarman Family Foundation, Boston MA
                Stanford Sleep Study                                Role: Member
2017-           Panel on Human Factors Science                      National Academies of Sciences,
                                                                    Engineering, and Medicine, Washington
                                                                    DC
                                                                    Role: Panel Member
Professional Societies
1975-         American Association for the Advancement
              of Science
              1981                                                  Symposium Co-Chairman
              1986,1989                                             Symposium Speaker
1975-         International Society for Chronobiology
1976-         Sleep Research Society
              1980, 1981, 1985                                      Satellite Symposium Chairman and Co-
                                                                    Chairman
                1980                                                Chairman, Biological Rhythm
                                                                    Nomenclature Committee
                1982-5, 1988, 1990-5, 1997-8                        Session Chairman
                1995-1999                                           Section Head, Circadian Rhythms Section
                1996-1999                                           Member, Board of Directors
                1996-1999                                           Member, Nominating Committee
                                                             9
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        Appendix A              Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-10 of A-103


                2003-2004                                            Chair, Research Committee
                2004-2005                                            President-Elect
                2004-2007                                            Chair, Presidential Task Force on Sleep and
                                                                     Public Policy
                2004-2007                                            Member, Executive Committee and Board
                                                                     of Directors
                2004-2007                                            Member, Board of Directors
                2005-2006                                            President
                2006-2007                                            President, Sleep Research Society
                                                                     Foundation
1979-           Society for Neuroscience
                1986, 1999, 2007                                     Symposium speaker
1979-           American Physiological Society
                1995                                                 Workshop participant
1982-1988       Clinical Sleep Society
                1987-1988                                            Fellow
1985-           American Sleep Disorders Association
                1985-1989                                            Member, Nosology Committee
                1986-1990                                            Chairman, Subcommittee on Classification
                                                                     of Sleep Scheduling Disorders
                1988-                                                Fellow
                1989-1993                                            Member, Committee for Government
                                                                     Affairs and Public Policy
1985-           Association of Professional Sleep Societies
                1986                                                 Course Developer
                1986-1987                                            Member, Committee on Catastrophes, Sleep
                                                                     and Public Policy
                1987-8, 1993, 1995, 2000                             Invited Symposium Speaker
                1988-1990                                            Chairman, Ad Hoc Government Advisory
                                                                     Steering Committee on Safety, Performance
                                                                     and Sleep
                1990, 1996                                           Symposium Chairman
                1992-3, 1998, 2002-3                                 Course Speaker
                1994                                                 Workshop Organizer
                1997                                                 Annual Meeting Keynote Speaker
                1997-1999                                            Member, Annual Meeting Program
                                                                     Committee
                2004-2007                                            Member, Board of Directors
1986-           Academy of Behavioral Medicine Research              Fellow
1988-1990       American Federation for Clinical Research
1988-           Society for Research on Biological
                Rhythms
                1988, 1992, 1994, 1998                               Invited Symposium Speaker
                1993-1994                                            Member, Nominating Committee
                1996                                                 Session Chairman
                2002                                                 Keynote Speaker Annual Meeting
1989-1990       Northeastern Sleep Society                           Chairman and Host Annual Meeting
1990-1995       National Sleep Foundation                            Member, Board of Trustees
1990-           American Society for Clinical Investigation          Fellow
1995            American Physiological Society                       Rapporteur, Study Group on Clocks and
                                                       10
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        Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-11 of A-103


                                                                    Human Biology
1997-           Association of American Physicians
1998-1999,      World Federation of Sleep Research
2004-2007       Societies
                1998-1999                                           Member, Scientific Congress Committee,
                                                                    Third International Congress
                2004-2007                                           Member, Board of Directors
1998-1999       Association for Patient-Oriented Research           Member, Board of Trustees
2002            American Society for Photobiology                   Symposium Co-Chair
2007-           Royal College of Physicians, London, U.K.           Honorary Fellow (F.R.C.P.)
2008-           American Clinical and Climatological                Elected as member
                Association
2014-2015       National Sleep Foundation                           Chair, Board of Directors
                                                                    Chair, SAC Subcommittee: Circadian
                                                                    Rhythm Disorders
                                                                    Member, Education Committee
2018-           National Sleep Foundation                           Chair, Sleep Timing and Variability
                                                                    Consensus Panel (STVCP)
Editorial Activities
Ad hoc Reviewer
Sleep
Proceedings of the National Academy of Sciences
Nature and Science of Sleep
Nature
Other Editorial Roles
1979-1980    Guest Editor                                           Sleep
1991-1997    Member, Editorial Board                                Sleep
1995-1999    Member, Editorial Advisory Board                       Journal of Biological Rhythms
1997         Guest Editor                                           Journal of Biological Rhythms
1997-2000    Member, Editorial Board                                Sleep Research Online
1997-2000    Member, Editorial Board                                American Journal of Medicine
2002-        Member, Editorial Board                                Sleep
2009         Member, Editorial Board                                Nature and Science of Sleep
2011         Member, Editorial Board                                Sleep and Biological Rhythms
2012         Member, Advisory Board                                 Sleep and Biological Rhythms
2013-        Member, Editorial Advisory Board                       Journal of Biological Rhythms
2014-        Member, Editorial Board                                Sleep Health

Honors and Prizes
1970        Winner (National Top           Westinghouse Science Talent
            40)                            Search
1970-1971   Honorary Freshman              Harvard College
            Scholarship
1972-1974   Harvard College                Harvard College
            Scholarship
1974-1975   Research Fellowship            Stanford Medical Scientist
                                           Training Program
1975-1981       Pre-doctoral               NIH Medical Scientist Training
                                                        11
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       Appendix A                Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-12 of A-103


               Fellowship                    Program (USPHS)
1981-1983      Josiah Macy
               Fellowship
1982           Harvard Medical
               Society Lecture
1983-1984      Christopher Walker
               Fellowship
1987-1989      Sandoz Scholar in
               Medicine
1988           Elliot David Weitzman         Cornell Medical College,
               Lecture                       Westchester, NY
1989           Distinguished Lecture         Massachusetts Institute of
                                             Technology Lincoln Lab
1990           Election as Fellow            American Society for Clinical
                                             Investigation
1991           Robert R.J. Hilker,
               M.D. Lectureship
               Award in Occupational
               Medicine
1992           Keynote Lecture               International Brain Research
                                             Organization/Swiss chapter,
                                             Zurich
1992           Visiting Professor            Sinai Hospital of Baltimore/Johns
                                             Hopkins University School of
                                             Medicine, Baltimore, Maryland
1996           Plenary Lecture               Japanese Society for Sleep
                                             Research, Sapporo, Japan
1997           Keynote Speaker               Association of Professional Sleep
                                             Societies Annual Meeting, San
                                             Francisco, CA
1997           Election as Member            Association of American
                                             Physicians
1999           Phi Beta Kappa                Harvard College
2000           Keynote Speaker               Northeast Sleep Society
2001           “Aschoff’s Rule”
               International Award in
               Circadian Biology
2002           E.H. Ahrens, Jr.,             Association for Patient Oriented
               Lecture Award                 Research, Baltimore
2002           Keynote Speaker               Society for Research on Biological
                                             Rhythms, Amelia Island, FL
2002           William C. Dement             American Academy of Sleep
               Academic                      Medicine
               Achievement Award
2003           Keynote Speaker               Annual Patient Safety Research
                                             Conference, Agency for
                                             Healthcare Research and Quality,
                                             Washington, DC
2003           Plenary Speaker               World Congress of
                                             Chronobiology, Sapporo, Japan
                                                          12
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       Appendix A                Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM      Page A-13 of A-103


2003           Distinguished Lecturer        Spaulding Rehabilitation Hospital,
                                             Boston, MA
2004           Plenary Speaker               Second International Forum on
                                             Sleep Disorders, Sanofi Aventis,
                                             Paris
2005           Keynote Speaker               Annual Meeting, Committee of
                                             Interns & Residents, Washington,
                                             DC
2005           Gordon Wilson                 American Clinical and
               Lecturer                      Climatological Association, Santa
                                             Barbara, CA
2005           Plenary Address               X International Congress,
                                             Brazilian Sleep Research Society,
                                             Curitiba
2005           Keynote Speaker               New Zealand Resident Doctors
                                             Association Professional
                                             Conference on Safer Working
                                             Hours in Medicine, Auckland,
                                             New Zealand
2005           Visiting Professor of         University of Michigan Health
               Anesthesia and Pfizer         Systems, Ann Arbor, MI
               Lecturer in Sleep
2006           Distinguished Leaders         Faculty of Medicine, Dalhousie
               in Medicine Lecturer          University, Halifax, Nova Scotia
2006           Beckwith Family               Brown University, Providence,
               Lecturer and Beckwith         Rhode Island
               Family Visiting
               Professor of Medicine
2006           Healthy Sleep                 National Sleep Foundation,                    Harvard Work Hours,
               Community Award               Washington, DC                                Health and Safety Group
2006           Director’s Award for          National Institute for Occupational
               Scientific Leadership in      Safety and Health, Washington,
               Occupational Safety           DC
               and Health (1 in nation)
2007           10th Annual J.Gerald          Duke Medical Center, NC
               Reves Duke Heart
               Center Lecture
2007           Dorcas Cummings               72nd Symposium: Clocks and
               Memorial Lecture              Rhythms, Cold Spring Harbor
                                             Laboratory, NY
2007           Lecturer                      NIH Director's Wednesday
                                             Afternoon Lecture Series,
                                             Bethesda MD
2007           Inducted to Honorary          Royal College of Physicians,
               Fellowship (F.R.C.P.)         London, U.K.
2007           Plenary Address               5th Congress of the World
                                             Federation of Sleep Research and
                                             Sleep Medicine Societies,
                                             Worldsleep07, Cairns, Australia
2007           Election as                   International Academy of
                                                           13
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               Corresponding               Astronautics
               Member
2008           Elected as Member           American Clinical and
                                           Climatological Association
2008           Lifetime Achievement        National Sleep Foundation
               Award
2008           Lord Adrian Gold            Royal Society of Medicine,
               Medal                       London, U.K.
2008           Distinguished Scientist     Sleep Research Society
               Award
2010           Keynote Speaker             Medical Scientist Training
                                           Program, Duke University
                                           Medical School
2010           Mark O. Hatfield            American Academy of Sleep
               Public Policy Award         Medicine
2010           Harriet Hardy Award         New England College of
                                           Occupational and Environmental
                                           Medicine (NECOEM)
2010           23rd Annual Catherine       Massachusetts Institute of
               N. Stratton Aging           Technology
               Successfully Lecture
2010           Election as Member          Institute of Medicine of the
                                           National Academies
2010           Election as Full            International Academy of
               Member                      Astronautics
2011           Keynote Speaker             North East Sleep Society Annual
                                           Meeting
2011           Mary A. Carskadon           Sleep Research Society
               Outstanding Educator
               Award
2011           Keynote Speaker             World Association of Sleep
                                           Medicine
2012           Keynote Speaker             Harvard School of Public Health
                                           Symposium “Sleep and Shift
                                           Work: Optimizing Productivity
                                           and Health Management in the
                                           24/7 Global Economy”
2014           Honorary Member             American Academy of Dental
               Keynote Lecture             Sleep Medicine
2014           Golden Mind-Body            University of Buffalo
               Medicine Lecture
2014           JSC Director’s              NASA, Johnson Space Center
               Innovation Award
2015           Elected Inaugural           American Physiological Society
               Fellow
2016           Keynote Speaker             Maryland Sleep Society Seventh
                                           Annual Scientific Meeting
2017           Michael S. Aldrich          University of Michigan
               Commemorative
               Lectureship
                                                            14
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       Appendix A               Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-15 of A-103


2018           Leonore Annenberg            Annenberg Center for Health
               Lecturer                     Sciences at Eisenhower Medical
                                            Center
2018           Keynote Lecture              Zurich Sleep Medicine
                                            Symposium 2018 / International
                                            Symposium of the CRPP Sleep &
                                            Health
2018           Pittendrigh-Aschoff          Society for Research on Biological
               Keynote Lecture              Rhythms (SRBR)
2018           Green Cross for Safety       National Safety Council
               Innovation Award for
               Brigham Health Sleep
               Matters Initiative
2019           Peter C. Farrell Prize in    Harvard Medical School Division
               Sleep Medicine               of Sleep Medicine
2019           J.E. Wallace Sterling        Stanford University School of
               Lifetime Achievement         Medicine Alumni Association
               Award in Medicine
2019           Bernese Sleep Award          University of Bern, Bern,
                                            Switzerland
2022           Tom Roth Lecture of          SLEEP 2022, Charlotte, North
               Excellence                   Carolina

Report of Funded and Unfunded Projects
Funding Information
Past
1977-1979      Psychoneuroendocrine rhythms, aging and sleep disorders
               NIH R01 (National Institute on Aging)
               Project Director
1977-1979      Psychoneuroendocrine rhythms and sleep disorders
               NIH P01 (National Institute of Mental Health)
               Project Director
1979-1981      Psychoneuroendocrine rhythms, aging and sleep disorders
               NIH R01 (National Institute on Aging)
               Co-I: Project Director
1979-1981      Psychoneuroendocrine rhythms and sleep disorders
               NIH P01 (National Institute of Mental Health)
               Co-I: Project Director
1981-1983      Development of method to assess endogenous circadian phase/amplitude
               Peter Bent Brigham Hospital BRSG Grant
               PI
1983-1985      Disrupted sleep in the elderly: circadian etiology
               NIH R01 (National Institute on Aging)
               PI
1983-1984      Continuous vigilance simulator with real-time neuroendocrine correlation
               Air Force Office of Scientific Research; Department of Defense University Research
               Instrumentation Award
               PI
                                                        15
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1983-1984     A chronobiotic study of quazepam
              Schering Plough Pharmaceutical Corporation
              PI
1983-1984     Circadian rhythms and athletic performance
              United States Olympic Committee
              Subcontract PI
1984-1986     The workplace: an opportunity for health promotion
              W.K. Kellogg Foundation
              Executive Officer
1985-1990     Disrupted sleep in the elderly: circadian etiology
              NIH R01 (National Institute on Aging) competitive renewal for grant years 3-7
              PI
1985-1986     Development of a method to assess the period and amplitude of the endogenous circadian
              oscillator
              Brigham and Women’s Hospital BRSG Grant
              PI
1985-1988     Reproductive function in women: circadian interaction
              NIH R01 (NICHHD)
              PI
1986-1987     Brigham and Women’s Hospital BRSG Grant
              PI
1987-1988     Occupational reproductive hazards - rotating shiftwork
              March of Dimes Birth Defect Foundation
              Co-I
1988-1989     Phase response curve to light in human subjects
              Brigham and Women’s Hospital BRSG Grant
              PI
1989-1990     Development program for resetting the human circadian pacemaker
              National Aeronautics & Space Administration
              PI
1989-1994     Treatment of circadian sleep disorders with bright light
              NIH R01 (National Institute of Mental Health)
              PI
1990-1991     Comparative effects of pravastatin and lovastatin on nighttime sleep and daytime
              performance
              Bristol Myers-Squibb Company
              Investigator
1990-1997     Disrupted sleep in the elderly: Response to phototherapy
              NIH R01 (National Institute on Aging) competitive renewal for grant years 8-12
              PI
1991-1993     Pre-launch adaptation of extended duration orbiter crew members to 12-hr shift operations:
              Clinical trial with and without bright light exposure
              National Aeronautics & Space Administration
              PI
1991-1998     Sleep, aging and circadian rhythm disorders
              NIH P01 (National Institute on Aging)
              PI
1994-1995     Feasibility of evaluating effects of exogenous melatonin, delivered by transdermal
              therapeutic systems in chronic insomnia in the elderly
              Alza Corporation
                                                        16
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               PI
1994           Pre-Definition: Clinical trial of melatonin as hypnotic for Neurolab crew
               National Aeronautics & Space Administration
               PI
1994           Antarctic research collaborative on sleep, concentration and fatigue
               National Aeronautics & Space Administration
               PI
1994-1995      Definition Phase: "Clinical trial of melatonin as hypnotic for Neurolab crew"
               National Aeronautics & Space Administration
               PI
1994-1997      Pre-launch adaptation of orbiter crew members to earlier shifts following exposure to a
               single bright light episode
               National Aeronautics & Space Administration
               PI
1994-1997      Effect of exercise on endogenous circadian period, sleep and performance
               Air Force Office of Scientific Research
               PI
1994-2001      Bright light treatment of shift rotation insomnia
               NIH R01 (National Heart, Lung & Blood Institute)
               PI
1995-1999      Clinical trial of melatonin as hypnotic for Neurolab crew (ground-based study program in
               support of Neurolab mission)
               NIH U01 (National Institute on Aging)
               PI
1995-2000      Clinical trial of the effect of caffeine on the circadian and homeostatic interaction
               underlying deterioration of neurobehavioral functioning with sleep deprivation
               Air Force Office of Scientific Research; Partnership in Research Excellence & Transition
               Subcontract PI
1995-2000      Flight-Based Protocol Aboard Neurolab Space Shuttle: Clinical trial of melatonin as
               hypnotic for Neurolab crew
               National Aeronautics & Space Administration
               PI
1995-2001      Treatment of circadian sleep disorders with bright light
               NIH R01 (National Institute of Mental Health) competitive renewal for grant years 6-10
               PI
1996           Double-blind, placebo-controlled study to determine the effect of MK-0677 on sleep in
               elderly patients with sleep disturbances
               Merck Research Laboratories
               PI
1996-1997      A double-blind, placebo-controlled study to determine the effect of L-754,030 on light-
               induced melatonin suppression in healthy young men
               Merck Research Laboratories
               PI
1997-1999      Clinical trial of the effect of exercise on resetting of the endogenous circadian pacemaker
               Air Force Office of Scientific Research
               PI
1997-2000      Human Performance Factors, Sleep and Chronobiology Team
               National Space Biomedical Research Institute
               Team Leader
1997-2000      Circadian entrainment, sleep-wake regulation and neurobehavioral performance during
                                                           17
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               extended duration space flight
               National Space Biomedical Research Institute
               PI
1997-2001      Evaluation of intermittent bright light exposure as a spaceflight countermeasure
               National Aeronautics & Space Administration
               PI
1998-2003      Training in sleep, circadian and respiratory neurobiology
               NIH T32 (National Heart, Lung & Blood Institute)
               PI
1998-2005      Disrupted sleep in the elderly: Response to phototherapy
               NIH R01 (National Institute on Aging) competitive renewal for grant years 13-17
               PI until 2001; Investigator thereafter
1999-2000      Polysomnographic Study
               Merck Research Laboratories
               PI
1999-2000      Multi-site investigation of provigil (modafinil) treatment for performance impairing
               sleepiness associated with night shift work
               Cephalon Laboratories
               PI
1999-2000      Astronaut activity in space flight
               National Aeronautics & Space Administration
               PI
1999-2002      Circadian adaptation to night work in older people
               NIH R01 (National Heart, Lung & Blood Institute - National Occupational Research
               Initiative)
               PI
1999-2006      Sleep, aging and circadian rhythm disorders
               NIH P01 (National Institute on Aging) competitive renewal for grant years 6-10
               PI
2000           Clinical trial of the effect of exercise on resetting of the endogenous circadian pacemaker
               Air Force Office of Scientific Research
               PI
2000-2004      Circadian entrainment, sleep-wake regulation and performance during space flight
               National Space Biomedical Research Institute competitive renewal for grant years 4-6
               PI
2000-2004      Human Performance Factors, Sleep and Chronobiology Team
               National Space Biomedical Research Institute competitive renewal for grant years 4-6
               Team Leader
2000-2005      Clinical trial of the effect of modafinil on the circadian and homeostatic interaction
               underlying the deterioration of neurobehavioral functioning during jet lag and sleep
               deprivation
               Air Force Office of Scientific Research Partnership in Research Excellence & Transition
               competitive renewal for grant years 6-10
               Subcontract PI
2001-2002      A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
               Safety and Impact on Quality of Life of 12 Weeks of PROVIGIL® (Modafinil) Therapy at
               Dosages of 200 and 300 mg Once Daily as Treatment for Adults With Excessive
               Sleepiness Associated With Shift Work Sleep Disorder, Followed by a 12-Month Open-
               Label Extension Period
               Cephalon, Inc.
                                                          18
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              PI
2001-2003     A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
              Efficacy and Safety of 12 Weeks of PROVIGIL® (Modafinil) Therapy at a Dose of 200
              mg as Treatment for Adults With Excessive Sleepiness Associated With Chronic Shift
              Work Sleep Disorder, Followed by a 12-Month Open-Label Extension Period
              Cephalon, Inc.
              PI
2001-2004     Effects of extended work hours on ICU patient safety
              DHHS R01 (Agency for Healthcare Research and Quality)
              PI
2001-2005     After-effects of entrainment on human circadian period
              NIH R01 (National Institute of Neurological Disorders and Stroke)
              PI
2001-2006     Treatment of circadian sleep disorders with bright light
              NIH R01 (National Institute of Mental Health) competitive renewal for grant years 11-15
              PI
2001-2006     Effects of Extended Work Hours on Intern Health & Safety
              CDC R01 (National Institute of Occupational Safety and Health)
              PI
2001-2007     Circadian adaptation to non-24-hour sleep-wake schedules
              NIH R01 (National Institute of Neurological Disorders and Stroke)
              PI
2001-2008     Bright light treatment of shift rotation insomnia
              NIH R01 (National Heart, Lung & Blood Institute) competitive renewal for grant years 6-9
              PI
2002-2003     Pfizer, Inc.
              PI
2004-2005     A Randomized, Double-Blind, Placebo-Controlled, Parallel-Group Study to Evaluate the
              Efficacy and Safety of 12 Weeks of R-Modafinil Therapy at a Dose of 200 mg as
              Treatment for Adults With Excessive Sleepiness Associated With Chronic Shift Work
              Sleep Disorder, Followed by a 12-Month Open-Label Extension Period
              Cephalon, Inc.
              PI
2004-2008     Human Performance Factors, Sleep and Chronobiology Team
              National Space Biomedical Research Institute competitive renewal for grant years 7-10
              Team Leader
2004-2008     Circadian entrainment, sleep-wake regulation and performance during space flight
              National Space Biomedical Research Institute competitive renewal for grant years 7-10
              PI
2004-2008     Sleep Disorders Management, Health and Safety in Police
              CDC R01 (National Institute of Occupational Safety and Health)
              PI
2004-2009     Adaptation of Circadian Responses to Light Treatment
              NIH R01 (National Heart, Lung & Blood Institute)
              PI
2005-2006     Optimizing the assessment of circadian and sleep/wake regulatory determinants of human
              performance through state of the art analysis of electroencephalogram, ocular activity and
              motor activity
              AFOSR (DURIP)
              PI
                                                         19
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2005-2007      Implementing reduced work hours for all ICU staff to improve patient safety
               NIH (Agency for Healthcare Research and Quality)
               Investigator
2005-2008      Melatonin supplementation in hypertensive patients with beta blockers
               NIH (National Center for Complementary and Alternative Medicine)
               Co-I
2005-2009      Testing the Effectiveness of a Comprehensive Fatigue Management for the Boston Police
               Department of Justice (National Institute of Justice)
               PI
2006-2008      Interaction of chronic sleep restriction and circadian misalignment on sleep and neuron-
               cognitive performance: developing a new model of sleep homeostasis
               AFOSR
               PI
2007-2008      Translating the science of alertness and performance from laboratory to field: Using state-
               of-the-art monitoring, imaging, and performance enhancement technologies to improve the
               alertness and safety of the military and civilian workforce
               AFOSR (DURIP)
               PI
2008           Procedural Complications Associated with Attending Physician Extended-Duration Work
               Shifts
               RxFoundation
               Investigator
2003-2008      Training in sleep, circadian and respiratory neurobiology
               NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
               Competitive renewal for grant years 6-10
               PI ($2,536,335)
               THE NHLBI’s National Center for Sleep Disorders Research identified the need to train
               investigators as its highest priority. The Harvard Medical School Division of Sleep
               Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
               at the Brigham and Women’s Hospital, is designed to address this need. This program
               provides structured, comprehensive research training to prepare outstanding individuals for
               academic positions in the broad field of sleep science and sleep medicine.
2004-2009      Mechanism Underlying the Effects of Blue Light in Humans
               NIH (National Center for Complementary and Alternative Medicine) R01 AT002129 (PI:
               Lockley)
               Investigator (PI until 2005)
               The goal of this proposal is to investigate the effects of different colors of light on human
               physiology, and in particular, test the claims that specific colors of light preferentially
               stimulate neurobiological, physiological and endocrinological systems. Using classical
               photobiological techniques, we will construct action spectra for the effects of different
               colors of light on a range of non-image forming responses in humans.
2005-2009      Disrupted sleep in the elderly: Response to phototherapy
               NIH R01 (National Institute on Aging) R01 AG06072
               competitive renewal for grant years 18-22
               Investigator
               The goals of this grant are to test an evening light treatment regimen designed to achieve
               an optimum phase relationship between sleep and the output of the circadian timing system
               in older people in order to improve objective and subjective sleep quality.
2008-2009      Effects of Acute Sleep Deprivation on Visual attention and Gaze Control
               National Space Biomedical Research Institute HPF00003
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              PI ($79,233)
              The fundamental objective of this study is to identify the determinants (behavioral,
              visuomotor, microsleep-induced) of performance lapses (during the psychomotor vigilance
              task, PVT) under acute sleep deprivation, and to quantify whether those determinants
              change with circadian phase and/or homeostatic sleep pressure.
2005-2010     Photic and nonphotic input to the human circadian system
              NIH (National Institute of Neurological Disorders and Stroke) R01 NS040982 (PI:
              Lockley)
              Competitive renewal for grant years 5-8
              Investigator
              We are testing the hypotheses that: Study 1) exposure to monochromatic light of 460 nm
              for 6.5 h in the early biological night will cause a 3 h delay in circadian phase and a 85%
              suppression in pineal melatonin production whereas exposure to the same photon density
              of 555 nm will have no effect on circadian phase or melatonin suppression (compared to
              1.7 h delay and 37% suppression in sighted subjects); Study 2) Exposure to a non-photic
              schedule advanced by 0.4 h relative to baseline intrinsic period will cause a phase advance
              of period of 0.4 h.
2007-2010     Evaluation of the potential for translation to practice of a sleep disorders management
              program for police
              CDC (National Institute of Occupational Safety and Health) R01OH009403
              PI ($150,847)
              We propose (1) to evaluate the potential for translation of the Operation Healthy Sleep
              program though the RE-AIM (Reach, Effectiveness, Adoption, Implementation, and
              Maintenance) framework to health behavior interventions; (2) to evaluate the cost,
              feasibility and sustainability of the Operation Health Sleep program through cost-benefit
              analysis; and (3) to evaluate the external validity of the Operation Healthy Sleep program
              by comparing health, safety and productivity outcomes obtained from the primary police
              sample (Massachusetts State Police) with those obtained from a parallel program in the
              Philadelphia Police Department and a nationwide sample of more than 4000 police officers
              participating in a web-based survey.
2009-2010     Operational evaluation of a photic countermeasure to improve alertness, performance, and
              mood during nightshift work on a 105-day simulated human exploration mission
              National Space Biomedical Research Institute HFP00002
              PI ($221,235)
              The purpose of this study is to validate the efficacy and operational feasibility of a photic
              countermeasure to facilitate adaptation to the 24.65-h Martian sol, thereby improving sleep
              and performance. We propose to address the following hypotheses: (1) afternoon and
              evening exposure to moderately bright light will establish a normal entrained circadian
              phase in subjects living on a 24.65-hour day; (2) afternoon and evening exposure to
              moderately bright light will result in improved sleep, enhanced alertness and mood; (3)
              afternoon and evening exposure to moderately bright light will maintain the
              neurobehavioral performance of crewmembers living on the Martian sol.
2009-2010     Operational evaluation of a photic countermeasure to improve alertness, performance, and
              mood during nightshift work on a 105-day simulated human exploration mission
              National Space Biomedical Research Institute HFP00002
              PI ($221,235)
              The purpose of this study is to validate the efficacy and operational feasibility of a photic
              countermeasure to facilitate adaptation to the 24.65-h Martian sol, thereby improving sleep
              and performance. We propose to address the following hypotheses: (1) afternoon and
              evening exposure to moderately bright light will establish a normal entrained circadian
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              phase in subjects living on a 24.65-hour day; (2) afternoon and evening exposure to
              moderately bright light will result in improved sleep, enhanced alertness and mood; (3)
              afternoon and evening exposure to moderately bright light will maintain the
              neurobehavioral performance of crewmembers living on the Martian sol.
2006-2011     Treatment of circadian sleep disorders with bright light
              NIH (National Institute of Mental Health) R01 MH045130
              Competitive renewal for grant years 16-20
              PI ($1,139,040)
              In this study we would systematically assess the circadian phase-shifting, melatonin
              suppressing, and alertness-enhancing response to a monochromatic light stimulus, using a
              wavelength (460 nm) that has been shown to maximally stimulate the circadian system.
2008-2011     A Comprehensive Firefighter Fatigue Management Program ‘Operation Healthy Sleep’
              Department of Homeland Security FEMA EMW-2007-FP-02197
              PI ($793,651)
              We propose to use a station-level, randomized experimental design to test the hypotheses
              that implementation of a Comprehensive Firefighter Fatigue Management Program will:
              (1) improve the mean total sleep, alertness and cognitive performance of firefighters; (2)
              improve firefighter safety, as determined by decreased rates of motor vehicle crashes and
              on-the-job injuries; (3) improve firefighters’ performance, as determined by decreased
              response time; (4) improve firefighters’ health, as determined by diagnosis and treatment
              of sleep disorders, improved general health indices and decreased number of ‘sick’ days;
              (5) improve firefighters’ and families’ job satisfaction and ability to cope with extended
              work hours.
2009-2012     Effects of the circadian clock and light on the production of estrogens
              NIH R21ES017112 (PI: Lockley)
              Investigator
              In the current proposal, we would like to take advantage of remaining urine and plasma
              samples collected under previous federal funds (NIH/NASA). We have a unique
              opportunity to study the relationships between light, circadian rhythms, shiftwork and
              melatonin and estrogen endocrinology from $1M-worth of prior research conducted under
              strictly controlled laboratory conditions. These data will allow us to test the specific
              hypotheses that; i) there are significant 24-hour diurnal and circadian rhythms in plasma
              estradiol and urinary estrone-3-glucuronide production; and ii) that these rhythms are
              inversely related to plasma melatonin and urinary 6-sulfatoxymelatonin, respectively; iii)
              plasma estradiol will be acutely elevated following suppression of plasma melatonin; and
              iv) that the circadian rhythm of estradiol will phase-shift in parallel with the melatonin
              rhythm during a simulated shift-work protocol.
2004-2011     Adaptation of circadian responses to light treatment (supplement)
              NIH R01 HL077453-05
              PI ($787,401)
              The primary aim is to study a fundamental property of the circadian pacemaker, which is
              the ability of photic history to change the efficacy of light stimuli in modulating circadian
              regulation. The study may reveal a new method to potentiate light therapy in the treatment
              of circadian rhythm disturbances.
2008-2012     Evaluation of Photic Countermeasures for Circadian Entrainment of Neurobehavioral
              Performance and Sleep-Wake Regulation Before and During Spaceflight
              National Space Biomedical Research Institute HFP01601
              PI ($1,428,571)
              This project will test the efficacy of exposure to blue-enriched light at a standard intensity
              for pre-launch and in-flight phase shifting.
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2009-2012     Interactions of genetics, behavioral sleep loss, circadian rhythms & performance
              NIH (National Institute on Aging) SupplementP01 AG09975-S2
              PI ($499,804)
              We propose to study 6 healthy individuals with the PER34/4 genotype and 6 with the
              PER35/5 genotype. The protocol will include a 23-day inpatient stay with 2 weeks of
              chronic sleep restriction in a forced desynchrony procedure, which will enable us to
              investigate both the circadian and wake-dependent contributions to alertness and
              performance, followed by one 40-hr sleep deprivation, which will enable us to investigate
              the response to an episode of acute sleep deprivation following chronic sleep restriction.
              We will record sleep and waking EEG, and test for multiple aspects of cognitive
              functioning, alertness and mood.
2009-2012     National firefighter sleep disorders management program: translation to practice
              Department of Homeland Security FEMA TBAEMW-2008-FP-02566
              PI ($787,721)
              Work hours, fatigue, performance, health and safety in firefighters; screening for sleep
              disorders and referral for treatment.
2010-2012     A comprehensive review of the work hours, health and safety of Federal Air Marshals
              FAMS
              PI ($354,330; NCE)
              The goal of this program is to reduce the adverse consequences of fatigue on the Air
              Marshals’ health, safety and performance. The overall goal will be to develop work-hour
              policies and guidelines, and education and training program and an efficient sleep
              disorders screening program that can be implemented to improve the health, safety and
              performance of Federal Air Marshals and thereby improve public safety nationally.
2006-2013     Sleep, aging and circadian rhythm disorders
              NIH P01 (National Institute on Aging) P01 AG09975
              Competitive renewal for grant years 11-15
              PI ($1,056,303; NCE)
              This proposal seeks to address that gap in our knowledge by using a well-established
              laboratory model to study what differences may exist between the sleep efficiency of older
              and younger subjects under conditions of chronic sleep restriction (ratio 19 hours
              scheduled wake: 5 hours scheduled sleep), carried out on a forced-desynchrony protocol,
              and by assessing the recuperative capabilities under conditions of sleep extension
              following this restriction. A ‘metabolic aging’ experiment has been included with the goal
              of understanding the endocrine and cardiovascular consequences of sleep restriction in
              both young and older subjects.
2009-2013     Validation of assessment tests and countermeasures for detecting and mitigating changes in
              cognitive function during robotics operations
              National Space Biomedical Research Institute NBPF02001 (PI: Lockley)
              Investigator
              We will test the effectiveness of blue-enriched light and/or caffeine as fatigue
              countermeasures during robotic and cognitive performance. Subjects will be exposed to
              short-wavelength enriched white light and/or continuous low-dose caffeine administration
              on the robotics performance days in a randomized, placebo-controlled within-subjects
              design
2008-2013     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 11-15
              PI
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
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              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.
2007-2014     Desensitization of Circadian Responses to Light
              NIH (National Institute of Neurological Disorders and Stroke) R01 NS054277
              PI ($1,000,000; NCE)
              The proposed experimental and modeling efforts are to quantify the influences of acute
              sleep deprivation (short-term homeostatic), chronic sleep restriction (long-term
              homeostatic), circadian rhythmicity, and their interactions on neurocognitive performance
              and to develop a new model of sleep homeostasis that can predict the effects of chronic
              sleep restriction.
2009-2014     Efficacy of melatonin treatment in a phase advance model of insomnia
              NIH 1R01HL093279
              PI ($1,250,000)
              We propose to test the chronobiotic and sleep promoting effects of melatonin in a phase
              advance model of insomnia: (1.) Test the hypothesis that melatonin administered prior to
              scheduled sleep will advance circadian phase, with the plasma cortisol rhythm used as the
              primary phase marker, in a dose-dependent manner when sleep is scheduled to occur 5
              hours before habitual sleep time; (2.) Test the hypothesis that melatonin administered prior
              to scheduled sleep will increase sleep efficiency when sleep is scheduled to occur 5 hours
              before habitual sleep time.
2013-2014     Development of an Algorithm for Identifying Individuals who are Highly Vulnerable vs
              Highly Resistant to the Effects of Sleep Loss on Performance
              DARPA
              PI
              This project seeks to develop measures to predict individual variability in response to acute
              and chronic sleep loss. We will analyze existing data from baseline rested performance
              tests in an attempt to derive measures that can predict subsequent response to acute sleep
              loss or chronic sleep restriction.
2013-2014     Sleep duration required to restore performance during chronic sleep restriction
              NIH/NHLBI R01 HL114088 (PI: Klerman)
              Investigator
              To quantify to what extent the initial level and time course of dissipation of sleep inertia,
              the level of performance for hours 2-6 after awakening, and the rate of decline in
              performance with increased wake duration after 6 hours awake depend on the length of the
              prior sleep episode in addition to sleep:wake ratio and circadian phase.
2011-2014     Clinical trial of an intervention to reduce fatigue and improve safety and health in
              firefighters
              FEMA EMW-2010-FP-00521
              PI
              We propose to conduct a station-level, randomized clinical trial of policies designed to
              maximize sleep opportunities during current 24-hour shifts to improve alertness,
              performance, health and safety in firefighters.
2010-2014     Evaluation of a photic countermeasure for mission controllers
              NASA NNX10AF47G
              Co-PI ($481,181)
              We propose to implement a Comprehensive Fatigue Management Program for the flight
              mission controllers program. The goals of this program are to reduce the adverse
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              consequences of fatigue on the mission controllers’ alertness, performance, health, and
              safety. The overall goals of our team include developing an online education training
              program and an efficient sleep disorders screening, evaluating the acceptability, feasibility
              and efficacy of a shorter wavelength photic countermeasure during operational night shifts
              to improve the alertness, performance, health and safety of mission controllers.
2009-2015     Effects of attending surgeon and obstetrician fatigue on operating room safety
              NIH/NHLBI R01 HL095472
              PI ($1,000,000)
              In this proposal we will conduct a prospective observational study in the operating rooms
              of two hospitals – a community hospital without resident-physicians, and an academic
              center where residents work as assistant surgeons – to evaluate the effects of sleep
              deprivation on the performance of attending surgeons and obstetrician / gynecologists.
2009-2015     Mechanisms underlying adverse health consequences of shift work
              NIH R01HL094806 (PI: Scheer)
              Investigator
              We aim to determine the progressive physiological changes across a work week of realistic
              simulated shift work focusing on those metabolic, endocrine, inflammatory, and
              cardiovascular variables that are biomarkers of susceptibility to the development of
              diabetes, obesity, and cardiovascular disease. We will use a 14 day/night laboratory
              protocol involving a within-subject, randomized, cross-over design including a simulated
              night shift and day shift schedule using a formal battery of scheduled behaviors and light
              exposures in healthy day workers and shift workers.
2012-2015     Screening for Obstructive Sleep Apnea in National Football League Players
              NFL Charities G.A.M.S. ID 839
              PI ($100,000)
              This project will establish an NFL-wide system of identifying those at high risk of OSA
              and further evaluating those at high risk. The project will also establish a critical database
              that could guide team physicians on the diagnosis and management of OSA among NFL
              players. This will lead to improved cognitive and psychomotor performance in the short-
              term and reduced cardiometabolic risk in the long-term. The project also has the potential
              to raise awareness of the negative cardiovascular-related risks associated with OSA, a
              disease that is highly prevalent in our society at large. The increased awareness and
              involvement of NFL players in the project may motivate the general public to seek
              screening, evaluation and treatment, if necessary, which has the potential to substantially
              reduce morbidity and mortality due to CVD.
2012-2015     The ISS Dynamic Lighting Schedule: An In-Flight Lighting Countermeasure to Facilitate
              Circadian Adaptation, Improve Sleep and Enhance Alertness and Performance on the
              International Space Station
              NSBRI HFP02801(PI: Lockley)
              To study how new lighting would be used operationally to provide a countermeasure to
              shiftwork in a high-fidelity simulation of the ISS lighting environment and sleep patterns.
              Co-Investigator
2001-2017     Flight-Based Protocol Aboard Space Shuttle: “Sleep-Wake Actigraphy and Light Exposure
              During Spaceflight
              NASA NCC9-119
              PI ($1,340,327)
              This project is designed to investigate sleep and circadian rhythm organization and the
              prevalence of space flight-induced insomnia, during short and long-duration space flight.
              This experiment will use state-of-the-art ambulatory technology to monitor sleep-wake
              activity patterns and light exposure in all crewmembers aboard Space Shuttle and
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              International Space Station missions.
2010-2016     Sensitization of human circadian responses to light
              NIH/NHLBI R01 HL94654
              PI
              The studies will examine the effect on the human circadian system of four different
              durations of dim-light sensitization prior to a standardized light treatment.
2012-2016     Ultra-short light pulses as efficient countermeasures for circadian misalignment and
              objective performance and subjective alertness decrements
              NSBRI HFP02802 (PI: Klerman)
              Investigator
              The goal of this project is to explore sex differences in response to circadian and length of
              time awake factors on sleep and performance.
2012-2016     Sleep Duration Required to Restore Performance During Chronic Sleep Restriction
              NIH/NHLBI R01 HL114088 (PI: Klerman)
              Investigator
              The goal of this project is to explore sex differences in response to circadian and length of
              time awake factors on sleep and performance.
2016-2017     Ambulance Crashes in the United States: 2000 – 2015.
              Falck Foundation (PI: Czeisler)
              The goal of this grant is to determine the incidence of ambulance crashes in the Unites
              States over the past 15 years. Report temporal trends in both fatal and non-fatal crashes and
              use multiple sources of data to describe characteristics of these crashes. We will also
              estimate the proportion of crashes where fatigue may have been a contributing factor.
2016-2017     Environmental Factors Associated with Sleep Deficiency during Spaceflight
              NSBRI HFP04502 (PI: Barger)
              Investigator
              The major goals of this project are to test the hypotheses that (1) hypoxia will be
              associated with sleep deficiency; (2) increased noise will be associated with sleep
              deficiency; and (3) hypercapnia will be associated with sleep deficiency.
2016-2017     The Impact of Objectively Measured Sleep Deficiency and Circadian Misalignment on
              Performance during Spaceflight
              NSBRI HFP04504 (PI: Barger)
              Investigator
              The major goal of this project is to test the hypothesis that sleep deficiency and circadian
              misalignment will be associated with performance decrements during spaceflight.
2013-2018     Impact of Eliminating Extended Duration Work Shifts on Resident Health and Safety
              CDC/NIOSH R01 OH0103001 (PI: Barger)
              Investigator
              We propose to conduct a large-scale nationwide survey of interns, similar to that which we
              conducted from 2002 – 2007. We will collect work hours and sleep data as well as health
              and safety outcomes on monthly web-based surveys.

2013-2018     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 16-21
              PI
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
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              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.

2013-2019     Treatment of Circadian Disruption from Shiftwork in Older Adults
              NIH/NIA R01 AG044416 (PI: Duffy)
              Investigator
              Our proposed study will test in older workers a sleep timing and enhanced lighting
              regimen that has been successful in allowing young workers to maintain optimal
              performance at night. Information from this study will be an important step in developing
              shift work treatments for the nearly 3 million older Americans who work night or rotating
              shift schedules.

2013-2018     Multi-Scale Modeling of Sleep Behaviors in Social Networks
              NIH/NIGMS R01 GM105018
              Co-PI (Co-PI: Klerman)
              The purpose of this grant is to explore sleep behaviors and social networks in a college
              population. Using multi-modal data from different cohorts of undergraduates, we will
              develop the first statistical and multi-scale mathematical models of sleep dynamics within
              social networks based on sleep and circadian physiology.

2015-2019     Clinical Trial Evaluating the Impact of Sleep and Sleep Deprivation on the Cerebral
              Glymphatic System
              ONR/N00014-15-1-2408
              PI
              The goals of this project are to test the hypothesis that the volume of Virchow-Robin
              spaces (VRs) is larger during sleep than during wakefulness; to test the hypothesis that the
              alteration of nonREM and REM states during sleep is associated with changes in the
              volume of VRs; to test the hypothesis that the volume of VRs is greater during deep
              nonREM sleep (N3) than during lighter nonREM sleep (N2) and to test the hypothesis that
              the volume of VRs is altered by prolonged wakefulness (sleep deprivation).

2012-2020     Multicenter trial of work-hour limits for PGY 2 & 3 resident work hours on patient safety
              CCC
              NIH/NHLBI U01 HL111478
              Co-PI ($8,249,567)
              We propose to carry out a randomized study in six intensive care units nationwide that will
              test whether a scientifically-founded intervention schedule that: 1) limits second and third
              year resident physicians to 16 consecutive hours of work; 2) promotes sleep; and 3)
              minimizes chronic sleep restriction, will result in: a decrease in preventable injuries to
              patients, a decrease in the risk that resident physicians will suffer motor vehicle crashes,
              increased resident sleep, and increased resident vigilance.

2018-2020     CTA: Open-label Clinical Trial to evaluate the Efficacy of Sodium Oxybate (Xyrem) in the
              Treatment of two Under-recognized Clinical Conditions: Post-traumatic Narcolepsy and
              Post-traumatic Hypersomnia.
              Jazz Pharmaceuticals, Inc.
              PI

2013-2021     Sleep, Aging, and Circadian Rhythm Disorders
              NIH/NIA P01 AG009975
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              Role: PI/PD (Principal Investigator/Program Director)
              The central theme of this project is to differentiate the consequences of circadian
              disruption (while minimizing sleep loss) and sleep deficiency (while minimizing circadian
              disruption) on glucose regulation.

2014-2020     Development of Countermeasures Against Adverse Metabolic Effects of Shift Work
              NIH/NHLBI R01 HL118601(PI: Scheer)
              Role: Investigator
              The goal of this application is to test whether manipulating the timing of food intake
              prevents the adverse metabolic effects of circadian misalignment, and whether
              desynchrony between the central circadian pacemaker and the behavioral cycle leads to
              internal desynchrony in humans.

2014-2019     Development and Testing of Biomarkers to Determine Individual Astronauts’
              Vulnerabilities to Behavioral Health Disruptions
              NNX14AK53G (PI: Lockley)
              Role: Investigator
              This study will evaluate biomarkers that will test the sensitivity of various sleep and
              circadian challenges to differentiate individuals

2015-2020     Lighting Protocols for Exploration - HERA Campaign
              NASA/NNX15AM28G (PI: Lockley)
              Role: Investigator
              The major goals of this project are to evaluate the efficacy of a combined countermeasure
              of light and exercise on alertness and performance.

2014-2021     Testing solid state lighting countermeasures to improve circadian adaptation, sleep, and
              performance during high fidelity analog and flight studies for the International Space
              Station
              Thomas Jefferson University/NNX15AC14G (PI: Lockley)
              Role: Investigator
              The major goals of this project are to complete final ground-testing required before
              replacement of the current fluorescent General Luminaire Assemblies (GLA) with solid
              state (LED) lighting on the International Space Station, and to conduct the first flight
              studies to examine the operational impact of the new LED lighting to facilitate rapid
              circadian rhythm resetting, and improve alertness and sleep during missions.

2016-2021     Circadian Lipidomics in Constant Routine, Forced Desynchrony, and Non-lab Setting
              NIH/NHLBI 5R01HL132556 (PI: Kristal)
              Role: Investigator
              The major goals of this project are to identify, optimize, validate, and to cross-validate a
              set of nested plasma lipidomics-based biomarker profiles that report circadian phase and
              alignment using well-characterized samples drawn from three constant routine protocols
              and four forced desynchrony protocols.

2016-2021     The Role of Circadian Periodicity in Human Cardiovascular Disease and Diabetes
              NIH/NHLBI 5R01HL103607-05A1 (PI: Forman)
              Role: Investigator
              The major goals of this project are to examine the effects of melatonin supplementation on
              insulin sensitivity using a hypersulinemic euglycemic clamp and β-islet cell function
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              measured using a hyperglycemic clamp. We will also evaluate the effects of
              supplementation on HbA1c as a secondary analysis
              Role: Co-I

2017-2021     CTA: Effect of Dupilumab on Sleep Apnea Severity in Patients with Chronic
              Rhinosinusitis. (PI: Wellman, D. Andrew) Regeneron Pharmaceuticals, Inc.
              Role: Co-I
Current
2018-2023     Training in sleep, circadian and respiratory neurobiology
              NIH T32 (National Heart, Lung & Blood Institute) 1 T32 HL07901
              Competitive renewal for grant years 21-25
              Role: Program Director
              The NHLBI’s National Center for Sleep Disorders Research identified the need to train
              investigators as its highest priority. The Harvard Medical School Division of Sleep
              Medicine Program for Training in Sleep, Circadian and Respiratory Neurobiology, based
              at the Brigham and Women’s Hospital, is designed to address this need. This program
              provides structured, comprehensive research training to prepare outstanding individuals for
              academic positions in the broad field of sleep science and sleep medicine.

2019-2023     Impact of Lifting Work Hour Restrictions on First-Year Resident Safety, Health and Well-
              Being. R01OH011773 (Barger, Laura) 09/1/19-08/31/23 Centers for Disease Control
              (CDC) The study could have important public policy implications related to the health and
              safety of the more than 116,000 medical and surgical residents, who are the principal
              providers of medical care in academic medical centers throughout the United States. (PI:
              Barger LK)
              Role: CoI

2019-2023     Clinical Trial—FAA Sleep Deprivation Study for Aviation Research: Comparison across
              multiple types of sleep deprivation. Contract 6973GH-19-D-00066 from Solicitation
              6973GH-19-R-00147 ($5,654,163.32) Federal Aviation Administration Aeronautical
              Center. The goals of this contract are: (i) To assess gene expression changes associated
              with reduced and mistimed sleep.; (ii) To explore the relationship between gene expression
              and neurobehavioral changes from reduced and mistimed sleep; (iii) To enhance general
              understanding of changes during reduced and mistimed sleep; and (iv)To analyze the
              concordance of sleep and circadian rhythm-related genetic variants with this study’s
              results. (M-PIs: Klerman EB and Czeisler CA)I
              Role: M-PI

2019-2023     CTA: Sleep Training Plan to Improve Individual Sleep, Health and Safety. The major
              goals of this project are to use personalized sleep app (Dayzz) to develop sleep training
              plans, improve participants’ sleep and reduce overall healthcare costs. Dayzz Live Well
              Ltd. PI: Barger LK.
              Role: Co-I

              Role: PI (Principal Investigator)

Report of Local Teaching and Training
Teaching of Students in Courses
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Albert Einstein College of Medicine, Bronx, NY
1976-1977     Biological Rhythms in Man                           Department of Neuroscience
              ~15 medical students                                Co-organizer and lecturer ; ~55 hours
1978          Neuroscience Course
              ~150 medical students                               Guest lecturer ; ~3 hours
Fordham University, Graduate School of Arts and Sciences, Bronx, NY
1978       Biology 69302: Introduction to Circadian
           Oscillations in Biologic Systems
           ~30 graduate/undergraduate students         Course Developer/instructor; ~75 hours
Stanford University, Stanford, CA
1979         Stanford Medical School: Fiscal and
             Ideological Crisis. Stanford Workshop on
             Political and Social Issues
             ~75 undergraduate & medical students                 Co-developer/instructor ~70 hours
1979         Psychiatry 235: Clinical and Experimental
             Polysomnography
             30 undergraduates                                    Guest Lecturer; ~3 hours
Harvard College, Cambridge, MA
1982-1996    Molecular & Cellular Biology 286:
             Biological Oscillations & Circadian Clocks
             1982-1990; alternate yrs Faculty                     ~40 hours/year
                 15-20 undergraduates per year
             1992-1996; alternate yrs Co-Organizer/               ~85 hr/year
                 Faculty
             ~30 students/year
1983-1984, Adams House 116: Biological Clocks in
1989         Man
             Undergraduate House Seminar Course                   ~60 hours/year
             Developer and Teacher
             15-20 undergraduates per year
1986-1987    Adams House 118: AIDS and Public Policy
             Undergraduate House Seminar Course                   ~60 hours
             Developer and Teacher
             ~18 undergraduates
1988         North House 120: AIDS: Emerging Ethical
             and Policy Dilemmas
             Undergraduate House Seminar Course                   ~50 hours
             Developer and Teacher
             ~25 undergraduates
1988         AIDS Education and Outreach Student
             Counselor Training Program
             Group advisor and training session speaker
1988         “Circadian rhythms and entrainment:                  North House Seminar
             endocrine aspects”                                   Guest lecturer
1996-2020    Molecular & Cellular Biology 186:
             Circadian Biology: From Cellular
             Oscillators to Sleep Regulation
             Co-Organizer/Faculty (1996-2010);                    ~70 hours/year
                                                    30
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               Director (2011-)
               50-110 undergraduates per year
2003           Harvard Alumni Association, Alumni
               College
               Lecturer                                             ~5 hours
               200-300 alumni
2016-2019      Freshman Seminar FRSEM 22D Time for
               Sleep
               Director/Faculty                                     ~90 hours per year
               15 undergraduates per year

2018-2020      Molecular & Cellular Biology 186
               (MCB186): Sleep and Circadian Clocks:
               From Biology to Public Health
               Director (2018-)                                     ~70 hours/year
               50-115 undergraduates per year

2019-2023      General Education 1038 (GenEd 1038):
               Sleep
               Course Director                                      ~120 hours/year
               801 undergraduates per year

Harvard Medical School, Boston, MA
1976       Weekly Research Seminar Series                           Department of Physiology
           10-15 graduate students                                  Lecturer; ~5 hours
1982       Harvard Medical Society
           150 medical students                                     Lecturer on human circadian physiology; ~5
                                                                    hours
1979-1991,     Physiology 225: Physiological Timing
1995           Systems
               15-20 medical students, graduate students            ~35 hours/year (as instructor 1979-1991)
               and undergraduates per year                          ~75 hour/year (as co-organizer 1995)
1995-1998      Neurobiology 337: Neurobiology of the
               Human Circadian Pacemaker
               Faculty doctoral thesis advisor, Program in          60-80 hours/year
               Neuroscience, 1 doctoral student
1996-2002      Continuing Education 61212: Diagnosis
               and Treatment of Sleep Disorders
               60-70 postgraduate students/year                     ~45 hours/year (as Co-director)
                                                                    ~12 hours/year as organizing committee
                                                                    member and faculty
                                                                    ~6 hours/year as faculty member
2000-2003      Scholars in Clinical Science: Tools of
               Physiologic Investigation
               ~20 graduate students                                8 hours
Harvard University Extension School, Cambridge, MA
2008        The Physiology of Sleep (BIOS E-210)
            Invited Guest Lecture, ~20 students                     ~5hours

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Harvard School of Public Health, Boston, MA
1986        Occupational Health Weekly Symposium
            ~30 graduate students, postdoctoral fellows,            Guest lecturer; 2 hours
            faculty
Formal Teaching of Residents, Clinical Fellows and Research Fellows (post-docs)
Stanford Medical School, Stanford CA
1977, 1979  Research Center and Sleep Disorders Clinic
            Seminar Series
            ~10 graduate students and postdoctoral                  Lecturer; ~5 hours/year
            fellows

Laboratory and Other Research Supervisory and Training Responsibilities
Brigham and Women's Hospital, Boston, MA
1982-1988   College Work-Study training program in                       30 student-trainees/term, 3 week-long
            laboratory research techniques.                              sessions/year
            Developer/supervisor
1995-2000   Special Emphasis Research Career Award                       2 junior faculty trainees
            Program, National Institute on Aging. Faculty
            sponsor.
Harvard Medical School, Boston, MA
1983-1987        Research preceptor, Pre-doctoral Fellow.
                 Medical Scientist Training Program
2001-            Research Preceptor, HMS Student in HST                  1 medical student/year, 50-100 hours/year
                 Program. Division of Health Science and
                 Technology (HMS/MIT)
1986,1987,       Faculty mentor, Brigham-Beth Israel Medical             1 medical student/summer; 25-40
1990             Group Program. Summer Research Fellowship               hours/summer
                 Program.
1986-1991        Faculty advisor. Medical student research               1 medical student/year; 40-60 hours/year
                 traineeship
1993-1994        Oral Examination and Ph.D. Dissertation
                 Examining Committees
1994-1997        Mentor, Faculty Training Grants, for Charles
                 Weitz, M.D., Assistant Professor of
                 Neurobiology and Emery N. Brown, M.D.,
                 Ph.D., Assistant Professor of Anesthesiology,
                 Harvard Medical School
1994-1995,       Faculty advisor. Research Rotation, Program             1 doctoral student/year; 10-20 hours/year
2001             in Neuroscience
1995-1998        Committee Member and/or Advisor. Program
2000-2004        in Neuroscience
2001-2005        Research Preceptor, two HST students                    40-50 hours/year
2002-2005        Research Preceptor, HMS student                         20-30 hours/year
2002-            Mentor, Faculty Training Grant (NIH K08),
                 for an Instructor of Pediatrics, Harvard
                 Medical School
2003-2004        Mentor, GCRC Medical Student Clinical
                                                          32
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                Research Training Award, for two HMS
                students
Harvard University Graduate School of Arts and Sciences, Cambridge, MA
1983-1986,   Oral Examination and Ph.D. Dissertation
1994-1997    Examining Committees, Division of Applied
             Sciences; Co-advisor and Committee Member
Harvard College, Cambridge, MA
1981-1985,   Biology 90r: Supervised Research. Faculty                  1-2 undergraduates per year; ~50 hours/year
1987-1988,   preceptor first semester, then undergraduate
1992, 1994   thesis advisor
1984         Biology 91r: Supervised Reading. Faculty                   1 undergraduate; ~15 hours/year
             preceptor, directed reading
1984         Economics 910r: Supervised Reading and                     1 undergraduate; ~15 hours/year
             Research. Faculty advisor, directed reading
1984-1987    Psychology and Social Relations 990: Senior                1 undergraduate; ~50 hours/year
             Tutorial. Faculty preceptor first semester, then
             undergraduate thesis advisor
1994         Nathaniel Kleitman Undergraduate Summer                    5 summer undergraduate students; ~10 hours
             Fellowship Program in Human
             Chronobiology. Faculty advisor
2002-2003    Biology 90r: Supervised Research.
             Undergraduate thesis advisor
Formally Supervised Trainees
Brigham and Women’s Hospital, Boston, MA
1983-1986, Gary S. Richardson, M.D.
1988-1992   Research supervisor; Clinical Fellow Research Residency Program and Faculty sponsor for
            junior faculty research trainee, Physician Scientist Award Program, National Institute on
            Aging, NIH.
1985-1987   Joel Steinberg, M.D.
            Post-doctoral fellow advisor
1986-1988   Suzanne Rogacz, M.D.
            Endocrine Training Program Research supervisor, Post-doctoral fellow advisor, Faculty
            sponsor for junior faculty clinical research trainee. Clinical Associate Physician Award
            Program, General Clinical Research Program, National Center for Research Resources,
            National Institutes of Health.
1994-1996   Emery N. Brown, M.D., Ph.D./Professor of Health Sciences and Technology and Professor
            of Computational Neuroscience, Massachusetts Institute of Technology Professor of
            Anaesthesia, Harvard Medical School Massachusetts General Hospital
            Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
DATE        Janis Anderson, Ph.D./Assistant Professor of Psychology, Department of Psychiatry,
            Harvard Medical School/Brigham and Women’s Hospital
            Post-doctoral fellow advisor
1988-1990   Marie Dumont, Ph.D.
            Post-doctoral fellow advisor
Faculty Advisor, Pre-doctoral Fellow, Training Program in Sleep, Circadian and Respiratory
Neurobiology, National Heart Lung and Blood Institute
1991 - 1995 Elizabeth B. Klerman, M.D., Ph.D./Associate Professor of Medicine, Division of Sleep
                                                           33
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               Medicine, Harvard Medical School; Associate Physician, Division of Sleep Medicine,
               Department of Medicine Brigham and Women’s Hospital
               Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
1997 - 2000    Kenneth P. Wright Jr., Ph.D./Assistant Professor, Department of Integrative Physiology
               Director, Sleep and Chronobiology Laboratory, Centers for Neuroscience and the
               Integrative Study of Work, University of Colorado at Boulder
               Endocrine Training Program Research supervisor and Post-doctoral fellow advisor
1994 - 1999    Jamie M. Zeitzer, Ph.D./ Assistant Professor, Psychiatry and Behavioral Sciences, Stanford
               University and VA Palo Alto Health Care System, Palo Alto, CA
1997 - 2004    Angela Ritz-De Cecco, Ph.D./Pharmacist, Switzerland
2002 - 2005    Kurt A. Smith, M.D./ Resident and Clinical Instructor, Emergency Medicine, University of
               Cincinnati School of Medicine
2003 - 2006    Martin W. Schoen, M.D./ Intern, Department of Internal Medicine, Naval Medical Center,
               San Diego
Faculty Advisor, Post-doctoral Fellow, Training Program in Sleep, Circadian and Respiratory
Neurobiology, National Heart Lung and Blood Institute
1986 - 1989 Steven H. Strogatz, Ph.D./ Director of Center for Applied Mathematics; Professor of
             Theoretical and Applied Mechanics, Cornell University
1991 - 1994 Ghada El-Hajj-Fuleihan, M.D./ Professor of Medicine and Director of the Calcium
             Metabolism and Osteoporosis Program, American University of Beirut Medical Center
1992 - 1997 Diane B. Boivin, M.D., Ph.D./ Associate Professor, Psychiatry Medicine, McGill
             University, Sleep Disorders Physician, Psychiatry, Douglas Hospital; Director, Centre for
             Study and Treatment of Circadian Rhythms
1993 - 1995 David Neri, Ph.D./ Deputy Director, Cognitive, Neural, and Biomolecular Science &
             Technology Division, Office of Naval Research
1995 - 1998 James K. Wyatt, Ph.D., D ABSM/Assistant Professor, Behavioral Sciences, Rush Medical
             College; Director, Sleep Disorders Center, Rush University Medical Center; Fellow,
             American Academy of Sleep Medicine
1996 - 1998 Sat Bir Khalsa, Ph.D./ Assistant Professor of Medicine, Division of Sleep Medicine,
             Harvard Medical School; Associate Neuroscientist, Division of Sleep Medicine,
             Department of Medicine, Brigham and Women’s Hospital
1996 - 2000 Todd Horowitz, Ph.D./Instructor In Ophthalmology, Harvard Medical School; Research
             Associate, Brigham and Women’s Hospital
1998 - 2000 Jeanne Duffy, M.B.A., Ph.D./ Associate Professor of Medicine, Division of Sleep
             Medicine, Harvard Medical School; Neuroscientist, Division of Sleep Medicine,
             Department of Medicine, Brigham and Women’s Hospital
1999 - 2003 Claude Gronfier, Ph.D./ Research Assoc., Inserm, France
2000 - 2003 Steven Lockley, Ph.D./ Associate Professor of Medicine, Division of Sleep Medicine,
             Harvard Medical School; Neuroscientist, Division of Sleep Medicine, Department of
             Medicine, Brigham and Women’s Hospital
2000 - 2002 Laura K. Barger, Ph.D./ Instructor in Medicine, Division of Sleep Medicine, Harvard
             Medical School; Associate Physiologist, Division of Sleep Medicine, Department of
             Medicine, Brigham and Women’s Hospital
2006 - 2007 Christopher Carello, Ph.D./Medical Liaison, Eli Lilly and Company
2004 - 2006 Julie Marie Gottselig, Ph.D./ Law student, New England School of Law
2011-        Michael Lee, Ph.D./ Research Fellow in Medicine, Brigham and Women’s Hospital,
             Harvard Medical School
2014-        Nina Vujovic, Ph.D./ Research Fellow in Medicine, Brigham and Women’s Hospital,
             Harvard Medical School
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Faculty Co-Advisor, Pre- and Post-doctoral Fellows, Training Program in Sleep, Circadian and
Respiratory Neurobiology, National Heart Lung and Blood Institute
1999 - 2001 Scott P. Grady, M.D., Ph.D./ Clinical Endocrinologist, Portland Diabetes and
             Endocrinology Center
2002 - 2004 John Cronin, M.D./ Skaggs Scholar, The Scripps Research Institute; Associate Director,
             Scripps Clinic Sleep Center
2004         Shana E. McCormick, M.D./ Pediatric Resident, Massachusetts General Hospital
2002 - 2004 Nayantara Santhi, Ph.D./Research Fellow, Surrey Sleep Research Centre, Guildford U.K.
2003 - 2004 Anne-Marie Chang, Ph.D./Assistant Professor of Medicine, Pennsylvania State University
2003 - 2005 Frank A.J.L. Scheer, Ph.D./ Associate Director, Medical Chronobiology Program,
             Brigham and Women’s Hospital; Assistant Professor of Medicine, Harvard Medical
             School; Associate Neuroscientist, Brigham and Women’s Hospital
2005 - 2007 Joshua J. Gooley, Ph.D./ Lecturer in Medicine (academic, part-time), Harvard Medical
             School; Assistant Professor, Duke-NUS Graduate Medical School Singapore
2006 - 2008 Daniel Cohen, M.D./Associate Staff Neurologist, Beth Israel Deaconess Medical Center
2002 - 2010 Joseph T. Hull, Ph.D./ Research Fellow in Medicine, Division of Sleep Medicine, Brigham
             and Women’s Hospital, Harvard Medical School
2004 - 2010 Erin E. Flynn-Evans/Research Psychologist, NASA
2004 - 2011 Melissa A. St. Hilaire, M.S., Ph.D./Research Fellow in Medicine, Division of Sleep
             Medicine, Department of Medicine, Brigham and Women's Hospital
2006 - 2011 Sean W. Cain, Ph.D./ Lecturer in Medicine (academic, part-time), Harvard Medical
             School; Senior Lecturer, Monash University, Australia.
2007 - 2011 Melodee Mograss, Ph.D./ Banting Scholar, The Research Institute of the McGill
             University Health Centre, Montreal, Quebec
2006 - 2013 Melanie Rüger, Ph.D./ Instructor in Medicine, Brigham and Women’s Hospital, Harvard
             Medical School
Formal Teaching of Peers (e.g., CME and other continuing education courses)
Academy at Harvard Medical School, Boston, MA
2002        Medical Education Symposium: How the Brain                         Lecture
            Learns: Implications for Medical Education from the
            Neurosciences and Cognitive Theory
Brigham and Women's Hospital, Boston, MA
1986        “Sleep Disorders”                                                  ~40 CME students; ~3 hours
            Endocrine Division Postgraduate Medical Series
1987        “Circadian rhythmicity and its disorders”                          ~60 CME students; ~3 hours
            Weekends in Internal Medicine
Unknown     Patient Safety Imperative CME Course
            Division of General Medicine
Harvard T.H. Chan School of Public Health, Boston, MA
1990-1991   Work Schedules & Circadian Rhythms: Strategies for                 Faculty course director
            Improving Health, Safety, and Performance in Shift
            Work Operations
2007-2009, Ergonomics and Human Factors: Strategic Solutions                   Invited faculty member
2011-2015   for Workplace Safety and Health
2007        Epidemiology of the Occupational & Environmental                   Invited faculty member
            Health Standards (EH 236)
2012        Sleep and Shift Work: Optimizing Productivity and                  Invited faculty member and

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               Health Management in the 24/7 Global Economy                     keynote speaker
               Symposium
Harvard Medical School, Boston, MA
2012       Physician Work Hours, Health and Patient Safety                      Course Director and faculty
                                                                                member
2013           The New Science of Resiliency and its Clinical                   Faculty member
               Applications
2014           “Circadian Regulation of Sleep” for ‘Sleep! A CME                Faculty member
               Course for Physicians’
2015           “Consciousness” for ‘Sleep! A CME Course for                     Faculty member
               Physicians’
2016           ‘Sleep! A CME Course for Physicians’                             Faculty member
2017           Circadian Control of Sleep for ‘Sleep! A CME Course              Faculty member
               for Physicians’


Local Invited Presentations
Stanford Medical School, Stanford CA
1978        Stanford Medical and Scientific Highlights
            Faculty Senate
Harvard Medical School, Boston MA
1983       Harvard Medical School Faculty Meeting
1990       Shiftwork, circadian rhythms and sleep deprivation
           Harvard Medical School Committee on Hospital Safety
2000       Medical Ethics Forum: Medical Error: Patients in Peril?
           Division of Medical Ethics and Division of Sleep Medicine
2001       Conference on Resident Work Hours
2001       Sleep and Public Policy, New York Regional Council
2002       Combined Orthopedic Grand Rounds, Resident Work Hours, Safety and Health
2002       Keynote Speaker, 1st Annual Sleep and Health Benefit Dinner
           Division of Sleep Medicine
2010       Organizing Committee and Speaker “Finding a research path for the identification of
           biomarkers of sleepiness”
           Division of Sleep Medicine
2012       Invited Speaker
           HMS Leadership Summit
2019       Sleep Grand Rounds, Division of Sleep Medicine, Harvard Medical School
Harvard College, Cambridge, MA
1988         Invited discussant, “The Ethics of AIDS Testing”
             Adams House, Harvard College
2013         Invited Speaker “Sleep, circadian rhythms, health and safety”
             Harvard Wellness Project, Harvard College
Harvard T.H. Chan School of Public Health, Boston, MA
2012        Invited discussant, “FIGHTING THE CLOCK: How America’s Sleep Deficit is Damaging
            Longterm Health”
            The Forum webcast, Harvard School of Public Health
2016        Invited Panel Member, “ASLEEP AT THE WHEEL: Drowsy Driving and Public Health”
                                                           36
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               Presented in Collaboration with The Huffington Post
               The Forum webcast, Harvard School of Public Health
Harvard University, Cambridge, MA
2018        Invited Faculty “Mind/Brain Puzzle on Sleep”
            Harvard University Mind Brain Behavior Interfaculty Initiative (MBB)
Beth Israel Hospital, Boston, MA
1983          Neurology Grand Rounds
1986, 1988    Medical Grand Rounds
1989, 1991
1990          “Human circadian rhythmicity and its potential relevance to anesthesia research and
              clinical care”
              Anesthesia and Critical Care Grand Rounds
1997, 2000    Psychiatry Grand Rounds
Beth Israel Deaconess Medical Center, Boston MA
2002          Endocrine Grand Rounds
2002          Assessment of the Impact of Intern Work Hours on Patient Safety and Intern Health and
              Performance
              Chiefs’ Council
2006          OB/GYN Grand Rounds
Brigham and Women's Hospital, Boston, MA
1983, 1996, Endocrine Grand Rounds
2001
1986, 1988, Medical Grand Rounds
1991, 1993, Department of Medicine
2001, 2002,
2004, 2008
1989        “Sleep Loss, Circadian Rhythms and the Hospital Intern”
            Graduate Medical Education Committee Program
1994        “Circadian rhythms, sleep deprivation and emergency medicine”
            Emergency Medicine Rounds
1995        “Advances in Circadian and Sleep Medicine, Disorders and Physiology”
            Medical Staff Grand Rounds
2002        Noon House Staff Conference
            Department of Medicine
2002        Work Hours, Sleep and Safety of Medical House Staff, Faculty Meeting and Executive
            Committee
            Department of Medicine
2002        Sleep and the Healthcare Provider: Impact on Performance, Quality & Safety, Quality
            Rounds
2004        Patient Safety Imperative, Division of General Medicine
2007        Obstetrics and Gynecology Grand Rounds
2009        “Sleep, Light and the Human Circadian Pacemaker”
            Sleep Grand Rounds
2010        “Minding your brain: staying sharp”
            Men’s Health Program, Palm Beach, FL
2013        Guest Faculty Speaker
            Women’s Health Luncheon, Boston MA

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2013           Guest Speaker
               Tye Health Coverage Fellowship, Boston MA
2015           “A Sleep Epidemic”
               BWH Inspires Event, Palm Beach FL
2015           “Sleep Deficiency and Public Health”
               Discover Brigham, Sleep Medicine Session, Brigham Research Institute, Boston MA
2017           “Sleep Hygiene for Physician Shift Workers”
               Invited Speaker, Emergency Medicine Resilience Day, Boston MA
2018           Sleep Epidemic: Why are we sleeping less and What can we do about it?
               Invited Faculty CME, BWH, Boston MA
2018           Speaker and Chair “Sleep Matters Initiative”
               Discover Brigham, Sleep Medicine Session, Brigham Research Institute, Boston MA
Children’s Hospital, Boston, MA
1998         Neurosurgery Grand Rounds
2010         Invited Speaker “Introduction to Circadian Biology”
             Updates in Pediatric Sleep Disorders Conference
Massachusetts Eye and Ear Infirmary, Boston, MA
1992         “Synchronization of the human circadian pacemaker by light: relevance to the treatment of
             ‘blind’ patients”
             Research Symposium: “Advanced Concepts in Vision Science”
Massachusetts General Hospital, Boston, MA
1987         Chronobiology Research Group Seminar
             Department of Pediatrics
1988, 2007 Endocrine Grand Rounds
1992         Neuroscience Lecture
2007         Anesthesia and Critical Care Grand Rounds
2013         Endocrine Grand Rounds
Partners HealthCare System
2001         Partners Chiefs’ Council
2002         Assessment of the Impact of Intern Work Hours on Patient Safety and Intern Health and
             Performance
             Partners Education Committee
2002         Work Hours, Health and Safety in Resident Physicians
             BWH-MGH Joint Chiefs Council
2003         Physiologic Determinants of Alertness and Performance: Implications for Physician Work
             Hours, Safety and Learning
             Partners Faculty Development Conferences (at MGH and at BWH)
2015         Invited Speaker
             1: Thought Leaders Lunch “Technology, Light and Sleep - Implications for Health and
             Medicine”
             2: “Sleep and Consciousness: Clinical Need versus Safety”
             World Medical Innovation Forum, Boston MA
Spaulding Rehabilitation Hospital, Boston, MA
2003        Spaulding Distinguished Lecture
Veterans Administration Hospital, Jamaica Plain, MA
1986        Grand Rounds
                                                           38
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Veterans Administration Hospital, Brockton, MA
1995        “Resetting the human circadian pacemaker with light”
            Medical Grand Rounds
Veterans Administration Hospital, West Roxbury, MA
2004        Seminar Series

Report of Regional, National and International Invited Teaching and Presentations
Invited Presentations and Courses
Regional
1978           Biological Clockwatchers Club
               Boston, MA
Between        Invited Speaker.
1985-1987      Massachusetts Mental Health Center, Boston, MA
1986           Physiology course on circadian rhythmicity. Lecturer; ~25 medical students; ~3 hours
               Boston University Medical School, Boston, MA
1987           Clinical Research Training Seminar, “Human circadian rhythmicity and its disorders”
               Massachusetts Mental Health Center, Boston, MA
1988           Nursing and Human Resources Departments Seminar “Circadian rhythms, sleep
               deprivation and the scheduling of nurses”
               New England Medical Center, Boston MA
1988           Invited Speaker.
               Northeastern Sleep Society, Boston MA
1989           Lincoln Laboratory Distinguished Lecture Series. Invited Speaker.
               Massachusetts Institute of Technology, Cambridge MA
1990           Department of Biology Colloquium
               Northeastern University, Boston MA
1992-1993      Biomedical Engineering Undergraduate Program. Faculty research advisor. 1
               undergraduate; ~10 hours/year
               Boston University, Boston, MA
1992-1999      Graduate Program in Biology: Physiology and Neurobiology. Faculty research sponsor; 1
               doctoral student; ~20 hours/year
               Northeastern University, Boston, MA
1994-1995      Biomedical Engineering Graduate Degree Program. Faculty research sponsor. 1 graduate
               student; ~10 hours/year
               Boston University, Boston, MA
Between        Invited Speaker.
1994-1996      Massachusetts Institute of Technology, Cambridge MA
1995-1998      Graduate Program in Cardiopulmonary Sciences. Faculty research sponsor; 1 graduate
               student; ~20 hours/year
               Northeastern University, Boston, MA
1996-1997      Biology 99d: Senior Research and Senior Honors in Biology. Faculty research sponsor; 1
               undergraduate; ~10 hours/year
               Brandeis University, Waltham, MA
1997           Medical Grand Rounds.
               Boston University Medical Center, Boston MA
Between        Endocrine Grand Rounds
1997-2001      Risk Management Foundation, Boston, MA
Between        Invited Speaker.
                                                           39
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1997-2001      New England College of Occupational and Environmental Medicine, Groveland MA
Between        Invited Speaker.
1997-2001      Boston Society of Neurology and Psychiatry, Boston MA
Between        Invited Speaker. Resident Physician Section
2002-2008      Massachusetts Medical Society, Waltham MA
Between        Medical Grand Rounds
2002-2008      New England Medical Center, Boston MA
Between        Advanced Neurobiology BI374. Guest Lecturer.
2002-2008      Colby College, Waterville, Maine
2003-2006      “Circadian Biology: From Clock Genes and Cellular Rhythms to Sleep Regulation”. Guest
               Lecturer.
               NSF-Chautauqua Short Courses for College Teachers
2006           Psychiatry Grand Rounds.
               Dartmouth Medical School, Lebanon, NH
2006           Beckwith Family Lecture. Medical Grand Rounds.
               Brown University, Providence, RI
2007           Drowsy Driving Panel
               National Conference of State Legislatures, Boston, MA
2008           “Bringing Circadian Rhythm Science into the Sleep Clinic”. Invited Speaker - Future of
               Clinical Sleep Medicine Conference.
               Sleep HealthCenters, Boston
2009           Drowsy Driving Legislation. Invited Speaker
               North East Sleep Society Conference, Boston MA
2009           Speaker in three symposia:
               1. Addressing OSA in commercial drivers
               2. Legislative initiative to reduce drowsy driving crashes
               3. Inter-individual differences in the impact of sleep loss on neurobehavioral performance:
               Regulatory implications for the transportation industry
               Fatigue Management in Transportation Operations 2009 International Conference, Boston
               MA
2010           Organizing Committee and Speaker
               Sleep, Supervision and Safety Conference, Boston, MA
2011           Organizer and Speaker “Exploratory Seminar on Drowsy Driving”
               Radcliffe Institute for Advanced Study, Harvard University, Cambridge MA
2011           Invited Speaker “Sleep to Thrive”
               TEDx Cambridge ‘Thrive’, Cambridge MA
2012           Invited Panelist “Sleep Chat”
               NIH Twitter Event, Boston MA
2012           Invited Speaker “Near-24-hour intrinsic period of the human circadian pacemaker:
               challenge for adaptation to the Martian sol”
               Massachusetts Institute of Technology, Cambridge MA
2012           Invited Speaker, Discussion Panel “Measuring Sleepiness in Drivers: The Challenges and
               Controversies”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker, Discussion Panel “Body Mass Index is an Effective Measure for
               Occupational Screening of Employees at High Risk for Moderate to Severe Obstructive
               Sleep Apnea: Implications for DOT Commercial Driver Medical Examinations”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Chair Oral Presentation Session “Circadian Rhythms: Fiat Lux!”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
                                                        40
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2014           Invited Speaker “Sleep, performance and health in a 24/7 culture”.
               MIT Media Lab, Massachusetts Institute of Technology, Cambridge MA
2015           Panelist “School Community Meeting on School Start Time”
               Latin Academy School (BLA), Boston MA
2015           Invited Speaker “The Science of Sleep and Health”
               2015 World Congress on Angiogenesis, Angiogenesis Foundation, Boston MA
2015           Invited Speaker “Light, Sleep Disorders and the Working Environment”
               Light in Sight Lecture Series, New England College of Optometry, Boston MA
2015           Invited Speaker “Sleep, circadian rhythms, health and performance”
               Invited Speaker, Mind+Hand+Heart Wellness Initiative, Computer Science and Artificial
               Intelligence Lab (CSAIL) at MIT, Cambridge MA
2016           “Circadian Disorders”
               Grand Rounds, Newton-Wellesley Hospital, Newton MA
2016           Invited Speaker – Panel “Drowsy Driving the Problem with the Accepted Practice”
               2016 Northeast Transportation Safety Conference, Worcester MA
National
1978           Association for the Psychophysiological Study of Sleep. Invited Speaker
1978           NY Intradepartmental course on sleep. Guest lecturer; ~20 students; ~3 hours
               Columbia University Psychiatric Institute, New York, NY
1980           Sleep Research Society. Satellite symposium chair on the Timing of REM Sleep
1978           Department of Biology course. Guest Lecturer.
               University of New York, Stony Brook
1981           American Association for the Advancement of Science. Symposium co-chair
1982           Gordon Research Conference on Theoretical Biology and Biomathematics. Guest Lecturer.
1985           Sleep Research Society. Satellite symposium co-chair
1985           Postgraduate CME course,
               Montefiore Hospital, Bronx NY
Between        Satellite symposium co-chair.
1985-1987      Sleep Research Society
1986           American Association for the Advancement of Science. Invited Speaker.
1986           Society for Neuroscience. Invited Speaker.
1986           Academy of Behavioral Medicine Research. Invited Speaker.
1986           Grand Rounds, Carrier Foundation. Invited Speaker.
1986           “Impact of irregular work schedules on circadian training systems: Implications for
               scheduling emergency room specialists”. Invited Lecturer.
               American College of Emergency Physicians, Washington DC.
1986           Postgraduate CME course, Sleep Research Society (faculty/course developer);
1987           Association of Professional Sleep Societies. Invited Speaker.
1987           Invited Speaker.
               Rockefeller University, New York, NY.
1987           Invited Speaker.
               NASA-Ames Research Center, Moffett Field, CA
1987           Invited Speaker.
               Sandoz Pharmaceutical, Broomfield CO
1987           “Creating work schedules based on biological needs” Edison Electric Institute and
               Electrical Council of New England. Invited Speaker.
1987           Psychiatry Grand Rounds. Invited Speaker.
               Cornell University Medical School, New York, NY
1987           Joint Endocrinology and Metabolism Rounds.

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               New York Hospital and Memorial Hospital. Invited Speaker New York, NY
1987           Palo Alto Clinical Monitoring Center. Invited Speaker.
               Palo Alto, CA
1987           Sleep Disorders Medicine Postgraduate CME course. Guest Lecturer.
               Medlantic Institute, Washington DC
1988           “Late luteal phase dysphoric disorder”. Invited Speaker.
               National Institute of Mental Health Conference
1988           Elliot D. Weitzman Memorial Lecture.
               Cornell University Medical School, New York NY
1988           New York Sleep Circle. Invited Speaker.
1988           Invited Speaker.
               NASA-Goddard Space Flight Center, Greenbelt MD.
1988           Society of Surgical Chairman. Invited Speaker.
1988           “Interaction between Sleep and the Circadian System”, Society for Research on Biological
               Rhythms
1988           Invited Symposium Speaker Association of Professional Sleep Societies, symposium chair
1988           Medical Grand Rounds.
               Duke University Medical Center, Durham NC
1988           Clinical Chronobiology Conference. Invited Speaker.
1988           Faculty Guest lecturer.
               University of California Medical School, Davis, CA
Between        Invited Speaker.
1988-1990      NASA Headquarters, Houston TX
Between        Invited Symposium Speaker
1988-1990      Society for Neuroscience
Between        Symposium Speaker
1988-1990      Academy of Behavioral Medicine Research
1989           Invited Speaker.
               NASA-Ames Research Center, Moffett Field, CA
1989           Basic Sleep Research Panel. Invited Speaker.
               Institute of Medicine, National Academy of Sciences, New York, NY
1989           National Consensus Conference on Therapeutic Treatment of Sleep Disorders in Older
               People. Invited Speaker.
               National Institute on Aging, Bethesda MD
1989           “Correlations of Aging and Space: Effects on Biosystems”. Invited speaker.
               Joint Research Conference NASA, National Institute on Aging, and the Lew Evans
               Foundation
1989           “Fatigue and Driver Alertness”. Invited Speaker.
               Federal Highway Administration, U.S. Department of Transportation
1989           “Sleep and Driving Safety”. Invited speaker.
               National Press Club Conference
1989           Society of Industrial and Occupational Hygienists Annual Meeting. Invited Speaker.
1989           Invited Symposium Speaker.
               American Association for the Advancement of Science
1989           Medical Grand Rounds.
               University of Texas Southwestern Medical School, Dallas TX
1989           General Electric Company. Invited Speaker.
1989           Smith College Colloquium. Invited Speaker.
1989           Academic Practice Assembly, Administrators of Internal Medicine. Invited Speaker.
1989           “Meet the Professor”
                                                       42
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       Appendix A             Curriculum Vitae of Charles A. Czeisler, PhD, MD, DABSM, FAASM   Page A-43 of A-103


               Association of Professional Sleep Societies
1989           Postgraduate CME Course. Faculty Guest Lecturer.
               Mayo Clinic Medical School, Rochester MN
1989           Postgraduate CME Course. Faculty Guest Lecturer.
               Presbyterian Hospital, University of Texas Southwestern Medical Center, Dallas TX
1990           MacArthur Foundation Mental Health Research Network. Invited Speaker
1990           NASA/National Science Foundation Conference on Antarctic Research. Invited Speaker.
1990           Invited Speaker.
               Rockefeller University, New York, NY.
1990           Department of Pharmacology University of Chicago Colloquium. Invited Speaker.
               University of Illinois/Chicago Circle
1990           Hypertension Symposium. Invited Speaker
               Marion Merrell Dow, Kansas City, MO
1990           NASA Biomedical Research Program, Circadian Rhythms Workshop
1990           Workshop on Circadian Rhythm Shifting, Medical Sciences Division. Invited Speaker.
               NASA-Johnson Space Center, Houston TX
1990           Invited Speaker.
               American Psychiatric Association.
1990           Medical Grand Rounds.
               University of Wisconsin-Madison Medical School, Madison WI
1990           Endocrine Grand Rounds
               University of Wisconsin-Madison Medical School, Madison WI
1990           Endocrine Grand Rounds
               University of Chicago, Chicago IL
1990           Society of Research Administrators. Invited Speaker
1990           Whitney Symposium on Science and Technology, General Electric Corporate Research
               and Development. Invited Speaker.
1990           American Association of Homes for the Aging. Invited Speaker.
1990           Session Chairman.
               Association of Professional Sleep Societies.
1990           “Disorders of Circadian Function: Clinical Consequences and Treatment”; NIA/NIH
               Consensus Development Conference. Invited Speaker.
1990           “Meet the Professor”
               Association of Professional Sleep Societies
1991           National Advisory Council. Invited Speaker.
               National Institute on Aging, Bethesda MD
1991           National Science Foundation Science and Technology Center Industrial Outreach
               Symposium. Invited Speaker.
1991           3 teaching hospitals. Invited Speaker.
1991           Invited Speaker.
               University of Virginia School of Medicine, Charlottesville VA
1991           Invited Speaker.
               University of Chicago Pritzker School of Medicine, Chicago IL
1991           Keynote Speaker.
               Central States Occupational Medical Association.
1991           Invited Speaker
               Association of Polysomnographic Technologists.
1991           Invited Speaker.
               University of Virginia, Charlottesville VA
1991           Postgraduate CME Course. Faculty Guest Lecturer.
                                                        43
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               Yale-New Haven Sleep Disorders Center
Between        Joint Conference. Invited Speaker.
1991-1993      American Psychological Association, Brock University and National Institute of Mental
               Health
Between        Invited Speaker.
1991-1993      Johns Hopkins University School of Medicine, Baltimore MD
1992           National Advisory Council. Invited Speaker.
               National Institute of Neurological and Communicative Disorders and Stroke, Bethesda
               MD
1992           Medical Grand Rounds.
               Sinai Hospital of Baltimore, Baltimore, MD
1992           Invited speaker.
               American Psychosomatic Society.
1992           “Human Phase-shifting and Entrainment”. Invited Speaker.
               Society for Research on Biological Rhythms
1992           Invited Speaker.
               National Institute for Brain Research.
1992           Invited Speaker.
               Gordon Research Conference on Theoretical Biology and Biomathematics.
1992           Postgraduate CME Course. Invited Speaker.
               Association of Professional Sleep Societies.
1993           Invited Speaker.
               Inter-urban Clinical Club, Association of Professors of Medicine.
1993           Invited Speaker.
               United States Army Research Institute of Environmental Medicine.
1993           Life Sciences Division. Invited Speaker.
               NASA Johnson Space Center, Houston TX
1993           Invited Speaker.
               Sleep Disorders Round Table, Smith-Kline-Beecham.
1993           “Circadian rhythms and sleep disorders: Role of melatonin” Workshop. Invited Speaker.
               Institut de Recherches Internationales Servier
1993           “Sleeping Well: Overcoming Sleep Disorders” American Medical Association Educational
               Briefing. Invited speaker.
1993           Invited Speaker.
               Association of Professional Sleep Societies.
1993           Sleep Onset Mechanisms Conference. Invited Speaker.
               American Psychological Association, Brock University and National Institute of Mental
               Health, Division of Neuroscience and Behavioral Science
1993           National Science Foundation Center for Biological Timing Summer Course on Biological
               Rhythms. Faculty Guest Lecturer.
               University of Virginia, Charlottesville VA
1993           Faculty Guest Lecturer.
               Gordon Research Conference on Chronobiology.
1993           Faculty Guest Lecturer.
               Projects in Knowledge Faculty Training Program on Insomnia.
1993           Postgraduate CME Course “Controversies in Light Therapy”. Faculty Guest Lecturer.
               Association of Professional Sleep Societies.
1994           Strategy Development Workshop on Sleep Education. Invited Speaker.
               National Heart Lung and Blood Institute, Bethesda MD
1994           Workshop on Neural Basis of Psychopathology. Invited Speaker.
                                                        44
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               Division of Neuroscience and Behavioral Science, National Institute of Mental Health,
               Bethesda MD
1994           Invited Speaker.
               Rockefeller University, New York NY
1994           Scripps Clinic. Invited Speaker.
1994           Philips Forum. Invited Speaker.
               Lighting Research Institute, Rensselaer Polytechnic Institute, Troy NY
1994           Invited Speaker.
               Interneuron Pharmaceuticals, Inc, Lexington MA
1994           Invited Speaker.
               Alza Pharmaceutical, Mountain View CA
1994           Workshop on Sleep Disorders,
               Bristol Myers Squibb, New York NY
1994           “Circadian Control of REM Sleep”. Invited Speaker.
               Society for Research on Biological Rhythms
1994           Symposium and workshop co-chair
               Association of Professional Sleep Societies.
1994           AMDD Neurology Conference. Invited Speaker.
               US Army Medical Department, Uniformed Services, University of the Health Sciences
1994           “Circadian Clocks and Their Adjustment”. Invited Speaker.
               Ciba Foundation Symposium.
1994           Postgraduate CME Course on Sleep Disorders. Faculty Guest Lecturer.
               Scripps Clinic.
1994           Postgraduate CME Course “Shift Work: Health Effects and Coping Strategies”. Faculty
               Guest Lecturer.
               American College of Occupational and Environmental Medicine, Elk Grove Village IL
Between        Invited Speaker.
1994-1996      Woods Hole Marine Biological Laboratory Lecture Series
Between        Invited Speaker. Workshop on Melatonin and Sleep
1994-1996      National Institute on Aging, Bethesda MD
Between        Invited Speaker.
1994-1996      American Thoracic Society
Between        Postgraduate CME Course
1994-1996      American Clinical Neurophysiology Society
Between        Postgraduate CME Course
1994-1996      CME, Inc.
1995           “Managing Fatigue in Transportation: Promoting Safety and Productivity” Multimodal
               Educational Symposium. Invited speaker.
               National Transportation Safety Board and NASA Ames Research Center
1995           Neurology Grand Rounds
               Emory University School of Medicine, Atlanta GA
1995           Invited Speaker.
               Air Force Office of Scientific Research Headquarters
1995           Invited Speaker.
               Merck Pharmaceutical
1995           Invited Speaker.
               American Physiological Society, Dartmouth
1995           Invited Speaker.
               Aerospace Medical Association
1995           Invited Speaker.
                                                       45
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               National Foundation for Brain Research
1995           Invited Speaker.
               New England Science Writers Association
1995           Invited Speaker.
               Association of Professional Sleep Societies
1995           “Meet the Professor”
               Association of Professional Sleep Societies
Between        NASA Workshop on Aging and Spaceflight. Invited Speaker.
1997-2001      National Institute on Aging, Bethesda MD
Between        Plenary session speaker.
1997-2001      International Conference on Managing Fatigue in Transportation
Between        Systems Physiology Workshop. Invited Speaker.
1997-2001      National Research Council, National Academy of Sciences
Between        Invited Speaker.
1997-2001      National Space Biomedical Research Institute
Between        Invited Speaker.
1997-2001      Federal Transit Administration, Department of Transportation
Between        Invited Speaker.
1997-2001      Johnson Space Center, National Aeronautics and Space Administration
Between        Invited Speaker.
1997-2001      Charleston Air Force Base, Air Force Office of Scientific Research
Between        Invited Speaker (2 symposia)
1997-2001      Society for Research on Biological Rhythms
Between        Invited Speaker.
1997-2001      Recent Progress in Hormone Research Conference, The Endocrine Society
Between        Invited Speaker.
1997-2001      Cephalon, Inc.
Between        Workshop Speaker.
1997-2001      American Physiological Society
Between        Symposium Speaker.
1997-2001      Society for Neuroscience
Between        Workshop Speaker.
1997-2001      Society for Research on Biological Rhythms
Between        Workshop Speaker.
1997-2001      American Academy of Sleep Medicine
Between        Keynote Speaker.
1997-2001      Committee of Interns and Residents
Between        Invited Speaker.
1997-2001      Biological Effects of Light Symposium
Between        Faculty Guest Lecturer. Symposium chair
1997-2001      Gordon Conference on Chronobiology
Between        Faculty Guest Lecturer.
1997-2001      Gordon Conference on Pineal Physiology
Between        Postgraduate CME Course. Faculty Guest Lecturer.
1997-2001      American Medical Association, American Academy of Sleep Medicine.
Between        Medicine Conference on Sleep, Fatigue and Medical Training. Faculty Guest Lecturer.
1997-2001      Virginia
Between        Keynote speaker
1997-2001      Association of Professional Sleep Societies
Between        Faculty Guest Lecturer. “Meet the Professor”
                                                      46
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1997-2001      Associated Professional Sleep Societies
Between        Postgraduate CME Course. Faculty Guest Lecturer and course organizer.
1997-2001      Associated Professional Sleep Societies
Between        Keynote Speaker.
2002-2008      Society for Research on Biological Rhythms Annual Meeting
Between        Invited Speaker.
2002-2008      Association for Patient Oriented Research
Between        Neurology Grand Rounds
2002-2008      Johns Hopkins University School of Medicine, Baltimore, MD
Between        Invited Speaker.
2002-2008      Vanda Pharmaceuticals, Rockville, MD
Between        Invited Speaker.
2002-2008      Association of American Medical Colleges, Washington, DC
Between        Invited Speaker.
2002-2008      Accreditation Council of Graduate Medical Education Annual Education Conference,
               Chicago IL
Between        Invited Speaker.
2002-2008      Institute of Life Sciences: Sleep, Energy and Health Symposium, Washington, DC
Between        Invited Speaker.
2002-2008      Institute for Systems Biology, Seattle WA
Between        Invited Speaker.
2002-2008      Neurocrine Biosciences
Between        Faculty guest lecturer
2002-2008      Neurocrine, San Diego CA
Between        Trainee Day Speaker.
2002-2008      Association of Professional Sleep Societies
Between        Postgraduate CME “Year in Review”
               Lecturer “Insomnia and Beyond”
               Lecturer “Shift Work Sleep Disorder”
2002-2008      Associated Professional Sleep Societies Annual Meeting
2004           Invited Speaker.
               Bioterrorism and Trauma Conference, University of Maryland, Baltimore MD
2004           Invited Speaker. National Sleep Conference
               National Center for Sleep Disorders research, National Heart, Lung and Blood Institute,
               NIH, Bethesda, MD
2005           Semi-Annual Joint Grand Rounds in Surgery and Anesthesia and Pfizer Lecturer in Sleep
               University of Michigan Health Systems, Ann Arbor MI
2005           Invited Symposium Speaker.
               Society of Critical Care Medicine, Phoenix, AZ
2005           Invited Speaker, Trainee Symposium.
               Sleep Research Society, Denver, CO
2005           Keynote Speaker.
               Annual Meeting, Committee of Interns & Residents, Washington, DC
2005           Gordon Wilson Lecture: “Work Hours, Sleep And Patient Safety In Residency Training”
               Annual Meeting, American Clinical and Climatological Association
2006           Invited Speaker.
               American Academy of Allergy, Asthma and Immunology Program Directors’ Winter
               Meeting
2006           Symposium Speaker
               Annual Meeting, Association of University Anesthesiologists, Tucson AZ
                                                        47
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2006           Clinical Grand Rounds
               National Institutes of Health, Bethesda MD
2006           Psychiatry Grand Rounds.
               Dartmouth Medical School, Lebanon, NH
2006           Beckwith Family Lecture. Medical Grand Rounds.
               Brown University, Providence, Rhode Island
2006           Faculty Guest Lecturer.
               University of Virginia Medical School
2006           Faculty Guest Lecturer.
               University of Pennsylvania, PA
2006           Grand Rounds.
               National Institutes of Health, Bethesda MD
2006           Faculty Guest Lecturer.
               Center for Patient Safety Research and Practice, Executive Council Meeting, Boston, MA
2007           “Sleep Deprivation and Fire/Emergency Services— Just How Dangerous Is It?” Invited
               Speaker
               U.S. Fire Administration (USFA) Executive Fire Officer Program Graduate Symposium,
               Emmitsburg, MD
2007           Dorcas Cummings Lecture “Work Hours, Sleep and Safety: Physician Heal Thyself”
               Invited Symposium Speaker “Human Circadian Rhythms”
               72nd Symposium: Clocks and Rhythms, Cold Spring Harbor Laboratory, NY
2007           “Effects of Extended Work Hours on Intern Safety and Health and Medical Mistakes”.
               Invited Speaker
               Office of the Director Seminar Series, National Institute for Occupational Safety and
               Health
2007           WALS Invited lecture: “Application of Sleep Science and Circadian Biology to Clinical
               Medicine”.
               National Institutes of Health, Bethesda MD
2007           “Impact of Sleep Deprivation on Clinical Care”
               Duke University Medical Center, NC
2007           Invited Panelist “The Basics. Science & Society Issues. What we think we know about
               sleep. A clinical primer” and “Influences of Sleep Behavior - from Genes to Environment.
               Functional Genomics. Drugs. Light. Sleep apnea”
               The Science Network at the Salk Institute, CA
2007           Human Research Program Investigators' Workshop
               NASA, League City TX
2007           “Circadian Rhythms, Sleep and Work Hours: Ethical Implications for Health Care
               Workers”
               Morehouse School of Medicine, Atlanta, GA
2007           “Circadian rhythm sleep disorders”
               Neurobiology of Disease Workshop, Society for Neuroscience, CA
2007           Invited Speaker, Trainee Symposium.
               Sleep Research Society, Minneapolis, MN
2008           Invited Symposium Speaker: “Human Circadian Rhythms”
               and “Meet the Professor”
               Society for Research on Biological Rhythms Annual Meeting, Destin FL
2008           Postgraduate Course: “Creating a Division of Sleep Medicine”
               Trainee day speaker: “Public Health and Sleep”
               Invited lecturer: “Sleep and circadian rhythms in humans: Tales of translation from the lab
               to practice”
                                                        48
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               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2008           Keynote Speaker “Sleep and Public Policy”
               9th Annual Upper Midwest Sleep Society, University of Wisconsin, Madison WI
2008           Invited Speaker: “Genetic vulnerability to neurocognitive dysfunction from sleep loss: An
               ethical dilemma for the medical profession”
               American Clinical and Climatological Association Annual Meeting, Ponte Verde FL
2008           Invited Speaker: “Duty Hours and Sleep Deprivation: When Will the Residents Learn?”
               Association of Professors of Medicine Fall Symposium, Florida
2009           Invited Speaker: “Work, Sleep Hours and Patient Safety”
               Society for Obstetric Anesthesia and Perinatology, 41st Annual Meeting, Washington DC
2009           Invited Speaker Trainee Symposium “Public Health and Sleep”
               Association of Professional Sleep Societies Annual Meeting, Seattle WA
2009           Medicine Grand Rounds
               University of Washington, Seattle, WA
2009           Guest Faculty: “Medical and Genetic Differences in the Adverse Impact of Sleep Loss on
               Performance: Ethical Considerations for the Medical Profession”
               GME Institutional Lecture Series, University of Virginia, Charlottesville, VA
2010           Invited Speaker: “The human circadian rhythm”
               Nocturnal Frontal Lobe Epilepsy [sponsored by Alliance for Epilepsy Research and the
               Office of Rare Diseases Research at the NIH] Sanibel Island, FL
2010           Keynote address: “Neurobiology of the Human Circadian Pacemaker of its Role in the
               Regulation of Sleep”
               MSTP program (MD-PhD), Duke University School of Medicine, Durham, NC
2010           Organizer & Speaker: “Circadian Rhythm Disorders”
               Circadian Rhythms and Metabolic Disease workshop, NIDDK/NIH, Bethesda, MD
2010           “Meet the Professor”
               Society for Research on Biological Rhythms Annual Meeting, Destin FL
2010           Meet the Professor: “Resetting the human circadian pacemaker with light”
               Association of Professional Sleep Societies Annual Meeting, San Antonio, TX
2010           Invited Speaker: “Regulation of sleep in humans”
               Sackler Colloquium - Quantification of Behavior, National Academy of Sciences,
               Washington, DC
2010           Conference Co-chair “Shift work and sleep: Optimizing health, safety and performance”
               American College of Occupational and Environmental Medicine (ACOEM) and NIH,
               Arlington, VA [Sponsored by Cephalon, Inc.]
2011           Invited Speaker “Light, Sleep, and Circadian Regulation of the Pineal Hormone
               Melatonin”
               Endocrine Research Seminar, University of Chicago, Chicago, IL
2011           Invited Speaker “Resident Physician Work Hours, Patient Safety, and Occupational
               Health: Striking a Balance”
               Medicine Grand Rounds, University of Chicago, Chicago, IL
2011           Conference Co-chair “Sleep Health and Safety” and Speaker
               National Sleep Foundation (NSF), Washington DC
2011           Keynote Speaker “The Impact of Sleep Deprivation & Shift Work on Medical Errors”
               North East Sleep Society, Newport RI
2011           Session Chair “Circadian Adaptation to Martian Sol Panel” and Invited Speaker “Near-24-
               hour Intrinsic Period of the Human Circadian Pacemaker: Challenge for Adaptation to the
               Martian Sol”
               18th IAA Humans in Space Symposium, Houston TX
2011           Invited Neonatology Lecture “Circadian Rhythms, Development and Neonatal Intensive
                                                       49
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               Care”
               University of Colorado, Denver CO
2011           Pediatric Grand Rounds “Optimizing Physician Work Hours and Sleep to Improve Patient
               Safety and Occupational Health”
               University of Colorado, Denver CO
2011           Session Chair “Sleep and Memory in Normal Aging” and Invited Speaker “Age-related
               changes in sleep organization”
               Sleep in Aging and Dementias Meeting, NIA, Bethesda MD
2011           Invited Program Speaker “Changing the game: Using circadian bio-markers in clinical
               medicine”
               Minneapolis, MN [Sponsored by Philips/Respironics]
2011           Invited Speaker, Discussion Panel “Sleep Science and the Law: The Legal State of Mind
               of Drowsy and Sleeping Parties in Legal Proceedings”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2011           Chair, Discussion Panel “The National Institutes of Health Sleep Research Plan (2011)”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2011           Invited Speaker, Advisory Committee” Addressing Obstructive Sleep Apnea In CMV
               Drivers”
               Federal Motor Carrier Safety Administration, Alexandria VA
2012           Invited Speaker, Sleeplessness Panel
               WME Entertainment, San Diego CA
2012           Invited Speaker, Ethics Debate: Sleep Deprived Surgeons Should Not be Allowed to
               Operate Without Patients’ Consent
               Society of Thoracic Surgeons, Fort Lauderdale FL
2012           Invited Speaker; Sleep Health & Safety Conference
               National Sleep Foundation, Washington DC
2012           Invited Speaker
               NSBRI Board of Directors, Houston TX
2012           Panelist “The City Dark”
               AAAS, New York City, NY
2012           Meet the Professor
               Society for Research on Biological Rhythms, Destin FL
2012           Speaker, Discussion Panel “Measuring Sleepiness in Drivers: The Challenges and
               Controversies”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker “Body Mass Index is an Effective Measure for Occupational Screening of
               Employees at High Risk for Moderate to Severe Obstructive Sleep Apnea: Implications for
               DOT Commercial Driver Medical Examinations”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2012           Invited Speaker “Sleepless in Seattle (and Elsewhere): Women and the Need for Quality
               Sleep”
               AWHONN (Association of Women's Health, Obstetric and Neonatal Nurses), Annual
               Meeting, National Harbor MD
2013           Invited Speaker “Light as a countermeasure for circadian rhythms, sleep, alertness,
               performance, mood, endocrine and other physiologic factors” and “Effects of sleep and
               sleep deprivation on brain and behavior”
               NSBRI inter-team meeting “Effects of Long Duration Spaceflight on Brain and Behavior”,
               Houston TX
2013           Invited Speaker “Prevalence and Consequences of Sleep Disorders among American Law
               Enforcement Officers”
                                                        50
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               National Sleep Foundation Sleep Health & Safety Conference, Washington DC
2013           Invited Speaker “The Sleep Gap: Why is it growing?”
               Science in Medicine Annual Lecturer, University of Washington, Seattle WA
2013           Faculty Speaker – Postgraduate Course “Basic and Translational Circadian Science for the
               Clinician and Trainee”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2013           Speaker – Discussion Group “Advancing Sleep and Circadian Rhythms Research”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2013           Chair and Speaker “State of the Art Symposium on Drowsy Driving: Impact of Sleep
               Deficiency on Real Motor Vehicle Driving Performance and Perception of Drowsiness”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2013           Invited Speaker “Genetics of Neurobehavioral Functions during the 12-Month ISS Mission
               (ISS12): Capitalizing on Discoveries in Circadian, Sleep and Stress Neurobiology”
               NASA, Houston TX
2013           Invited Special Lecture “Interacting Influence of Sleep and Circadian Clocks on Human
               Physiology and Cognitive Performance”
               Society for Neuroscience Annual Conference, San Diego CA
2014           Faculty Speaker - Emerging Clinical and Business Trends in Sleep Medicine Course.
               “Sleep and Anesthesia: Are They One in the Same?” and “The Role of Circadian Rhythms
               in Pilots Who Navigate Across Time Zones”
               American Academy of Sleep Medicine, Phoenix AZ
2014           Invited Speaker “Shift Work and Its Effects on Healthcare Workers”
               Symposium entitled ‘The Impact of Circadian Disruption on Shift Workers: Healthcare
               and Disease’, Montefiore Medical Center, Bronx NY
2014           Invited Speaker – Workshop “Funding outside the NIH”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Speaker – Discussion Group “Stone soup: Leveraging research resources and
               opportunities”
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Meet the Professor
               Association of Professional Sleep Societies Annual Meeting, Minneapolis MN
2014           Speaker – Workshop “Clocks in the Clinic: Should we have Chronobiology Clinics?”
               Society for Research on Biological Rhythms Biennial Meeting, Big Sky MT
2014           Meet the Professor
               Society for Research on Biological Rhythms Biennial Meeting, Big Sky MT
2014           Invited Presenter “Sleep and Circadian Rhythms in Spaceflight - a review”
               Special Workshop on ‘Sleep on Earth and in Space: Risk Factors, Health & Performance
               Outcomes, and Countermeasures’, NASA/NSBRI, Houston TX
2014           Invited Speaker “Sleep, Health and Safety of First Responders”
               National Sleep Foundation Sleep Health & Safety Conference, Washington DC
2015           Advocate, Sleep Leadership Summit
               National Sleep Foundation, Washington DC
2015           Invited Speaker “Teasing apart the impact of prior exposure to recurrent circadian
               disruption and chronic sleep restriction on pancreatic β-cell responsiveness”
               National Institute of Diabetes and Digestive and Kidney Diseases (NIDDK), Workshop on
               “Impact of Sleep and Circadian Disruption on Energy Balance and Diabetes”, Bethesda
               MD
2015           Invited Faculty “Sleep, Circadian Rhythms, and Performance”
               Stanford University School of Medicine/National Sleep Foundation, CME course
               “Managing Sleep Health in the Primary Care Setting”, Stanford CA
                                                        51
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2015           Speaker “Irregular Sleep In College Students: Consequences For Sleep Consolidation
               Circadian Rhythms And Performance”
               Association of Professional Sleep Societies Annual Meeting, Seattle WA
2015           Invited Speaker “The A to ZZZs of Sleep”
               Robb Report Health and Wellness Summit, Park City UT
2015           Invited Panelist “Sleep for Performance, Safety and Health”
               Office of Naval Research workshop ‘Restorative Sleep’, Arlington VA
2015           Invited Speaker “Interactive Effects of Sleep and Circadian Rhythms on the Performance,
               Safety and Health: Implications for the Military”
               The WRAIR Distinguished Speakers Seminar Program, Walter Reed army Institute of
               Research, Silver Spring MD
2015           Invited Speaker “Circadian Rhythm Disorders”
               Vermont and New Hampshire Society for Respiratory Care, Annual Meeting, Meredith
               NH
2015           Invited Panelist “Digital Media and Psychological/Emotional/Physical Development in
               Adolescents”
               Arthur M. Sackler Colloquium Digital Media and Developing Minds, Irvine CA
2015           Invited Speaker “Balancing the Needs for Research and Action”
               National Highway Traffic Safety Administration (NHTSA) Drowsy Driving Forum,
               Washington DC
2015           Invited Speaker “Drowsy Driving Overview: Data, Measurement & Contributing Factors”
               Sleep Health and Safety Conference, National Sleep Foundation (NSF), Washington DC
2015           Invited Speaker “Impact of Circadian Rhythms on Sleep and Sleep Disorders”
               Sleep Summit: Advanced Topics in Narcolepsy and OSA, Sponsored by Jazz
               Pharmaceuticals, Palo Alto CA
2016           Keynote Speaker “Sleep Deficiency and Motor Vehicle Crashes”
               Maryland Sleep Society Seventh Annual Scientific Meeting, Baltimore MD
2016           Speaker – Symposium “Effects of light on human circadian rhythms”
               Society for Research on Biological Rhythms Biennial Meeting, Tampa FL
2016           Speaker “Brigham and Women's Hospital Presents: Living Better Longer - The Science
               Behind Healthy Aging”
               BWH Spotlight Health at Aspen Ideas Festival, Aspen CO
2016           Invited Speaker “The Secrets of Sleep”
               Robb Report Health and Wellness Summit, Park City UT
2016           Invited Panelist “How Sleep Can Improve Your Bottom Line”
               National Sleep Foundation Sleep Works Summit, Washington DC
2017           Invited Panelist “Mini Symposium in Circadian Rhythms”
               Hawaii Sleep Health and Wellness Foundation's Conference
2017           Invited Speaker “Circadian Clocks, Sleep and Health”
               UC San Diego Circadian Biology Symposium, San Diego CA
2017           Invited Speaker “Sleep Regulation in Humans”
               Invited Speaker University of Washington Graduate Program in Neuroscience, Seattle WA
2017           Invited Speaker “Deficient Sleep in Teens: The Consequences. Impact on Health”
               Adolescent Sleep, Health, and School Start Times, Washington DC
2017           Invited Speaker “OSA and Trains, Planes and Automobiles”
               American Academy of Dental Sleep Medicine Annual Meeting, Boston MA
2017           Speaker “The Global Council on Brain Health Consensus Statement and
               Recommendations for Maintaining Healthy Sleep for Brain Health”
               Association of Professional Sleep Societies Annual Meeting, Boston MA
2017           Invited Speaker “Chronobiology, Circadian Rhythms, and Sleep: Clinical and Advanced
                                                        52
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               Translational FindingsDoD State of the Science Summit Pathophysiology of PTSD:
               Rethinking Drug Targets
2017           Speaker “Brigham and Women's Hospital Presents: Vulnerabilities and Resiliency across
               the Life Span: The Brain”
               BWH Spotlight Health at Aspen Ideas Festival, Aspen CO
2017           Invited Speaker “Sleep and Fatigue Effect on Performance”
               Special Operations Forces (SOF) Performance Nutrition Summit, Fort Bragg NC
2017           Invited Speaker for 4 talks:
                   1: Sleep Medications and Athletic Performance
                   2: Circadian Effect on Sports Performance
                   3: Sleep and Fatigue Management in the Workplace: Jet lag & Travel Fatigue for
                   Business Management
                   4: Panel Discussion: Going Without Sleep is Nothing to Brag About
               Alaska Sleep Conference, Anchorage AK sponsored by Ganesco
2017           Invited Speaker “Fatigue in our heroes: Addressing fatigue risk in first responders story”
               National Safety Council Annual Meeting, Indianapolis IN
2018           Invited Speaker “Circadian clock regulation of sleep and wakefulness in humans”
               Salk/Foundation Ipsen/Science Symposium on Biological Complexity: Biology of Time
               (Circadian, Lunar and Seasonal Rhythms), La Jolla CA
2018           Invited speaker for colloquium on “Sleep, Chronic Fatigue and Autoimmune Disease”
               AARDA (American Autoimmune Related Disease Association), Washington DC
2018           Invited Speaker for IES 2018 Research Symposium Light + Human Health
               IES (Illuminating Engineering Society), Atlanta GA
2018           Invited Speaker “Sleep and Circadian Rhythms: Impact on Performance, Health and Safety
               of U.S. Navy and Marine Corps Personnel”
               Office of Naval Research (ONR) Distinguished Lecture Series, Arlington VA
2018           Invited Speaker “Guidelines of OSA Management in Commercial Motor Vehicle
               Operators”
               American Academy of Dental Sleep Medicine Annual Meeting, Baltimore MD
2018           Speaker “Is sleeping long bad for you”
               Association of Professional Sleep Societies Annual Meeting, Baltimore MD
2018           Invited Speaker “Sleep Timing Variability Consensus Panel”
               National Sleep Foundation Sleep Health Forum, Association of Professional Sleep
               Societies Annual Meeting, Baltimore MD
2018           Invited Speaker “The Sleep Deprived Brain’s Influence on Aging”
               6th Annual AspenBrainLab, Aspen Brain Institute, Aspen CO
2018           Expert Panelist for Drowsy Driving Attitudes, Knowledge, and Behavior Project.
               NHTSA, Washington DC
2018           Invited Panel Speaker, SRS Regulatory Meeting
2019           Neurology Grand Rounds, University of California, Los Angeles
2020           Invited Speaker, Frontiers in Circadian Medicine, New York Academy of Sciences
2021           Invited Speaker, Digital Media and Mental Health Research Retreat, Institute of Digital
               Media and Child Development
2021           Invited Speaker, University of Colorado Sleep and Circadian Summer School
2021           Invited Speaker, Let’s Sleep Webinar Series, Start School Later
2021           Speaker, Sleep Research Society Focus Group on COVID-19 and Sequelae: Critical
               Opportunities for Sleep and Circadian Sciences Research
2021           Cardiology Grand Rounds, Mt. Sinai Hospital, New York, NY
2022           Invited Speaker, National Youth Science Camp
2022           Invited Speaker, American Osteopathic Academy of Sports Medicine Annual Meeting
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International
1976            Invited Speaker.
                Max-Planck-Institüt für Verhaltensphysiologie, Erling-Andechs, Germany
Between         Invited Speaker.
1976-1980       3rd International Congress of Sleep Research, Tokyo
Between         Invited Speaker.
1981-1984       International Union of Physiological Sciences, Budapest
Between         Invited Speaker.
1981-1984       International Workshop on Sleep/wake disorders: natural history, epidemiology and long-
                term evolution, Ravena, Italy
1984            Invited Speaker. Symposium on Biological Rhythms.
                International Congress on Neuroreceptor Mechanisms in Human Disease, Fondazione
                Internationale Menarini, Florence, Italy
1986            “Effects of automation on operator performance”. Invited Speaker
                Commission of the European Communities, Université René Descartes, Paris, France
1987            Invited Speaker.
                5th International Congress of Sleep Research, Copenhagen, Denmark
1987            Invited Speaker.
                German Institute for Aerospace Medicine, Köln, Germany
1987            Invited Speaker.
                International Conference on Chronobiology, Leiden, Netherlands
1987            Invited Speaker.
                NATO Defense Research Group Seminar on Sleep and its Implications for the Military,
                Lyon, France
1988            Invited Speaker.
                European Congress of Sleep Research, Jerusalem
1988            Invited Speaker.
                Workshop on Polyphasic and Ultrashort Sleep-Wake Patterns, Tuscany, Italy
1988            Invited Speaker.
                Institute of Pharmacology, University of Zurich, Zurich, Switzerland
1988            Invited Speaker.
                Tenth International Symposium, Center of Research on Neurological Sciences, University
                of Montreal, Quebec, Canada
1989             “Mechanisms in the timing of sleep: Consequences for depression research”. Invited
                Speaker.
                University of Groningen 375th Anniversary Symposium, Netherlands
1989            “Cardiovascular and Nervous System Effects of Ovarian Secretions”. Invited Speaker.
                Serono Symposium, Dubrovnik, Croatia
1989            Invited Speaker.
                2nd Milano International Symposium on Sleep, Milan, Italy
1989-1990       Faculty research sponsor; Research Elective 1 medical student; ~15 hours/year
                Philipps University, Marburg, Germany
1992-1994       Faculty research sponsor; Research Elective 1 medical student; ~15 hours/year
                Medical School of the Technical University of Munich, Munich, Germany
1998-2003       Co-Mentor, Doctoral Student in Pharmacology
                Swiss Federal Institute of Technology, Zurich, Switzerland
1990            Invited Speaker
                17th Congress, Collegium Internationale Neuro-Psychopharmacologicum, Kyoto, Japan

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1990           Invited Speaker
               American Society for Photobiology, Vancouver, British Columbia, Canada
1990           Invited Speaker
               Workshop on Psychophysiological Measures in Transport Operations, Commission of the
               European Communities, Paris, France
1990           Invited Speaker
               Japan Institute for the Science of Labor, Tokyo, Japan
1990           Invited Speaker
               National Institute of Health Services and the Central Health Institution, Tokyo, Japan
1991           Invited Symposium Speaker/Co-Chairperson: “Endocrine and Metabolic Correlates of
               Sleep and Wakefulness in Humans”
               Invited Workshop Speaker: “Constant Routines”
               World Federation of Sleep Research Societies, Cannes, France
1991           Invited Speaker
               Study Group on Circadian Rhythms, Fondation pour L'Etude du Systeme Nerveux et
               Peripherique, Geneva, Switzerland
1991           Invited Speaker
               Gordon Research Conference on Chronobiology, Irsee, Germany
1991           Invited Speaker
               Workshop on Concepts and Models of Sleep Regulation, Zurich, Switzerland
1992           Keynote Speaker
               International Brain Research Organization-Suisse, Zurich, Switzerland
1994           Invited Speaker
               International Conference on Work Hours, Sleepiness and Accidents Karolinska Institute,
               Stockholm, Sweden.
Between        Invited Speaker
1994-1996      Ciba Foundation Symposium, London, United Kingdom

1995           Invited Speaker
               World Federation of Sleep Research Societies, Bahamas
1996           Invited Speaker
               Japanese Society for Sleep Research, Sapporo, Japan
1996           Invited Speaker
               International Workshop on Circadian Light Reception and Regulation, Lyon, France
Between        Invited Speaker
1997-2001      International Conference on Managing Fatigue in Transportation, Karolinska Institute,
               Stockholm, Sweden
Between        Workshop chair and Trainee Day speaker
1997-2001      Third International Congress, World Federation of Sleep Research Societies, Dresden,
               FRG
2002           Symposium co-chair and Invited Speaker
               American Society for Photobiology, Quebec City, Canada
Between        Invited Speaker
2002-2008      1st International Conference on Circadian Rhythms, Sleep and Cognition, Toronto, Canada
2003           Plenary Speaker
               World Congress on Chronobiology, Sapporo, Japan
2003           Invited Speaker. Autumn School “Circadian Rhythms”
               Institute of Biology, Humboldt-University, Charité Hospital, Berlin, Germany
2003           Invited Speaker
               British Medical Association, London, United Kingdom
                                                       55
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2003           Invited Speaker
               Gordon Research Conference on Chronobiology, Barga, Italy
2003           Invited Speaker
               Launch Event, Surrey Sleep Research Centre, Guildford, England
2004           Invited Speaker
               Spark Workshop, Unilever, United Kingdom
2004           Invited Speaker
               2nd Annual Sleep Disorders Forum, Sanofi Synthelabo, Paris, France
2005           Plenary Address
               X International Congress, Brazilian Sleep Research Society, Curitiba, Brazil
2005           Plenary Speaker
               New Zealand Resident Doctors Association Professional Conference on Safer Working
               Hours in Medicine, Auckland, New Zealand
2006           Distinguished Leader in Medicine Lecture “Work Hours, Health and Safety in the Medical
               Profession”
               Dalhousie University, Halifax, Canada
2007           Invited Speaker “The neurobiology of the human circadian pacemaker, and medical
               education in the United States”
               Osaka University, Japan
2007           Invited Speaker “"Neurobiology of the human circadian pacemaker and Sleep Regulation"
               & "Establishing Divisions of Sleep Medicine at the Harvard Medical School: Fostering
               education, patient care and research"
               University of Tsukuba, Japan
2007           Invited Speaker. “Recent advances of sleep medicine for work safety”
               Tokyo Electric Power Company, Japan
2007           Invited Speaker “Clinical trial of the efficacy of Modafinil in the treatment of shift work
               sleep disorder”
               Japanese Sleep Research Society, Japan
2007           Invited Speaker “Sleep loss and sleep disorders: Public health impact”
               Monash University, Melbourne, Australia
2007           Invited Speaker “Safe working hours and Fatigue”
               and Panelist “Different perspectives on the health industry workforce”
               University of Sydney, Australia
2007           Invited Speaker “Influence of Internal Circadian Phase on Excessive Sleepiness and
               Behavioral Alertness in Patients with Shift-Work Sleep Disorder (SWSD)”
               18th International Symposium on Shiftwork and Working Time, Yeppoon, Australia
2007           Plenary Speaker “Sleep Medicine in the 21st Century”
               5th Congress of the World Federation of Sleep Research and Sleep Medicine Societies,
               Cairns, Australia
2007           Invited Speaker “Sleep Medicine and Education”
               University of Zurich, Switzerland
2007           Invited Speaker “24 Hour Society and Work; an Update on Better Shift Work”
               Harvard Medical School Dubai Center Institute for Postgraduate Education & Research,
               Dubai, UAE
2008           Invited Speaker “Sleep, work, productivity and safety”
               6th International Sleep Disorders Forum, Toronto, Canada
2010           Symposium Co-chair “Sleep in unusual and extreme environments”
               20th Meeting of the European Sleep Research Society, Lisbon, Portugal
2010           Invited Speaker “Sleep deficiency, drowsiness and circadian dysregulation: assessment,
               consequences and treatment approaches”
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               Decade of the Mind Conference, Singapore
2010           Invited Speaker
               Astronaut Center of China, Beijing, China
2011           Invited Speaker “Regulation of sleepiness: the importance of light, circadian rhythms, and
               homeostasis”
               Stress Research Institute, University of Stockholm: Working Time Society; Satellite
               Symposium ‘The Sleepy Brain’, Stockholm, Sweden
2011           Invited Speaker “Fatigue risk management in transport”
               Working Time Society; 20th International Symposium on Shiftwork and Working Time
2011           Keynote Speaker “Sleep and Work Schedules in Modern Society”
               World Association of Sleep Medicine, Quebec City, Canada
2011           Invited Educational Lecture “Circadian Rhythms, Human, Sleep & Wake”
               6th World Congress of the World Sleep Federation, Kyoto, Japan
2011           Invited Speaker “Sleep in Space”
               JAXA Symposium, Kyoto, Japan
2011           Invited Speaker
               Satellite Meeting ‘Translational Sleep Research - From animal research to human study’,
               Kyoto, Japan
2011           Invited Public Lecture
               Kyoto, Japan
2011           Invited Speaker
               International Symposium on Photonic Bioimaging and Satellite Symposium of WorldSleep
               2011 on Human Circadian Clock: the 50th anniversary of temporal isolation study,
               Sapporo, Japan
2011           Invited Speaker
               Board of Directors Meeting, Canadian Association of Internes & Residents, Ottawa ON
               (remote presentation)
2012           Invited Speaker “Human circadian rhythms: Impact on sleep and cognition”
               Seminar in Neuroscience, Biocentre in Basel, Basel, Switzerland
2012           Invited Speaker “Shift work, circadian rhythms, health and performance” & “Work hours,
               sleep and patient safety in medicine”
               International Postgraduate Course “The Risk of Fatigue”, University Hospital, Basel,
               Switzerland
2013           Invited Speaker
               “Non-visual Forum, University of Manchester, Manchester, United Kingdom
2013           Invited Speaker “Pathophysiology of Drowsy Driving: Impact of Circadian Rhythms,
               Sleep Deficiency and Shift Work”
               Excessive Daytime Sleepiness, Work and Road Safety Conference, University of Bologna,
               Bologna, Italy
2013           Invited Speaker – Special Lecture “Role of Sleep Medicine and Chronobiology for
               Optimizing Productivity, Safety and Health in the Workplace”
               86th Annual Meeting of the Japan Society for Occupational Health, Matsuyama City,
               Japan (remote presentation)
2014           Discussion Leader in three sessions (1) ‘Rethinking Health’, (2) ‘Do-it-yourself Health’
               and (3) ‘From Hyper to Healthy’
               World Economic Forum, Annual Meeting 2014, Davos-Klosters, Switzerland
2014           Invited Lecture
               University of Bordeaux, Bordeaux, France.
2016           Invited Speaker
               Zurich Global Risk Management Summit, Cannes, France
                                                        57
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2016            Invited Lecture “Non-24-Hour Disorder: History, Pathophysiology and Clinical
                Assessment”
                Annual Congress of the German Sleep Society (DGSM), Dresden Germany
2017            Plenary Speaker, “Impact of Artificial Light on Entrainment of the Human Circadian”
                Annual Congress, European Biological Rhythms Society (EBRS), Amsterdam Netherlands
2018            Keynote Lecture “Sleep and Health: A Clinical Research Priority”
                Zurich Sleep Medicine Symposium 2018 / International Symposium of the CRPP Sleep &
                Health, University of Zürich, Zürich, Germany
2018            Invited Faculty “The Role of Circadian Biology in Preventing and Treating Pathology”
                Ludwig-Maximilians-University of Munich, Germany
2019            Plenary Speaker, Annual Assembly of the Leopoldina: Nationale Akademie der
                Wissenschaften (German National Academy of Science), Leipzig, Germany
2019            Keynote Speaker, Bernese Sleep‐Wake Symposium, University of Bern, Switzerland
2022            Invited Speaker, SLEEP 2022, American Academy of Sleep Medicine and Sleep Research
                Society, Associated Professional Sleep Societies Annual Meeting, Tom Roth Lecture of
                Excellence: Enhancing Sleep Literacy Among College Students, Charlotte, North Carolina
2022            Invited Speaker, International Federation of Medical Students’ Associations in Japan and
                Federation of Medical Student Association in Taiwan


Report of Clinical Activities and Innovations
Current Licensure and Certification
1982-            Diplomate, American Board of Sleep Medicine

Report of Technological and Other Scientific Innovations
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 612182. Issue Date: 10/25/91; Country: Australia.
Subject’s
Endogenous
Circadian Cycle.
Test for Evaluation    Czeisler CA, Martens H, Shanahan TL. Assignee: Brigham and Women’s Hospital.
of Visual              Patent Number 5,146,927. Issue Date: 9/15/92; Country: U.S.
Functioning in
Visually Impaired
Subjects.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a      Patent Number 5,163,426. Issue Date: 11/17/92; Country: U.S.
Subject’s
Endogenous
Circadian Cycle.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of        Patent Number 5,167,228. Issue Date: 12/1/92; Country: U.S.
Endogenous
Circadian Phase and
Amplitude.
Assessment and         Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of        Patent Number 5,176,133. Issue Date: 1/5/93; Country: U.S.
Circadian Phase and
                                                            58
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Amplitude.
Assessment and           Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a        Patent Number 1327630. Issue Date: 3/8/94; Country: Canada.
Subject’s
Endogenous
Circadian Cycle.
Assessment and           Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a        Patent Number 5,304,212. Issue Date: 4/19/94; Country: U.S.
Human Subject’s
Circadian Cycle.
Apparatus for            Czeisler CA, Kronauer RE, Kyricos CJ. Assignee: Brigham and Women’s Hospital and
Producing and            Light Sciences, Inc. Patent Number 5,503,637. Issue Date: 4/2/96; Country: U.S.
Delivering High-
Intensity Light to a
Subject.
Intermittent Use of      Czeisler CA, Kronauer RE. Assignee: Brigham and Women’s Hospital. Patent
Bright Light to          Number 5,545,192. Issue Date: 8/13/96; Country: U.S.
Modify the Circadian
Phase.
Method of                Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Facilitating the         Patent Number 363440. Issue Date: 5/14/97; Country: Europe (Recorded in Austria,
Physiological            Belgium, France, Germany, Italy, Luxembourg, Netherlands, Sweden, Switzerland,
Adaption to an           Liechtenstein & Great Britain).
Activity/Rest
Schedule and
Apparatus for
Prescribing a
Substantially
Optimum Stimulus
Regimen of Pulses of
Bright Light to
Allow a Subject’s
Circadian Cycle to be
Modified to a
Desired State.
Method and Device        Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
for Modifying the        Patent Number 477282. Issue Date: 5/14/97; Country: Europe (Recorded in Austria,
Circadian Cycle in       Belgium, Switzerland, Liechtenstein, Germany, Denmark, Spain, France, Great Britain,
Humans.                  Italy, Luxembourg, Netherlands & Sweden).
Assessment and           Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women’s Hospital.
Modification of a        Patent Number 2739725. Issue Date: 1/24/98; Country: Japan.
Subject’s
Endogenous
Circadian Cycle.
Modification of          Czeisler CA, Kronauer RE, Allan JS. Assignee: Brigham and Women's Hospital.
Endogenous               Patent Number 2928636. Issue Date: 5/14/99; Country: Japan.
Circadian
Pacemaker.
Test for evaluation of   Czeisler CA, Martens H, Shanahan TL. Assignee: Brigham and Women's Hospital.
visual functioning in    Filing Date: 6/15/92; Country: WO.
                                                        59
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visually impaired
subjects
Method for                Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
modifying or              Filing Date: 7/14/04; Country: WO. CA. JP. U.S (util)
resetting the             Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
circadian cycle using     Filing Date: 4/25/05; Country: U.S. (pct)
short wavelength
light
High sensitivity of       Brainard GC, Czeisler CA, Kronauer RE, Lockley SW. Brigham and Women's Hospital.
the human circadian       Filing Date: 7/14/04; Country: EP
pacemaker to
resetting by short
wavelength light.

Report of Education of Patients and Service to the Community
Activities
2008                Panelist, Discovery Panel, NASA Future Forums. Museum of Science, Boston, MA
                    http://www.nasa.gov/50th/future_forums/bostonWithGallery.html

2011                Invited Speaker “Sleep to Thrive” TEDx Cambridge ‘Thrive’, Cambridge, MA
                    http://www.tedxcambridge.com/thrive/charles-a-czeisler/

2012                Invited Speaker webcast FORUM presentation, Harvard School of Public Health, Boston, MA
                    “FIGHTING THE CLOCK: How America’s Sleep Deficit is Damaging Long-term Health”
                    http://theforum.sph.harvard.edu/events/sleep-deprivation-fighting-the-clock

2012            Invited Speaker, “The City Dark” AAAS Washington, DC
                http://www.aaas.org/news/releases/2012/0531night_sky.shtml




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Report of Scholarship
Peer reviewed publications in print or other media
Research Investigations

1.    Czeisler CA, Moore-Ede MC, Regestein QR, Kisch ES, Fang VS, Ehrlich EN. Episodic 24-hour cortisol
      secretory patterns in patients awaiting elective cardiac surgery. J Clin Endocrinol Metab 1976; 42:273-
      283. PMID: 1262431

2.    Kokkoris CP, Weitzman ED, Pollak CP, Spielman AJ, Czeisler CA, Bradlow H. Long term ambulatory
      temperature monitoring in a subject with a hypernychthemeral sleep-wake cycle disturbance. Sleep
      1978; 1:177-190. PMID: 756061

3.    Czeisler CA, Weitzman ED, Moor e-Ede MC, Zimmerman JC, Knauer RS. Human sleep: its duration
      and organization depend on its circadian phase. Science 1980; 210:1264-1267. PMID: 7434029

4.    Lydic R, Schoene WC, Czeisler CA, Moore-Ede MC. Suprachiasmatic region of the human
      hypothalamus: homolog to the primate circadian pacemaker? Sleep 1980; 2:355-362. PMID: 6773133

5.    Czeisler CA, Zimmerman JC, Ronda J, Moore-Ede MC, Weitzman ED. Timing of REM sleep is
      coupled to the circadian rhythm of body temperature in man. Sleep 1980; 2:329-346. PMID: 7403736

6.    Weitzman ED, Czeisler CA, Zimmerman JC, Ronda JM. Timing of REM and stages 3 + 4 sleep during
      temporal isolation in man. Sleep 1980; 2:391-408. PMID: 7403740

7.    Zimmerman JC, Czeisler CA, Laxminarayan S, Knauer RS, Weitzman ED. REM density is dissociated
      from REM sleep timing during free-running sleep episodes. Sleep 1980; 2:409-416. PMID: 7403741

8.    Czeisler CA, Richardson GS, Coleman RM, Zimmerman JC, Moore-Ede MC, Dement WC, Weitzman
      Ed. Chronotherapy: resetting the circadian clocks of patients with delayed sleep phase insomnia. Sleep
      1981; 4:1-21. PMID: 7232967

9.    Weitzman ED, Czeisler CA, Coleman RM, Spielman AJ, Zimmerman JC, Dement WC, Richardson GS,
      Pollak CP. Delayed sleep phase syndrome: a chronobiological disorder with sleep-onset insomnia.
      Archiv Gen Psychiatry 1981; 38:737-746. PMID: 7247637

10.   Czeisler CA, Richardson GS, Zimmerman JC, Moore-Ede MC, Weitzman ED. Entrainment of human
      circadian rhythms by light-dark cycles: a reassessment. Photochem Photobiol 1981; 34:239-247. PMID:
      7267730

11.   Bernstein IL, Zimmerman JC, Czeisler CA, Weitzman ED. Meal patterns in free-running humans.
      Physiol Behav 1981; 27:621-623. PMID: 7323164

12.   Kronauer RE, Czeisler CA, Pilato SF, Moore-Ede MC, Weitzman ED. Mathematical model of the
      human circadian system with two interacting oscillators. Am J Physiol 1982; 242:R3-R17. PMID:
      7058927

13.   Weitzman ED, Moline ML, Czeisler CA, Zimmerman JC. Chronobiology of aging: temperature, sleep-

                                                          61
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      wake rhythms and entrainment. Neurobiol Aging 1982; 3: 299-309. PMID: 7170047

14.   Czeisler CA, Moore-Ede MC, Coleman RM. Rotating shift work schedules that disrupt sleep are
      improved by applying circadian principles. Science 1982; 217:460-463. PMID: 7089576

15.   Weitzman ED, Zimmerman JC, Czeisler CA, Ronda J. Cortisol secretion is inhibited during sleep in
      normal man. J Clin Endocrinol Metab 1983; 56:352-358. PMID: 6822642

16.   Gander PH, Kronauer RE, Czeisler CA, Moore-Ede MC. Simulating the action of zeitgebers on a
      coupled two-oscillator model of the human circadian system. Am J Physiol 1984;247:R418-R426. PMID:
      6476142

17.   Gander PH, Kronauer RE, Czeisler CA, Moore-Ede MC. Modeling the action of zeitgebers on the
      human circadian system: comparisons of simulations and data. Am J Physiol 1984; 247:R427-R444.
      PMID: 6476143

18.   Richardson GS, Moore-Ede MC, Czeisler CA, Dement WC. Circadian rhythms of sleep and wakefulness
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19.   Emens JS, Klerman EB, Czeisler CA. Toward a new nosology for non-24-hour sleep-wake rhythm
      disorder. J Clin Sleep Med. 2021 Dec 1. doi: 10.5664/jcsm.9810. Epub ahead of print. PMID: 34846294.

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Professional educational materials or reports, in print or other media

Television Documentaries

The Infinite Voyage: Chronobiology (WQED, PBS/Pittsburgh)—Served on five-member expert advisory panel
for this documentary in a series co-produced by WQED and the NAS under the auspices of the National
Academy of Sciences Film Committee. 1989. Michael S. Shaw, MD, Lee Bobker, Dita Domonkos (Producers
and Directors).

Journey Into Sleep (Health Science Media). 1990 Winner: Cine Golden Eagle Film & Video Competition.
William Bensen (Senior Producer/Director), Darrell Mohr (Producer/Editor), Jennifer Pulley (Host).

NASA CONNECT™—The Right Ratio of Rest: Proportional Reasoning. Appeared in and served as scientific
advisor for this educational film produced for middle school children grades 5-8 by NASA Langley Research
Center's Office of Educational Programs; first broadcast September 22, 2005. (Winner or Regional Emmy in
Service Program category from the National Capital Chesapeake Bay Chapter of the National Academy of
Television Arts and Sciences)

Chronobiology: The Time of Our Lives. Roger Bingham (Executive Producer and Writer), Teyra Ryan
(Producer), John Rubin (Writer). KCET-TV (PBS/Los Angeles) Science and Society Unit, Frontiers of the
Mind—A KCET production; Community Television of Southern California. 1998; 58 minutes.

The Nature of Things: The Sleep Famine (SBS Television, Australia). David Suzuki (Host), Michael Allder
(Executive Producer), Bruce Martin (Screenwriter), Vishnu Mathur (Producer, Director). 2000 (A New York
Times Critic’s Pick)

Reports

Institute of Medicine, Division of Mental Health and Behavioral Medicine, Health and Behavior: Frontiers of
Research in the Biobehavioral Sciences, Hamburg DA, Elliott GR, Parron DL, eds. Washington DC: National
Academy Press, 1982. Member of Task Force on Health and Behavior Monograph.

Committee on Science and Technology House of Representatives. Ninety-eighth Congress. Biological Clocks
and shift work scheduling. Washington DC: US Government Printing Office, 1983. Witness in the Hearings
before the Subcommittee on Investigations and Oversight

Center for Design of Industrial Schedules. Final Report on the Philadelphia Police Department Shift
Rescheduling Program. Prepared for the Fraternal Order of Police, Lodge No. 5, Philadelphia PA, 1988.

U.S. Congress, Office of Technology Assessment, Biological Rhythms: Implications for the worker, OTA-BA-
463. Washington, DC: Government Printing Office, September 1991. Member of Biological Rhythms Study
Panel.

American Academy of Sleep Medicine. The International Classification of Sleep Disorders, Revised. Diagnostic
and Coding Manual. Chicago, IL: American Academy of Sleep Medicine 2001. Member of Diagnostic
Classification Steering Committee of the American Academy of Sleep Medicine.

American Academy of Sleep Medicine. The International Classification of Sleep Disorders, 2nd Ed. Diagnostic

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and Coding Manual. Westchester, IL: American Academy of Sleep Medicine 2005. Member of Circadian
Rhythm Sleep Disorders Task Force.

U.S. Department of Transportation’s Federal Motor Carrier Safety Administration. Expert Panel
Recommendations: Obstructive Sleep Apnea and Commercial Motor Vehicle Safety January 2008. Ancoli-Israel
S, Czeisler CA, George CF, Guilleminault C, Pack AI.
Available at: http://www.fmcsa.dot.gov/rules-regulations/TOPICS/mep/report/Sleep-MEP-Panel-
Recommendations-508.pdf

National Academy of Sciences. Commercial Motor Vehicle Driver Fatigue, Long-Term Health, and Highway
Safety: Research Needs. Washington DC: National Academies Press, 2016. Panel on Research Methodologies
and Statistical Approaches to Understanding Driver Fatigue Factors in Motor Carrier Safety and Driver Health;
Committee on National Statistics; Board on Human-Systems Integration; Division of Behavioral and Social
Sciences and Education; Transportation Research Board; National Academies of Sciences, Engineering, and
Medicine. Member of the Panel on Research Methodologies and Statistical Approaches to Understanding Driver
Fatigue Factors in Motor Carrier Safety and Driver Health. Available at:
http://www.nap.edu/catalog/21921/commercial-motor-vehicle-driver-fatigue-long-term-health-and-highway-
safety

Thesis

1.       Czeisler CA. Psychoendocrine study on the effects of anxiety: the nychthemeral pattern of plasma
         cortisol levels in patients awaiting elective cardiac surgery (A.B. thesis, summa cum laude). Cambridge
         MA: Harvard College, 1974;1-94.

2.       Czeisler CA. Internal organization of temperature, sleep-wake, and neuroendocrine rhythms monitored
         in an environment free of time cues (Ph.D. thesis). Stanford CA: Stanford University, 1978;1-346.


Abstracts, Poster Presentations and Exhibits Presented at Professional Meetings (Past 3 years only)

2012

1.       Chang AM, Anderson C, Cain S, Czeisler C. Effect of different light regimens for circadian entrainment
         to an 8-hour advance of sleep. Abstract. 13th Biennial Meeting of the Society for Research in Biological
         Rhythms (SRBR) Destin, FL; 2012 May 19-23:S21

2.       Cain S, Vlassac I, Gooley J, Rahman S, Van Reen E, Rueger M, St. Hilaire M, Klerman E, Czeisler C,
         Lockley S. Sex differences in seasonal timing of the circadian clock in humans. Abstract. 13th Biennial
         Meeting of the Society for Research in Biological Rhythms (SRBR) Destin, FL; 2012 May 19-23:S66

3.       Duffy JF, Ward K, Silva EJ, Dennison CF, Kronauer RE, Czeisler CA. One day of dim light sensitizes
         the human circadian timing system. Abstract. 13th Biennial Meeting of the Society for Research in
         Biological Rhythms (SRBR) Destin, FL; 2012 May 19-23:P53.

4.       Flynn-Evans E, Barger L, Kubey A, Wright K, Czeisler CA. Sleep and circadian rhythms in
         crewmembers during space shuttle missions. Abstract. 13th Biennial Meeting of the Society for Research
         in Biological Rhythms (SRBR) Destin, FL; 2012 May 19-23:P224.

5.       Lee M, Howard M, Liang Y, Horrey W, Anderson C, Shreeve M, O’Brien C, Czeisler CA. Ocular
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      measurements of drowsiness and driving performance after night shift work. Abstract. 13th Biennial
      Meeting of the Society for Research in Biological Rhythms (SRBR) Destin, FL; 2012 May 19-23:P280.

6.    Sazuka N, Wang W, Wyatt J, Czeisler CA, Klerman E. Differential effects of two alertness promoting
      agents on sleep quantified using transition analysis. Sex differences in seasonal timing of the circadian
      clock in humans. Abstract. 13th Biennial Meeting of the Society for Research in Biological Rhythms
      (SRBR) Destin, FL; 2012 May 19-23:P135.

7.    Barger L, Rajaratnam SM, Lockley SW, Sullivan J, O’Brien C, Qadri S, Czeisler CA. Sleep disorders
      are associated with adverse health and safety in firefighters. Abstract. 26th Annual Meeting of the
      Associated Professional Sleep Societies, LLC (APSS) Boston, MA; Sleep 2012; 35:A60.

8.    Barger L, Rajaratnam SM, Lockley SW, Wang W, Landrigan CP, O’Brien C, Qadri S, Sullivan J, Cade
      BE, Czeisler CA. Sleep disorders are associated with adverse performance and safety in police officers.
      Abstract. 26th Annual Meeting of the Associated Professional Sleep Societies, LLC (APSS) Boston, MA;
      Sleep 2012; 35: A442.

9.    Buxton AM, Hu K, Wang W, Cain SW, Porter J, O’Connor SP, Mohamed YA, Duffy JF, Czeisler CA,
      Shea SA. Energy balance considerations during chronic sleep restriction and circadian misalignment.
      Abstract. 26th Annual Meeting of the Associated Professional Sleep Societies, LLC (APSS) Boston, MA;
      Sleep 2012; 35:A105.

10.   Chang A, Aeschbach D, Duffy JF, Czeisler CA. Impact of evening use of light-emitting electronic
      readers on circadian timing and sleep latency. Abstract. 26th Annual Meeting of the Associated
      Professional Sleep Societies, LLC (APSS) Boston, MA; Sleep 2012; 35:A205.

11.   Chang A, Anderson C, Cain SW, Czeisler CA. Evaluation of photic countermeasures for circadian
      entrainment to an 8-hour advance of sleep. Abstract. 26th Annual Meeting of the Associated Professional
      Sleep Societies, LLC (APSS) Boston, MA; Sleep 2012; 35:A212.

12.   Czeisler CA, Shea SA, Lockley SW, Barger L, O’Brien C, Qadri S, Epstein LJ, White D, Rajaratnam S.
      Body Mass Index is an effective measure for occupational screening of employees at high risk for
      moderate to severe Obstructive Sleep Apnea: Implications for DOT commercial driver medical
      examinations. Abstract. 26th Annual Meeting of the Associated Professional Sleep Societies, LLC
      (APSS) Boston, MA; Sleep 2012; 35: A138.

13.   Flynn-Evans EE, Kubey A, Wang W, Wright KP, Czeisler CA, Barger L. Sleep duration among 64
      astronauts on space shuttle missions. Abstract. 26th Annual Meeting of the Associated Professional Sleep
      Societies, LLC (APSS) Boston, MA; Sleep 2012; 35:A116.

14.   Lee ML, Howard ME, Horrey WJ, Liang Y, Anderson C, Shreeve MS, O’Brien C, Czeisler CA. Ocular
      measurement of drowsiness and driving impairment in shift-workers. Abstract. 26th Annual Meeting of
      the Associated Professional Sleep Societies, LLC (APSS) Boston, MA; Sleep 2012; 35: A68.

15.   Phillips AJ, Breslow ER, Huang JM, St. Hilaire MA, Klerman EB. Actigraphic sleep patterns and obesity
      in older men and women. Abstract. 26th Annual Meeting of the Associated Professional Sleep Societies,
      LLC (APSS) Boston, MA; Sleep 2012; 35: A212.

16.   Rajaratnam S, Barger L, Lockley SW, Shea SA, Wang W, Landrigan CP, O’Brien C, Qadri S, Sullivan
      J, Czeisler CA. Sleep disorders are associated with adverse physical and mental health outcomes in
      police officers. Abstract. 26th Annual Meeting of the Associated Professional Sleep Societies, LLC
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17.    Tucker AM, Czeisler CA, Wright KP. Individual differences in lapses of attention during sleep
       deprivation are stable across the biological night and subsequent biological day. Abstract. 26th Annual
       Meeting of the Associated Professional Sleep Societies, LLC (APSS) Boston, MA; Sleep 2012; 35:
       A111.

2013

18.    Flynn-Evans EE, Barger LK, Kubey A, Wright KP Jr., Klerman EB, and Czeisler CA. Sleep duration
       and medication use among astronauts during predicted circadian misalignment on long duration missions.
       NASA Investigators Working Group Meeting, Galveston, TX, February 2013.

19.    Bollweg LJ, Barger LK, Sullivan JP, Lockley SW and Czeisler CA. Development of an educational
       program for flight controllers working nightshifts (Orbit 1). NASA Investigators Working Group
       Meeting, Galveston, TX, February 2013.

20.    Barger LK, Sullivan JP, Bollweg LJ, Lockley SW and Czeisler CA. Experimental trial of fatigue
       countermeasure program in operational flight controllers. NASA Investigators Working Group Meeting,
       Galveston, TX, February 2013.

21.    Buxton O, Hu K, Hussain MV, Cain SW, McLaren DT, Porter J, O'Connor SP, Duffy JF, Czeisler CA,
       Shea SA. Sleep restriction with circadian disruption increases sympathovagal balance in older healthy
       humans. Sleep 2013; 36:A19.

22.    Chang AM, Buxton OM, Czeisler CA, Duffy JF, Lockley SW, Scheer FAJL, Saxena R. PER2
       polymorphism influences slow-wave sleep in humans. Sleep 2013; 36:A322.

23.    Aeschbach DA, Cohen DA, Czeisler CA, Klerman EB. Distinct non-additive effects of acute and
       chronic sleep loss and circadian phase on inadvertent attentional failures. Sleep 2013;36:A87.

24.    Klerman EB, Wyatt JK, Cohen, DA, Aeschbach D, Gronfier C, Wang W, Czeisler CA. Effects of Prior
       Time Awake and Time Asleep on Sleep Structure: Analyses across Forced Desynchrony Protocols with
       Different Sleep/Wake Cycle Durations. Sleep 2013; 36:A42.

25.    Wang W, Wyatt JK, Cohen DA, Aeschbach D, Gronfier C, Beckett SA, Mankowski P, Czeisler CA
       Klerman EB. Modeling Circadian Influences on Actigraphy Data With Zero-inflated Poisson
       Distribution. Sleep 2013; 36: A50.

26.    Rahman SA, St. Hilaire MS, Flynn-Evans EE, Barger LK, Brainard GC, Czeisler CA, Lockley SW. The
       ISS dynamic lighting schedule: An in-flight lighting countermeasure to facilitate circadian adaptation,
       improve sleep and enhance alertness and performance on the International Space Station. Abstract. 2013
       NASA Human Research Program Investigators’ Workshop; 2013 Feb 12-14; Houston, USA.

2014

27.    Zitting KM, Cain SW, Münch MY, Silva EJ, Wang W, Czeisler CA, Duffy JF. Chronic sleep restriction
       leads to dissociation of subjective and objective sleepiness. Sleep 2014; 37:A83-4.

28.    Wang W, Duffy JF, Czeisler CA, Klerman EB. Sex differences in sleep quantified using survival
       analyses of sleep and wake bouts: A meta-analysis across forced desynchrony protocols. Sleep 2014;
       37:A46.
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29.    Maurer L, Elliott KJ, Ronda JM, Zitting K-M, Ward KE, Czeisler CA, Duffy JF. A new face of sleep:
       The impact of post-learning sleep on recognition memory for face-name associations. Journal of Sleep
       Research 2014; 23 (suppl 1): 98.

30.    Zitting KM, Cain SW, Münch MY, Wang W, Ronda JM, Czeisler CA, Duffy JF. Objective sleepiness in
       young and older adults during 3 weeks of chronic sleep restriction. Journal of Sleep Research 2014; 23
       (suppl 1):269..

31.    Bermudez E, Klerman EB, Cohen DA, Wyatt JK, Czeisler CA, Phillips AJK. The Relationship Between
       Subjective Alertness and Objective Performance during Chronic Sleep Restriction. Sleep 2014.
       Minneapolis MN. 37: A84

32.    Cohen DA, Wang W, Wyatt JK, Czeisler CA, Klerman EB. Sleep Inertia during Chronic Sleep
       Restriction is Affected by Circadian Phase, Length of Time Awake, and Duration of Sleep Restriction.
       Sleep 2014. Minneapolis MN. 37:A86.

33.    Lee ML, Strangman GE, Hull JT, Kamath TV, Wang W, Rahman SA, Lockley SW, Ivkovic V, Zhang Q,
       Czeisler C, Klerman EB. (June, 2014) Assessing the Circadian Rhythmicity and Impact of Chronic
       Sleep Loss on Performance-Associated Regional Brain Activation Using Near Infrared Spectroscopy.
       Society for Research and Biological Rhythms meeting abstract. Big Sky, Montana.

34.    Clerx WM, Phillips AJK, Lockley SW, O’Brien CS, Klerman EB, Czeisler CA. Impact of irregularity of
       sleep-wake schedules on circadian phase and amplitude in college undergraduates. 2014 SRBR Meeting.
       Big Sky, Montana. 2014.

35.    Rahman SA, St. Hilaire MS, Flynn-Evans EE, Barger LK, Brainard GC, Czeisler CA, Lockley SW. The
       ISS dynamic lighting schedule: An in-flight lighting countermeasure to facilitate circadian adaptation,
       improve sleep and enhance alertness and performance on the International Space Station. Abstract. 2014
       NASA Human Research Program Investigators’ Workshop; 2014 Feb 12-13; Houston, USA

36.    Barger LK, Sullivan JP, Lockley SW, Czeisler CA. Fatigue countermeasure program improves alertness
       and performance in operational flight controllers. Abstract. 2014 NASA Human Research Program
       Investigators’ Workshop; 2014 Feb 12-13; Houston, USA.

37.    Rahman SA, St. Hilaire MA, Chang AM, Santhi N, Gronfier C, Kronauer RE, Czeisler CA, Klerman
       EB, Lockley SW. Functional decoupling of melatonin suppression and circadian phase resetting in
       humans. Abstract. 14th meeting of the Society for Research in Biological Rhythms (SRBR); 2014 June
       14-18; Big Sky, USA.

38.    Hull JT, Dijk DJ, Czeisler CA, Lockley SW. Suppression of melatonin secretion by ocular exposure to
       bright light in the blind. Abstract. 14th meeting of the Society for Research in Biological Rhythms
       (SRBR); 2014 June 14-18; Big Sky, USA.

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39.    Brainard, G, Barger, L, Clark T, Coyle, W, Czeisler, C, Hanifin, J, Johnston, S, Maida J, Moomaw, R,
       Pineda, C, Warfield, B, and Lockley, S. Testing solid state lighting countermeasures to improve circadian
       adaptation, sleep, and performance during high fidelity analog and flight studies for the international
       space station. NASA Investigators Working Group Meeting, Galveston, TX, January 2015.


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40.    Rahman SA, St. Hilaire MS, Flynn-Evans EE, Barger LK, Brainard GC, Czeisler CA, Lockley SW. The
       ISS dynamic lighting schedule: An in-flight lighting countermeasure to facilitate circadian adaptation,
       improve sleep and enhance alertness and performance on the International Space Station. Abstract. 2015
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41.    St. Hilaire MS, Rahman SA, Sullivan JP, Kristal BS, Quackenbush J, Duffy JF, Barger LK, Czeisler CA,
       Lockley SW. Development and testing of biomarkers to determine individual astronauts’ vulnerabilities
       to behavioral health disruptions. Abstract. 2015 NASA Human Research Program Investigators’
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42.    Brainard G, Lockley S, Barger L, Clark T, Coyle W, Czeisler C, Hanifin J, Johnston S, Maida J,
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       adaptation, sleep, and performance during high fidelity analog and flight studies for the International
       Space Station. Abstract. 2015 NASA Human Research Program Investigators’ Workshop; 2015 Jan 13-
       15; Houston, USA.

Narrative Report
 Charles A. Czeisler, Ph.D., M.D. is the Baldino Professor of Sleep Medicine, Director of the Division of Sleep
Medicine at Harvard Medical School and Chief of the Division of Sleep Medicine in the Department of
Medicine at Brigham and Women’s Hospital in Boston, Massachusetts. Dr. Czeisler has more than 30 years’
experience in the field of basic and applied research on the physiology of the human circadian timing system
and its relationship to the sleep-wake cycle including the application of sleep science and sleep medicine to
public health, occupational medicine, health policy and medical practice. He is interested in the physiology of
the hypothalamic circadian pacemaker in humans, photic and non-photic synchronizers of the human circadian
pacemaker, temporal dynamics in neuroendocrine systems, homeostatic and circadian factors in the regulation
of sleep and alertness, and the application of circadian physiology to public health, occupational medicine health
policy, particularly as it relates to the extended duration work shifts and long work weeks.




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